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               EXHIBIT 2
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      Plan for the Settlement of
      Jurisdictional Disputes in the
      Construction Industry
      Including Procedural Rules
      and Regulations




      COVERING the U.S. and
      CANADA
              Approved by the Building and
              Construction Trades Department, AFL-
              CIO
              June 1984 As Amended Through
              December 2009
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      Plan for the Settlement of
      Jurisdictional Disputes in the
      Construction Industry
      Including Procedural Rules
      and Regulations




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              CIO
              June 1984 As Amended Through
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       PROCEDURAL RULES AND REGULATIONS FOR
             THE PLAN FOR THE SETTLEMENT OF
              JURISDICTIONAL DISPUTES IN THE
                  CONSTRUCTION INDUSTRY


                        ARTICLE I
                CONTRACTOR'S RESPONSIBILITY

        1. The contractor who has the responsibility for the
      performance and installation shall make a specific
      assignment of the work which is included in his
      contract to a particular union(s). For instance, if
      contractor A subcontracts certain work to contractor
      B, then contractor B shall have the responsibility for
      making the specific assignments for the work included
      in his contract. If contractor B, in turn, shall
      subcontract certain work to contractor C, then
      contractor C shall have the responsibility for making
      the specific assignment for the work included in his
      contract. After work has been so assigned, such
      assignment will be maintained even though the
      assigning contractor is replaced and such work is
      subcontracted to another contractor. It is a violation
      of the Plan for the contractor to hold up disputed
      work or shut down a project because of a
      jurisdictional dispute.

        2. When a contractor has made an assignment
      of work, he shall continue the assignment without
      alteration unless otherwise directed by an arbitrator
      or there is agreement between the National or
      International Unions involved.

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        a. Unloading and/or handling of materials to
      stockpile or storage by a trade for the convenience of
      the responsible contractor when his employees are
      not on the job site, or in an emergency situation,
      shall not be considered to be an original assignment
      to that trade.

        b. Starting of work by a trade without a specific
      assignment by an authorized representative of the
      responsible contractor shall not be considered an
      original assignment to that trade, provided that the
      responsible    contractor,    or    his    authorized
      representative, promptly, and, in any event, within
      eight working hours following the start of work, takes
      positive   steps   to  stop    further   unauthorized
      performance of the work by that trade.

        c. The Administrator shall determine all questions of
      original assignment of work and render decisions
      regarding same. An appeal of the Administrator's
      determination of original assignment may be made to
      an arbitrator in a hearing under the terms and
      provisions of Article V of the Plan. Notice of the appeal
      shall be filed with the Administrator within seven (7)
      days of issuance of the determination. The appeal shall
      be processed only if the responsible contractor has
      complied with the Administrator's determination.

       d. Criteria to be used in making assignments of
      work are set forth in Article V, Section 8, of the Plan.




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                              ARTICLE II
                     UNION'S RESPONSIBILITY
        1. The Plan provides (Article VI, Section 1) that
      during the existence of the Plan there shall be no
      strikes, work stoppages, or picketing arising out of any
      jurisdictional dispute.
        2. When a contractor has made a specific work
      assignment, all unions shall remain at work and
      process any complaint over a jurisdictional dispute
      in accordance with the procedures herein established
      by the Administrator. Any union which protests that
      a contractor has failed to assign work in accordance
      with the procedures specified above, shall remain at
      work and process the complaint through its
      International office. The Administrator is prohibited
      from taking action on protests or requests to discuss
      jurisdictional matters from local unions or
      building and construction trades councils.



                           ARTICLE III
         STRIKES AND IMPEDIMENTS TO JOB PROGRESS
        1. When it is alleged, in a written notice, by a
      stipulated employer directly affected by the dispute,
      the signatory Employer Association representing such
      employer or a stipulated National or International
      Union, that a work stoppage, slowdown, or other
      impediment to job progress is taking place, the
      Administrator shall proceed as set forth in Article VI of
      the Plan.

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       2. Notice to the Administrator shall include:
        a. Party engaged in strike, slowdown, or
      impediment to job progress [specify]

        b. Unions directly involved (in most cases, trade
      receiving original assignment)

       c. Brief description of work in dispute
       d. Name of project and city and state where located
        e. Contractor and subcontractor, if any, directly
      involved, and mailing address, phone number and
      facsimile number of each

        f. A statement detailing how the responsible
      contractor and involved Unions are stipulated to be
      bound to the Plan and these procedures.

                   Required Format for Notice
          [Name of Union or Employer]      is [state basis for
      claim of violation, e.g. strike] over a jurisdictional
      dispute between        [Name of Unions]           over
      [Briefly describe work and name of job]         project,
      [City and state or, Province].   [Name of Contractor],
      [Mailing Address, Phone Number and Facsimile
      Number]. [Name of Subcontractor], [Mailing Address,
      Phone Number and Facsimile Number].
        This contractor is stipulated to the Plan and these
      procedures by virtue of [provision in collective
      bargaining agreement or signed stipulation on file in




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      Plan office * ]. The Unions are stipulated to the Plan by
      virtue of [being an affiliate of the Department, a signed
      stipulation on file in the Plan office, or a provision in
      collective bargaining agreement].

       3. Impediments to job progress shall include, but
      not be limited to:
        a. Filing a grievance under a collective bargaining
      agreement, or under a local plan for the settlement of
      jurisdictional disputes not recognized by the
      Department, where an issue is a case, dispute or
      controversy involving a jurisdictional dispute or
      assignment of work by a stipulated contractor, or by a
      stipulated subcontractor. Provided, that it shall not be
      considered an impediment to job progress if the
      responsible contractor or Union is not stipulated to
      the Plan or a grievance is filed over the failure of the
      responsible contractor to conduct a pre-job or mark-
      up meeting when required to do so under the terms of
      the applicable collective bargaining agreement.

        b. Filing an unfair labor practice charge with the
      National Labor Relations Board, or appropriate
      Canadian     equivalent,    as   determined      by   the
      Administrator, or action in any court against a
      stipulated employer or a stipulated National or
      International Union, or local affiliate thereof, where an
      issue is a case, dispute or controversy involving a
      jurisdictional dispute or assignment of work. Provided,

      *
        A sample stipulation form is contained on page 15 of
      the Procedural Rules and Regulations.

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       that it shall not be considered an impediment to job
       progress if the responsible contractor is not stipulated
       to the Plan.



                              ARTICLE IV
                         FILING A COMPLAINT
         1. When a dispute over an assignment of work arises,
       the National or International Union challenging the
       assignment, or the employer directly affected by the
       jurisdictional dispute, or the signatory Employer
       Association representing such employer, shall notify
       the Administrator in writing. Such notice shall include
       the following information:
        a.   Unions involved
        b. A full and complete description of the work in
        dispute
        c. Name and location of project
        d. Contractors involved and their mailing addresses,
        telephone number and facsimile number
        e. The assignment of work and the contractor who
        made the assignment
        f. A statement indicating whether the responsible
        contractor and the involved Unions are stipulated to
        the Plan and these procedures.
        g. A statement whether the representatives of the
        National and International Unions have met or
        attempted to meet at the local level in an effort to
        resolve the matter.
        h. A statement whether the           National and
        International Unions involved in the dispute have

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        voluntarily agreed to mediation.

        2. The notice shall be in writing and sent to:

          For Projects in the United States
          Administrator
          Plan for the Settlement of Jurisdictional Disputes
            in the Construction Industry
          Suite 1000
          900 Seventh Street, NW
          Washington, DC 20001
          Fax: (202) 775-1950


          For Projects in Canada
          Administrator
          Plan for the Settlement of Jurisdictional Disputes
            in the Construction Industry
          c/o Office of the Executive Secretary
          Building and Construction Trades
            Department, AFL-CIO
          Suite 1902
          130 Albert Street
          Ottawa, Ontario
          K1P 5G4
          Fax: (613) 230-5138



                         ARTICLE V
             TIME CONSTRAINTS UNDER THE PLAN
        In computing any period of time prescribed in the

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       Plan or the Procedural Rules and Regulations, the
       day from which the designated period of time begins
       to run shall not be included. The last day of the
       period so computed shall be included, unless it is
       a Saturday, a Sunday, or a legal holiday, in which
       event the period runs until the end of the next day
       which is not a Saturday, a Sunday, or a legal holiday.
       When the period of time described or allowed is less
       than 7 days, intermediate Saturdays, Sundays, and
       legal holidays shall be excluded in the computation. As
       used herein, "legal holiday" in the United States
       includes New Year's Day, Presidents' Day, Memorial
       Day, Independence Day, Labor Day, Columbus Day,
       Veterans Day, Thanksgiving Day, Christmas Day, and
       any other Day designated as a holiday by the
       Administrator. "Legal holiday" in Canada includes New
       Year's Day, Victoria Day, Labour Day, Remembrance
       Day, Boxing Day, Good Friday, Canada Day
       (Dominion Day), Thanksgiving Day, Christmas Day,
       Civic Holiday, and any other day designated as a
       holiday by the Administrator.


                             ARTICLE VI
                       DIRECT RESOLUTION
         1. Within two (2) days following receipt of a
       properly filed notice, the Administrator shall notify,
       by facsimile or other electronic means, all directly
       affected National and International Unions and
       employers that a dispute exists between local
       parties.

        2. If any party intends to rely on a Decision of
       Record to support its claim to the work, that fact

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       must be disclosed to the Administrator and the
       other parties to the dispute within two days of
       receipt of the notice of the dispute from the
       Administrator. The title of the Decision of Record
       and the page number where the decision is located
       should be included in the notice. If any other party
       to the dispute intends to challenge the Decision of
       Record on the basis of the prevailing practice in the
       locality in the past ten years, pursuant to Article V,
       Section 8(b) of the Plan, notice of such challenge
       must be provided to the Administrator and to the
       other parties to the dispute by the day the list of
       arbitrators is due back in the Administrator’s office.

       3. If the directly affected National and International
       Unions and employers, parties to the dispute, are able
       to settle the dispute, each shall inform the Administrator, in
       writing, signed by an authorized representative of each
       party, that a settlement has been reached.

         4. If the directly affected National and International
       Unions and employers are unable to resolve the dispute, any
       of the directly affected parties may request arbitration of
       the dispute within five (5) days from the date the matter was
       referred by the Administrator, by filing a notice in writing to
       arbitrate with the Administrator, with copies to all directly
       affected parties.


                               ARTICLE VII
                    SELECTING AN ARBITRATOR
         1. Upon receipt of a request to arbitrate, the Administrator
       shall send to all directly affected parties a list of impartial


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       arbitrators, knowledgeable about the construction industry,
       chosen by the Joint Administrative Committee.

         2. The directly affected National and International
       Unions and the responsible contractor(s) will each have
       three days in which to cross off the name of one arbitrator to
       which it objects, number the remaining names to indicate
       the order of preference and return the list to the
       Administrator. If a party does not return the list within the
       time specified, all persons named therein shall be deemed
       acceptable. From among the persons who have been
       approved on each party's list, and in accordance with the
       designated order of mutual preference, the Administrator
       shall notify the parties of the arbitrator selected who is able
       to schedule a hearing within the time constraints set forth
       in the Plan.

        3. If the parties are unable to select an arbitrator, the
       Administrator shall appoint an arbitrator.



                            ARTICLE VIII
                  RESOLUTION BY ARBITRATION
         1. Upon his selection, the arbitrator, with the
       assistance of the Administrator, shall set and hold a
       hearing within seven (7) days.

         2. The Administrator shall notify the responsible
       contractor(s) and the appropriate National and
       International Unions and signatory association(s)
       by facsimile or other electronic means of the place
       and time chosen for the hearing. Said hearing shall

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       be held in Washington, D.C. or, for a dispute arising in
       Canada, in Eastern, Central or Western Canada as
       determined by the Administrator.

         3. Attendance at arbitration hearings by the
       parties shall be limited to one full-time employee
       of each National or International Union party, or its
       affiliate, as designated by the President of each
       National or International Union, and one full-time
       employee of the responsible contractor party. On
       appeals from Local Boards, each party may also
       have in attendance the individual who presented that
       party's case to the Local Board. Failure to attend by a
       party shall not delay a hearing, the taking of evidence,
       or the issuance of a decision.

         4. Presentations shall be in writing with copies
       for each party, the arbitrator, and a file copy.
         5. The arbitrator shall issue his decision within
       three (3) days after the case has been closed. The
       decision of the arbitrator shall be final and binding on
       all parties to the dispute.
          6. Each party to the arbitration shall bear its own
       expenses for the arbitration and agrees that the fees
       and expenses of the arbitrator shall be borne by the
       losing party or parties as determined by the arbitrator
       if all parties are stipulated to the Plan, otherwise as
       determined by the arbitrator.
         7. Following the issuance of the decision, the
       Administrator will send a statement to the party or
       parties responsible for payment of the arbitrator's
       fees and expenses. Such statement shall be payable
       within ten (10) days of receipt. If payment is not

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       received within 30 days, a late fee of $500 will be
       assessed on the delinquent party. A future request by
       a delinquent party to process a case will be held by
       the Administrator until all outstanding fees and
       expenses, including any late fee, have been paid.


                              ARTICLE IX
                  POLICY REGARDING DIRECTIVES
         1. The Plan and the Procedural Rules and
       Regulations provide for the settlement of a
       jurisdictional dispute on a specific job by agreement or
       understanding between or among the National and
       International Unions involved.

         2. The Procedural Rules and Regulations also
       provide that an assignment of work may be changed by
       the responsible contractor(s) to conform to the terms of
       same, upon notification by the Administrator. Such
       notification shall be made by means of a directive sent
       to the responsible contractor(s) by the Administrator.

         3. In order to give effect to the procedure set
       forth above, and before a directive may be sent to the
       affected contractor(s) by the Administrator, the
       National or International Unions involved shall
       submit for the records of the Plan the following:

         a. A statement of the exact terms of the agreement
       or understanding reached. Such statement is to be
       jointly signed by authorized representatives of each of
       the National or International Unions involved. If
       separate communications are submitted by the
       parties,    the   terms    of   the   agreement      or

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       understanding     must     be   identical    in   each
       communication.

         b. A statement regarding the notification to the
       responsible contractor(s) of the agreement or
       understanding reached. If objection to the agreement
       or understanding was made by the contractor(s) or
       representatives, the nature of the objection must be
       stated.

         4. In accordance with the Plan and the
       Procedural Rules and Regulations, any directive
       from the Administrator shall be complied with by
       the affected contractor(s) unless, and within 24 hours
       following receipt of such directive, the contractor(s)
       notifies the Administrator that he elects not to
       comply with the directive, and requests that the
       jurisdictional   dispute    be    processed    through
       arbitration to a decision. Such decision shall be made
       in accordance with the provisions of Article V of the
       Plan.


                         ARTICLE X
           APPEALS FROM DECISIONS OF RECOGNIZED
                       LOCAL BOARDS

         1. Appeals from local settlements, agreements, or
       decisions issued by a plan for the settlement of
       jurisdictional disputes that has been recognized by the
       Department, may be filed with the Administrator
       within seven (7) days of issuance by the National
       or International Unions directly affected, or by the
       responsible contractor(s), or a signatory Employers

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       Association representing such employer.
         a. Such filing shall include a copy of the local
       settlement, agreement, or decision being appealed and
       the specific basis for the appeal. Simultaneous
       notice shall be given all other parties.
         2. The authority of the Administrator to refer an
       appeal to arbitration is discretionary. The
       Administrator shall, in exercising his authority,
       consider whether the parties were afforded an
       opportunity to present evidence at a hearing
       conducted for that purpose under the Plan and in
       conformity with generally recognized procedures not
       incompatible with the provisions and procedures of
       this Plan and whether the decision of the Local Board
       addresses the established criteria of Article V, Section
       8, of the Plan.

         3. Appeals referred to arbitration will be processed
       in accordance with Article V of the Plan.

         4. Presentations shall be in writing and limited to
       that which was presented at the recognized local plan
       for the settlement of jurisdictional disputes.




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                             STIPULATION
         In signing this stipulation, the undersigned
       [employer] [employer association on behalf of its
       members] [union] agrees to be bound by all the terms
       and provisions of the Agreement establishing
       procedures for the resolution of jurisdictional disputes
       in the construction industry known as the Plan for the
       Settlement    of    Jurisdictional  Disputes in      the
       Construction Industry. In particular, the undersigned
       agrees to abide by those provisions of the Plan
       requiring compliance with the decisions and awards of
       the Administrator, arbitrators or National Arbitration
       Panels established under the Plan, and to fulfill the
       obligations set forth in the Agreement.

          This stipulation shall run for the term of the
       Agreement and shall continue in effect for each year
       thereafter unless specifically terminated effective upon
       the anniversary date of said Agreement, in accordance
       with the notice provisions contained in the Agreement.
       The effective date of this stipulation shall be the date it
       is received in the Plan Administrator’s office.


       (Signed) ..........................................................................

       Company ........................................................................

       Date ................................................................................


         To facilitate expeditious processing of jurisdictional
       disputes, all parties are encouraged to file signed
       Stipulation forms with the Administrator.


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                PLAN FOR THE SETTLEMENT OF
               JURISDICTIONAL DISPUTES IN THE
                  CONSTRUCTION INDUSTRY

                             PREAMBLE
          This Agreement is entered into by and among
       the Building and Construction Trades Department,
       AFL-CIO, on behalf of its constituent National and
       International Unions and their affiliated local unions
       (referred to hereinafter as the Department) and the
       Employer Associations signatory to this Agreement
       (referred to hereinafter as the Employer Associations).
         The parties to this Agreement dedicate their efforts to
       improving the construction industry by providing
       machinery for the handling of disputes over work
       assignments without strikes or work stoppages thus
       stabilizing employment in the industry at the same
       time increasing both its efficiency and capacity to
       furnish construction services to the public at
       reasonable cost.



                           ARTICLE I
                      SCOPE OF APPLICATION

         The procedures shall be available to resolve
       jurisdictional disputes between and among Employers
       and Unions engaged in the building and construction
       industry.



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                              ARTICLE II
                   STIPULATION REQUIREMENTS
         Sec. 1. In order to process Impediment to Job
       Progress disputes pursuant to Article III of the
       Procedural Rules and Regulations and Article VI of the
       Plan, all parties to the dispute must be stipulated to
       the Plan.

         (a) A Union may become stipulated to the Plan by
       virtue of its affiliation with the Department or its
       National or International Union’s affiliation with the
       Department, a signed a stipulation form setting forth
       that it is willing to be bound by the terms of the Plan
       or a provision in a collective bargaining agreement.

         (b) An Employer may become stipulated to the
       Plan by virtue of its membership in a stipulated
       association of employers with authority to bind its
       members, a signed stipulation form setting forth that
       it is willing to be bound by the terms of the Plan or a
       provision in a collective bargaining agreement.

         Sec. 2. Stipulation shall not be required in order
       to process jurisdictional disputes pursuant to Article
       V, requests for determination of changes of original
       assignment pursuant to Article I of the Procedural
       Rules and Regulations and requests for the issuance
       of directives pursuant to Article IX of the Procedural
       Rules and Regulations, except that the moving party
       must be stipulated to the Plan.




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                          ARTICLE III
               JOINT ADMINISTRATIVE COMMITTEE

         Sec. 1. There shall be established a Joint
       Administrative Committee (hereinafter referred to as
       the "JAC"), to oversee the operation of the Plan.

         See. 2. The JAC representing the Department and
       the signatory Employer Associations shall consist
       of eight (8) voting members, four (4) nominees from
       the Department and four (4) from the Employer
       Associations. There shall be a Chairman and a Vice-
       Chairman of the JAC. The Chairman shall be the
       President of the Department. The Vice-Chairman shall
       be    designated    by   the   signatory   Employer
       Associations. The Chairman and the Vice-
       Chairman shall be non-voting members of the
       Committee.

         Sec.    3.    The   JAC     shall   appoint    two
       Administrators of the Plan. One Administrator shall
       handle all matters arising in the United States. The
       second Administrator shall handle all matters arising
       in Canada. References to the Administrator in this
       Agreement and the Procedural Rules and
       Regulations shall mean the appropriate U.S. or
       Canadian Administrator. The Administrators shall be
       compensated at a rate and under terms to be
       established by the JAC.

         Sec. 4. The Administrator shall be responsible for
       disbursement of the funds, shall keep the books of the
       Plan and submit to the parties to the Agreement a
       quarterly financial statement; shall provide for an

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       annual audit of the books by a certified public
       accountant and shall prepare annually a proposed
       budget of the necessary expenses of the Plan for the
       following twelve (12) months and submit same to
       the JAC for approval. The total amount of the budget,
       when approved, shall be subscribed annually in
       advance, 50 percent by the Department and 50
       percent by the signatory Employer Associations. All
       expenditures shall be within the approved budget. In
       order to assure adequate funding of the Plan, the
       JAC, may establish a schedule of fees to be charged
       to parties wishing to utilize the services of the Plan
       but who are not affiliated with one of the organizations
       signatory to this Agreement.


                             ARTICLE IV
                     RULES AND REGULATIONS
         Sec. 1. The Administrator shall adapt his
       operations to assure that all cases submitted shall be
       disposed of as expeditiously as possible.

         Sec. 2. The Administrator, with the prior approval
       of the JAC, shall establish such procedural regulations
       and administrative practices as may be required for
       the effective administration of this Agreement,
       provided such regulations and practices are
       consistent with the expressed terms of this
       Agreement.

         Sec. 3. The JAC shall have the power to revise the
       procedural regulations and administrative practices
       of the Administrator. The Administrator shall
       promptly notify all parties to the Plan of any

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       revisions    in   the   procedural   or   administrative
       practices.

         Sec. 4. The Administrator shall keep records of
       disputes and decisions and develop such statistical
       and operational information as may be of value to the
       JAC. The Administrator shall from time to time make
       recommendations to the JAC for changes in the
       Procedural Rules and Regulations or provisions of
       the Plan which will strengthen and improve the
       effectiveness of the Plan.

         Sec. 5. It shall be the duty of the Administrator
       to process cases of jurisdictional disputes in the
       Building and Construction Industry when disputes are
       referred to him by any of the National and International
       Unions involved in the dispute, or an Employer
       directly affected by the dispute on the work in which
       he is engaged or by the signatory Employer Association
       representing such Employer.

         Sec. 6. If any party is not stipulated to the Plan,
       any of the National or International Unions
       involved in a dispute may file a statement with the
       Plan Administrator indicating that, if all parties
       had been stipulated to the Plan, the Union would
       have filed a jurisdictional dispute pursuant to
       Article V of the Plan. The notice shall include the
       unions involved, a description of the work in
       dispute, the name and location of the project, the
       name     of   the   responsible    contractor,    the
       assignment that was made by the contractor and
       which of the Article V, Section 8, criteria the
       Union contends supports its claim to the work.
       The Plan Administrator shall compile a list of


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       such statements and distribute it to the parties to
       the Plan monthly.
         Sec. 7. In the interest of expediting resolutions of
       jurisdictional disputes, the Administrator shall
       undertake to keep a record of decisions involving the
       same type of dispute and involving the same trades
       and report such record quarterly to the JAC.



                             ARTICLE V
            RESOLUTION OF JURISDICTIONAL DISPUTES
          Sec. 1. When a dispute over an assignment of
       work arises, the National or International Union
       challenging the assignment, or the Employer directly
       affected by the dispute or the signatory Employer
       Association representing such Employer shall notify
       the Administrator in writing, with copies to the other
       parties to the dispute. The notice shall include a
       statement whether representatives of the National and
       International Unions have met or attempted to meet
       with the local parties to attempt to resolve the
       matter. For disputes in the United States, if the
       National and International Unions involved in the
       dispute voluntarily agree to mediation, the notice shall
       so advise the Administrator. The mediation may be
       used in lieu of the meeting of the International
       Representatives.

         Sec. 2. Upon receipt of said notice, the
       Administrator or his designee shall notify within
       two (2) days by facsimile or other electronic means

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       all directly affected National and International
       Unions and employers that a dispute exists between
       the local parties. The Administrator shall also
       provide notice of the dispute to all other National
       and International Unions party to this Agreement. At
       the same time, if the National and International Unions
       involved in a dispute in the United States have
       consented to voluntary mediation, the Administrator
       shall contact the Federal Mediation and Conciliation
       Service and request the appointment of a mediator to
       assist the parties in the local area in settling the
       dispute. The mediator shall have three (3) days
       from the date the matter is referred by the
       Administrator to mediate the dispute. The mediator
       shall submit by facsimile or other electronic means a
       report to the parties and the Administrator indicating
       whether the dispute has been resolved no later than
       the end of the three (3) day period. The report of the
       mediator shall not be submitted to a Plan Arbitrator.

          Sec.   3.     If   the    respective    National   and
       International Unions of the disputing locals and the
       directly affected Employer are unable to resolve the
       dispute, any of the directly affected parties may request
       arbitration of the dispute, within five (5) days, from the
       date the matter is referred by the Administrator, by
       filing a notice to arbitrate with the Administrator, with
       copies to all directly affected parties. The Administrator
       will only honor a request to submit the matter to
       arbitration prior to the expiration of the five (5) day
       period if the requesting party has demonstrated that
       the International Representatives have met or
       attempted to meet with the local parties to resolve the
       matter or have been through the mediation process set
       forth in Section 2.

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         Sec. 4. Upon receipt of said notice, the
       Administrator shall send to all directly affected
       parties a list of impartial arbitrators knowledgeable
       about the construction industry, chosen by the JAC.

         Sec. 5. The directly affected National and
       International     Unions     and     the     responsible
       contractor(s) will each have three days in which to
       cross off the name of one arbitrator to which it
       objects, number the remaining names to indicate the
       order of preference and return the list to the
       Administrator. If a party does not return the list
       within the time specified, all persons named
       therein shall be deemed acceptable. From among the
       persons who have been approved on each party's
       list, and in accordance with the designated order of
       mutual preference, the Administrator shall notify
       the parties of the arbitrator selected. If the parties are
       unable to select an arbitrator, the Administrator shall
       appoint the arbitrator.

          Sec. 6. Upon his selection the Arbitrator, with the
       assistance of the Administrator, shall set and hold a
       hearing within seven (7) days. The Administrator shall
       notify the employer and the appropriate National and
       International Unions and Employer Associations by
       facsimile or other electronic means of the place and
       time chosen for the hearing. Said hearing shall be
       held in Washington, D.C. or, for a dispute arising in
       Canada, in Eastern, Central or Western Canada as
       determined by the Administrator. A failure of any
       party or parties to attend said hearing without good
       cause, as determined by the Administrator, shall not
       delay the hearing of evidence or issuance of a decision
       by the Arbitrator.

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         Sec. 7. The Arbitrator shall issue his decision within
       three (3) days after the case has been closed. The
       decision of the Arbitrator shall be final and binding
       on all parties to the dispute.

         Sec. 8. In rendering his decision, the Arbitrator shall
       determine:
         (a)    First whether a previous agreement of record
       or applicable agreement, including a disclaimer
       agreement, between the National or International
       Unions to the dispute governs;
         (b) Only if the Arbitrator finds that the dispute is not
       covered by an appropriate or applicable agreement
       of record or agreement between the crafts to the
       dispute, he shall then consider the established trade
       practice in the industry and prevailing practice in the
       locality. Where there is a previous decision of record
       governing the case, the Arbitrator shall give equal
       weight to such decision of record, unless the prevailing
       practice in the locality in the past ten years favors one
       craft.   In that case, the Arbitrator shall base his
       decision on the prevailing practice in the locality.
       Except, that if the Arbitrator finds that a craft has
       improperly obtained the prevailing practice in the
       locality through raiding, the undercutting of wages or
       by the use of vertical agreements, the Arbitrator shall
       rely on the decision of record and established trade
       practice in the industry rather than the prevailing
       practice in the locality; and
         (c) Only if none of the above criteria is found to exist,
       the Arbitrator shall then consider that because
       efficiency, cost or continuity and good management are
       essential to the well being of the industry, the interests

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       of the consumer or the past practices of the employer
       shall not be ignored.
         The Arbitrator shall set forth the basis for his
       decision and shall explain his findings regarding the
       applicability of the above criteria. If lower-ranked
       criteria are relied upon, the Arbitrator shall explain
       why the higher-ranked criteria were not deemed
       applicable. The Arbitrator's decision shall only apply to
       the job in dispute.

         Sec. 9. Agreements of record are applicable only
       to the parties signatory to such agreements. Decisions
       of record are applicable to all trades except as provided
       for in the Decision of Record.

         Sec. 10. The Arbitrator is not authorized to
       award back pay or any other damages for a
       misassignment of work. Nor may any party to this Plan
       bring an independent action for back pay or any
       other damages, based upon a decision of an
       Arbitrator.

         Sec. 11. Each party to the arbitration shall bear
       its own expense for the arbitration and agrees that the
       fees and expenses of the Arbitrator shall be borne by
       the losing party or parties as determined by the
       arbitrator if all parties are stipulated to the Plan,
       otherwise as determined by the Arbitrator. An
       administrative fee, in accordance with the fee
       schedule established by the JAC, shall be paid to the
       Plan by any party that is not affiliated with one of the
       organizations signatory to this Agreement.

        Sec. 12. Any party to a dispute that has been


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       arbitrated that believes the Arbitrator failed to address
       the established criteria of Article V, Section 8, may
       request the JAC to consider an appe al. No
       appe al may be processed unless the Arbitrator's
       decision has been implemented.

         Sec. 13. A request to consider an appeal from a final
       decision of a Plan Arbitrator shall be filed with the
       Administrator, with copies to the other parties to
       the dispute, within five days of the date the
       Administrator transmitted the Arbitrator's decision.
       The request to consider an appeal shall include a copy
       of the Arbitrator's decision being appealed and a
       statement describing the basis of the claim that the
       Arbitrator failed to address the established criteria of
       Article V, Section 8. The other parties to the dispute
       shall have three days to submit to the Administrator,
       with copies to the other parties, a response to the
       request for appeal.

         Sec. 14. Once the submissions of the parties are
       complete, the Administrator shall distribute copies of
       the appeal to the members of the JAC that are not
       parties to the dispute. Within five days from receipt of
       the submissions, each member of the JAC shall notify
       the Administrator whether the appeal should be
       heard. If a majority of the JAC does not wish to
       consider the appeal, the decision of the Arbitrator shall
       be final and binding. If a majority of the JAC
       members believes the appeal has merit, the
       Administrator shall arrange for a meeting of the
       JAC, which may be by telephone conference, to
       consider the appeal. The sole issue to be considered
       on appeal is whether the Arbitrator failed to
       address the established criteria of Article V, Section 8.

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         Sec. 15. If the JAC determines that the
       Arbitrator failed to address the established
       criteria of Article V, Section 8, it shall remand the
       case to the Administrator to process for a hearing
       before a new Plan Arbitrator.



                              ARTICLE VI
                       CONTINUATION OF WORK
         Sec. 1. During the existence of this Agreement,
       there shall be no strikes, work stoppages or
       picketing arising out of any jurisdictional dispute.
       Contractors and subcontractors shall make work
       assignments in accordance with Article I of the
       Procedural Rules and Regulations. Members of
       National and International Unions and their Local
       affiliates stipulated to the Plan shall continue to
       work on the basis of their original assignment.

         Sec. 2. Recognizing that it is in the best interests
       of the parties to this Agreement, the Department, on
       behalf of itself and the General Presidents of each of
       the National and International Unions stipulated to the
       Plan reaffirm their desire to eliminate work stoppages,
       slowdowns and other impediments to job progress
       and their intent to comply with the provisions of the
       Plan prohibiting jurisdictional strikes and agree to
       enforce these provisions by direction and action of
       their respective National or International offices. In
       the event of a work stoppage, slowdown or other
       impediment to job progress, the employer or National
       or International Union may take the following course


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       of action:
         (a) The employer or National or International Union
       shall notify the Administrator or his designee of the
       alleged breach of this Article. Notice to the
       Administrator shall be by the most expeditious
       means available, with simultaneous notice by
       facsimile or other electronic means to the party
       alleged to be in violation and the involved employer
       and National or International Union President(s). The
       employer will immediately use its best efforts to cease
       any violation of this article.         The International
       President(s) will immediately instruct, order and use
       the best efforts of his office to cause the local union or
       unions to cease any violation of this article. A National
       or International Union complying with this
       obligation shall not be liable for unauthorized acts of
       its local union.
         (b) Upon receipt of said notice, the Administrator
       or his designee shall select an arbitrator from a panel
       of arbitrators chosen by the JAC.
         (c) Upon his selection, the Arbitrator shall hold a
       hearing within 24 hours if it is contended that the
       violation still exists.

         (d) The Arbitrator, with the assistance of the
       Administrator, shall notify the employer, the local
       union(s) and the appropriate National or International
       Union(s) and Employer Association(s) by facsimile
       or other electronic means of the place and time he
       has chosen for this hearing. Said hearing shall be held
       in Washington, D.C. or, for a dispute arising in
       Canada, in Eastern, Central or Western Canada as
       determined by the Administrator, and shall be

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       completed in one session. A failure of any party or
       parties to attend said hearing shall not delay the
       hearing of evidence or issuance of a decision by the
       Arbitrator.

         (e) The sole issue at the hearing shall be whether
       or not a violation of this Article has in fact
       occurred, and the Arbitrator shall have no authority to
       consider any matter in justification, explanation or
       mitigation of such violation or to award damages. The
       Arbitrator's decision shall be issued in writing within
       3 hours after the close of the hearing, and may be
       issued without an opinion. If any party desires an
       opinion, one shall be issued within 15 days, but its
       issuance shall not delay compliance with, or
       enforcement of, the decision. The Arbitrator may
       order cessation of the violation of this Article and other
       appropriate relief, and such decision shall be served
       on all parties by facsimile or other electronic means
       upon issuance.

         (f) Each party to the arbitration shall bear its own
       expense for the arbitration and agrees that the fees and
       expenses of the Arbitrator shall be borne by the losing
       party or parties as determined by the arbitrator.


                             ARTICLE VII
                           ENFORCEMENT
       Sec. 1. When the JAC has determined that an Employer
       or National or International Union is in violation of this
       Agreement, such Employer or National or International
       Union shall be denied a representative on any
       committee established by this Agreement during the

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       period of violation.

       Sec. 2. Any decision or interpretation rendered by an
       arbitrator shall be immediately accepted and complied
       with by all parties subject to this Agreement. If a party
       fails to accept and comply with a decision or
       interpretation rendered by an arbitrator or a ruling of
       the Administrator or the JAC, any party to the dispute
       may seek court enforcement of the decision or ruling.

         (a) At the election of the party seeking enforcement,
       an Arbitrator’s decision or a ruling of the Administrator
       or the JAC may be enforced in the United States
       District Court for the District of Columbia or any other
       court which has jurisdiction of the parties. All parties
       signatory or stipulated to this agreement consent to the
       jurisdiction of the United States District Court for the
       District of Columbia. For a dispute arising in Canada,
       an Arbitrator’s decision or a ruling of the Administrator
       or the JAC may be enforced in the appropriate
       Canadian court.

         (b) Any rights created by statute or law governing
       arbitration proceedings which are inconsistent with
       this Agreement or which interfere with compliance
       therewith are hereby waived by the parties to whom
       they accrue.

         (c) A party seeking enforcement of an Arbitrator’s
       decision or ruling of the Administrator or JAC due to
       the failure of another party to abide by the decision or
       ruling shall be reimbursed by the party failing to abide
       by the decision or ruling for any attorneys’ fees, court
       costs and expenses incurred.


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                             ARTICLE VIII
                           LOCAL BOARDS
          Sec. 1. In any community or locality where a plan for
       the settlement of jurisdictional disputes has been
       recognized by the Department, it shall be used in the
       first instance to bring about an agreement, settlement
       or decision. However, any such local settlement,
       agreement or decision may be appealed by any of the
       involved parties in accordance with Section 2 and 3 of
       this Article.

         Sec. 2. The Administrator is empowered to refer to
       arbitration, in accordance with Article V, Sections
       5-10, any appeal from a decision or ruling of a Local
       Board recognized under Section 1. The authority of the
       Administrator to refer a case to arbitration shall
       be discretionary. The Administrator is authorized,
       subject to the prior approval of the JAC, to prescribe
       rules as to the types of cases he will refer to
       arbitration.
         Sec. 3. The Administrator shall have the authority to
       establish    such      procedural     regulations  and
       administrative practices as may be required for the
       effective administration of this appeals procedure,
       subject to the prior approval of the JAC.



                          ARTICLE IX
                  OBLIGATIONS OF THE PARTIES

       Sec. 1. Each Employer agrees that all cases, disputes

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       or controversies involving jurisdictional disputes or
       assignments of work arising under this Agreement
       shall be resolved as provided herein, and shall comply
       with the decisions and rulings of the Administrator, the
       JAC, arbitrators or National Arbitration Panels
       established hereunder.
       Sec. 2. Each Union agrees that all cases, disputes or
       controversies involving jurisdictional disputes or
       assignments of work arising under this Agreement
       shall be resolved as provided herein, and shall comply
       with the decisions and rulings of the Administrator, the
       JAC, arbitrators or National Arbitration Panels
       established hereunder. Each Union agrees that the
       establishment of picket lines and/or the stoppage of
       work by reason of an Employer’s assignment of work
       are prohibited.
       Sec. 3. The Administrator shall send a monthly report
       to the parties to this Agreement setting forth all
       information on jurisdictional disputes for that
       month. The report should include the location and job
       where the dispute occurred, the parties involved, the
       subject of the dispute and shall indicate whether
       any stoppage occurred or picket lines were established.



                           ARTICLE X
                  NATIONAL ARBITRATION PANEL
         Sec. 1. National Arbitration Panels shall be
       established hereunder and shall be composed of three
       arbitrators, knowledgeable in the construction

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       industry, appointed by the JAC.
        Sec. 2.

         (a) The JAC shall meet quarterly and among its
       other duties and responsibilities it shall, at each
       meeting, review the record of disputes filed with the
       Administrator and in particular shall review the record
       of decisions involving the same trades as submitted by
       the Administrator in accordance with Article IV,
       Section 6 hereof.
         (b) A dispute will be declared repetitive by the JAC
       when in its judgment such dispute is disruptive to the
       industry or seriously jeopardizes the operational
       integrity of the Plan. All parties to the Plan may bring a
       dispute to the JAC for such determination. The JAC
       will develop such criteria and guidelines to
       determine what constitutes a repetitive dispute. The
       JAC will issue a written report to the party or parties
       who have requested a decision from the JAC involving
       the dispute referred for such consideration. The
       written report will be timely and reflect the
       circumstances and criteria used by the JAC to
       determine whether or not said dispute is in fact
       considered repetitive.
         (c) In the event the JAC declares a dispute to be
       repetitive, the JAC shall refer the matter to the National
       and International Unions involved for a period of not
       more than 90 days during which time the Unions shall
       consult with the Employer Associations who represent
       Employers who have responsibility for that type of
       work. The Unions shall endeavor to reach a national

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       agreement governing future jurisdiction. The
       Administrator shall assist the Unions and may
       appoint a mediator to facilitate settlement. If an
       agreement is reached, it shall be attested to by the
       Administrator and shall serve as a criterion for
       decisions in future disputes. Should the National and
       International Unions fail to reach an agreement
       within 90 days, the Administrator shall refer the
       dispute to a National Arbitration Panel.

         Sec. 3. In any case to go to a National
       Arbitration Panel, the Administrator shall notify all
       General Presidents of National and International
       Unions affiliated with the Department and the
       signatory    Employer     Associations     stating   the
       controversy to be considered. Only directly affected
       parties as determined by the JAC shall be allowed to
       intervene. Thirty days notice shall be given of the date
       set for the hearing. Briefs shall be submitted and
       exchanged by all parties to the dispute at least ten
       days prior to the hearing date.

         Sec. 4. The National Arbitration Panel shall in every
       instance consider all pertinent evidence, including the
       criteria set forth in Article V, Section 8, and shall
       render a decision, if possible, within ten (10) days after
       the conclusion of the hearings. Copies of the
       National Arbitration Panel's decision shall be sent to
       all parties signatory to this Agreement.
         Decisions of the National Arbitration Panel shall be
       immediately recognized under the provisions of the
       Constitution of the Department. Decisions of the
       National Arbitration Panel shall be immediately

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       accepted and complied with by the disputing unions.
         Sec. 5. In the event any party to a dispute fails to
       present its case within the stated time, the National
       Arbitration Panel shall, nevertheless, proceed with the
       case and make its decision on the basis of the evidence
       presented.



                              ARTICLE XI
                     TECHNOLOGICAL CHANGES
         Sec. 1. The JAC shall establish a standing
       Technological Change Committee. The Committee
       shall concern itself with technological changes in the
       building and construction industry as they affect the
       jurisdiction of the various unions in the building and
       construction industry. The Committee shall consist of
       ten members from the Building and Construction
       Trades Department and ten members from the
       signatory Employer Associations, respectively. The
       Committee shall select a chairman and a secretary.

         Sec. 2. The Committee is authorized to establish
       subcommittees provided that there is equal
       representation of labor and management on each
       subcommittee. Each subcommittee shall elect a
       chairman and a secretary.

         Sec. 3. The Committee shall study existing
       methods of construction and procedures as they relate
       to technological changes in the industry and make
       recommendations to the JAC. The Committee may
       refer particular items to the crafts concerned who
       may establish committees to determine craft

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       jurisdiction and report their decisions to the
       Department and the signatory Employer Associations.

         Sec. 4. The Committee shall submit a report of its
       activities, including reports from any subcommittees,
       quarterly to the JAC.


                         ARTICLE XII
              NATIONAL AGREEMENTS REGARDING
                        JURISDICTION

         Sec. 1. When national agreements regarding
       jurisdiction between National or International Unions
       have been negotiated, immediate notice of such
       agreements shall be given to the appropriate
       management groups. Prior consultation with such
       groups regarding the making of agreements between
       National or International Unions is desirable and
       should be carried on.
         Sec. 2. National agreements entered into and
       properly   signed     by    disputing   National   or
       International Unions shall be filed with the
       Administrator and attested by the Administrator.
       Such national agreements shall take effect
       prospectively and shall not apply to jobs in process
       at the time of execution. "Jobs in process" means any
       construction contract upon which the date for
       submission of bids or proposals has passed.




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                        ARTICLE XIII
            EFFECTIVE DATE, TERMINATION, CHANGE
                      AND WITHDRAWAL

         Sec. 1. This Agreement shall take effect on January
       1, 2009, and shall remain in force and effect until
       December 31, 2009, and shall continue in effect for
       each year thereafter unless terminated as provided
       for herein. Changes or amendments to this
       Agreement may be made as provided for herein.

         Sec. 2. If either the Department or any signatory
       Employer Association desires to change or terminate
       this Agreement it shall notify the other party in
       writing at least ninety (90) days before the anniversary
       date of this agreement. When notice for change is
       given, the nature of the changes desired must be
       specified in the notice. This Agreement shall be
       subject to change at any time by mutual consent of the
       parties hereto.

         Any changes agreed upon shall be reduced to
       writing and signed by the parties hereto, the same as
       this Agreement.

        IN WITNESS WHEREOF the parties have caused this
       Agreement to be executed and effective as of the
       day and year above written.




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            FOR THE BUILDING AND CONSTRUCTION
                TRADES DEPARTMENT, AFL-CIO

                          MARK H. AYERS
                            President

               FOR THE EMPLOYER ASSOCIATIONS

              North American Contractors Association
                          IZ CAKRANE

           National Electrical Contractors Association
                         JOHN M. GRAU

        Mechanical Contractors Association of America, Inc.
                        JOHN McNERNEY

             The Association of Union Constructors
                    STEPHEN R. LINDAUER
         Sheet Metal and Air Conditioning Contractors
                      National Association
                      DEBORAH WYANDT




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      JURISDICTIONAL AGREEMENTS ENTERED
       INTO BETWEEN AFFILIATED INTERNATIONAL
       UNIONS AND DECISIONS RENDERED AFFECT-
       ING THE BUILDING INDUSTRY THAT ARE
       HELD TO BE OPERATIVE BY THE BUILDING
       AND CONSTRUCTION TRADES DEPARTMENT
                             By the
        American Federation of Labor, Building and
        Construction Trades Department, A. F. of L.,
         National Board for Jurisdictional Awards


                   Carpenters and Painters
       For the purpose of bringing about conditions of har-
     mony and co-operation, the following agreement has
     this day been entered into and agreed to by and between
     the Brotherhood of Painters, Decorators and Paperhang-
     ers of America and the United Brotherhood of Carpen-
     ters and Joiners of America:
        (1) It is agreed that the members of the United Broth-
     erhood of Carpenters and Joiners of America shall erect
     and install all work in connection with and required for,
     acoustical purposes up to the point of applying canvas,
     muslin or similar materials to take the finished decora-
     tions, which work shall be done by the members of the
     Brotherhood of Painters, Decorators and Paperhangers
     of America.
       (2) The applying and erection of all mouldings, in con-
     nection with acoustical work, shall be done by members
     of the United Brotherhood of Carpenters and Joiners of
     America.

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       (3) If any misunderstanding arises as to the meaning
     or carrying out of any of the provisions contained
     herein, the same shall be taken up with the General Pres-
     idents of the two organizations parties hereto.
        (4) This agreement to be in force and effect when ap-
     proved by the Executive Board of the two organizations
     signatory hereto.
     For the United Brotherhood of Carpenters and Joiners
         of America:
                             GEO. H. LAKEY
                             J.W. WILLIAMS
                             W.T. ALLEN
     For the Brotherhood of Painters, Decorators and Paper-
         hangers of America:
                             JOS. F. KELLEY
                             CHARLES A. CULLEN
                             CLARENCE E. SWICK
     Dated December 17, 1928.
     Witness:
       WM. J. MCSORLEY
        President, Building Trades Department

              Lathers and Sheet Metal Workers
       Agreement between the Wood, Wire and Metal Lath-
     ers’ International Union and the Sheet Metal Workers’
     International Association to govern the installation of
     products manufactured by the Knapp Brothers’ Manu-
     facturing Company of Chicago, Ill., and similar prod-
     ucts.
       In order to simplify any differences that may arise on
     building operations, it is agreed by both parties to this

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      agreement that the following products are conceded by
      the Wood, Wire and Metal Lathers’ International Union
      as the work of the members of the Sheet Metal Workers’
      International Association:
          Sanitary Metal Cove Base, No. 202.
          Sanitary Metal Cove Base, No. 203.
          Sanitary Metal Cove Base, No. 204.
          Sanitary Metal Cove Base, No. 205.
          Sanitary Metal Cove Base, No. 501.
          Sanitary Metal Window Stool and Frame, No. 302.
          Sanitary Metal Window Stool, No. 304.
          Sanitary Metal Chalk Trough, No. 303.
         It is conceded by the Sheet Metal Workers’ Interna-
      tional Association that the following products are the
      work of the members of the Wood, Window and Metal
      Lathers’ International Union:
          Knapp Metal Base Grounds and Screeds, style Nos.
               1, 1¹⁄₂, 2, 42, 49.
          Knapp Metal Casing Beads, Nos. 39 and 41.
          Eclipse Metal Picture Mould, No. 23.
          “Royal” Metal Picture Mould, No. 20.
          Knapp Sanitary Metal Chair Rail, No. 300.
          Metal Bull Nose Beads and Metal Corner Beads of
          every description.
          Inside and Outside Corner Fittings.
        This agreement made and entered into January 12,
      1926.
              WOOD, WIRE AND METAL LATHERS’ INTERNATIONAL
               UNION.
                  JOHN H. BELL, Gen. Pres.
                  WM. J. MCSORLEY, 1st Gen. Vice Pres.
                  A. D. YODER, Gen. Sec.-Treas.

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                 METAL WORKERS’ INTERNATIONAL ASSOCIA-
                TION.
                   JOHN J. HYNES, Gen. Pres.
                   WM. L. SULLIVAN, Gen. Sec.-Treas.
                   ROBERT BYRON, Int. Rep.


                            EXPLANATION

     Sanitary Metal Cove Base, No. 202:
         Used at intersections of floors and walls or parti-
         tions and comes 4 in. and 6 in. high. This base is
         erected before plastering and is so set as to form a
         ground screed for plastering and for the finished ce-
         ment floor.
     Sanitary Metal Cove Base, No. 203:
         Used at intersections of floors and walls or parti-
         tions and comes in widths of 4 in. and 6 in. This is a
         flush base placed after floors and plastering is com-
         pleted.
     Sanitary Metal Cove Base, No. 204:
         Is similar to No. 203 except that it comes in two sec-
         tions where No. 203 comes in but one section.
     Sanitary Metal Cove Base, No. 205:
         Is similar to No. 204 except that the base is put in
         place before plastering and the top portion of it
         forms a ground for plastering. It comes 4 in. and 6
         in. wide.
     Sanitary Metal Cove Base, No. 501:
         Is similar to No. 202 with the exception of very little
         change in its form.

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      Sanitary Metal Window Stool and Frame, Nos. 302 and
        304:
          Is a metal jamb running from 4 in. to 6 in. in width
          and a return on wall which forms a plaster ground.
      Sanitary Metal Chalk Trough, No. 303:
          As its name implies, is a chalk trough to go under
          blackboards in schoolhouses and is placed after
          plastering is completed.

         It will hardly be necessary for me to explain that por-
      tion of the work which the Sheet Metal Workers concede
      to come under our jurisdiction, as you must be familiar
      with the names of the different materials mentioned in
      the agreement.


                     Painters and Plasterers

                 New York, N.Y., February 16, 1928.
         This agreement entered into by and between the Oper-
      ative Plasterers and Cement Finishers’ International As-
      sociation and the Brotherhood of Painters, Decorators
      and Paperhangers of America, in the matter of jurisdic-
      tion to govern the application of California Stucco
      “CRAFTEX,” “TEXTONE” and other materials of like
      character, shall be as follows:
        This agreement shall become effective February 16,
      1928, that the applying of all California Stucco shall be
      the work of the Plasterers’ organization. That the finish-
      ing of the same it is agreed that the Plasterers shall be
      permitted to apply one wash and thereafter all washing
      and the applying of colors shall be under the jurisdiction
      of the Brotherhood of Painters.

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       It is hereby agreed that all “CRAFTEX,” “TEXTONE”
     or other material of the same character, when applied
     over a scratch or brown coat of plaster, shall be the
     work of the Plasterer, said material to be applied with a
     trowel, or other usual methods of plastering.
       It is hereby agreed that all “CRAFTEX,” ‘TEXTONE”
     or other material of like character, when applied over a
     sand finish or white coat of plaster, shall be the work of
     the Painter, said material to be applied with a brush, or
     other usual method of painting.
       It is agreed that when the material in question is ap-
     plied to show windows for decorative purposes, and
     does not exceed 150 yards in all, it shall be the work of
     the Painter, and when the work exceeds 150 yards and
     applied over a scratch or brown coat of plaster, it shall
     be the work of the Plasterer.

               For Plasterers:
                        EDW. J. MCGIVERN
                        T. A. SCULLY

               For Painters:
                        JOS. F. KELLEY, 2d G.V.P.
                        CHAS. A. CULLEN, 3d G.V.P.


     Attest:
       WM. J. MCSORLEY,
        Pres., Building Trades Department.

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              Carpenters and Lathers
       Agreement entered into between the representatives
     of the United Brotherhood of Carpenters and Joiners
     and Wood, Wire and Metal Lathers’ International Union,
     January 14, 1903.
        Pending the action of their convention, the United
     Brotherhood of Carpenters and Joiners of America agree
     not to assert jurisdiction over any iron work including
     iron or wire lathing, studding, or any other exclusively
     iron work claimed by the Wood, Wire and Metal Lathers’
     International Union.
        The Wood, Wire and Metal Lathers’ International Union
     agree that we will not assert jurisdiction over or allow
     our members to perform any wood work, including shin-
     gling, wooden arches, door or window frames, wooden
     studding or furring, or any other carpenter or wood
     work, except wooden lath to receive plastic material.
     Signed for the United Brotherhood of Carpenters and
       Joiners of America:
                    WM. D. HUBER, President.
                    FRANK DUFFY, General Secretary.

     Signed for the Wood, Wire and Metal Lathers’ Interna-
       tional Union:
                    CHAS. LANGLANDS,
                    JOHN STEVENS, Committee.

                   Carpenters and Lathers
                                          August 21, 1928.
           RELATIVE TO JURISDICTION OVER MATERIAL KNOWN
                           AS CELOTEX

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       Further taking up the question of jurisdiction over the
      material know as “CELOTEX,” and in accordance with
      the tentative proposals on this subject between our or-
      ganizations, we, the undersigned, hereby agree that the
      material known as Celotex Lath comes under the juris-
      diction of the Lathers’ International Union; all other
      Celotex material comes under the jurisdiction of the
      United Brotherhood of Carpenters and Joiners.
               UNITED BROTHERHOOD      OF   CARPENTERS   AND   JOIN-
                ERS OF AMERICA.

                     WM. L. HUTCHESON, Gen. Pres.
                     FRANK DUFFY, Gen. Sec.
               WOOD, WIRE   AND   METAL LATHERS’ INTERNATIONAL
                UNION.
                     JOHN H. BELL, Gen. Pres.
                     A. D. YODER, Sec.-Treas.


                Boiler Makers and Iron Workers
                      Approved May 28, 1926
         It is agreed that the following work shall be recog-
      nized as coming under the jurisdiction of the Interna-
      tional Brotherhood of Boiler Makers, Iron Ship Builders
      and Helpers of America:
        SECTION 1. The construction, erection and assembling
      of all boilers, parts and work in connection therewith,
      including boiler fronts, heat units, water walls, tube
      supports and casings (except the unloading, hoisting, or
      lowering and placing of complete boilers, steam drums
      and assembled sections of water tube boilers to their
      approximate positions), all connections between the
      boiler and stack (commonly known as breeching), built

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      of sheet steel or iron, supports for the same (which are
      not part of the building structure), uptakes, smoke
      boxes, air and water heaters, smoke consumers, hot or
      cold air ducts (except when used for ventilating pur-
      poses).
        SEC. 2. Iron and steel ship building.
         SEC . 3. Pontoons, purifying boxes, gas generators and
      wash tanks or scrubbers, standpipes, brewery vats (ex-
      cept glass enameled tanks), water tower (except struc-
      tural frames and balconies), all iron and steel pipe line,
      penstock and flume work, steam, air, gas, oil, water, or
      other liquid tanks or containers requiring tight joint, in-
      cluding tanks of riveted, caulked or welded construction
      in connection with swimming pools.
         SEC . 4. The following work in and around blast fur-
      naces and rolling mills, viz.: hot stoves, blast furnaces,
      cupolas and dump cars, and all steam, air, water, gas, oil
      or other liquid tight work (all other iron and steel work
      in such buildings shall be done by Iron Workers).
        SEC . 5. Gasometers, including all frame work in con-
      nection with same.
        SEC . 6. All iron or steel stacks, in connection with
      power plants, furnaces, rolling mills, manufacturing
      plants, and all other power plants (except small power
      plants in connection with hotels or office buildings and
      sectional or other steel stacks erected in office buildings
      or hotels), and all extensions or repairs of such stacks
      shall be done by Boiler Makers.
         It is agreed that the following work shall be recog-
      nized as coming under the jurisdiction of the Interna-
      tional Association of Bridge, Structural and Ornamental
      Iron Workers:

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       SECTION 1. The erection and construction of all iron,
     steel and ornamental iron entering into the erection
     and construction of the following: Buildings, bridges,
     viaducts, subways and tunnels, towers, hoists, car
     dumpers, cranes, coal conveyors, ore unloaders, stok-
     ers, supports for boilers, coal bins and hoppers, ash
     chutes and hoppers, rock, coke, sand and ore bins and
     hoppers, kilns, driers, coolers, crushers, mixers, pul-
     verizers, roasters, all caisson work, safe deposit boxes,
     vaults, vestibules and doors, glass enameled tanks,
     malt drums, fans, and hot rooms and ventilators includ-
     ing air ducts in connection therewith, all swimming
     pools (except as specified in Section 3 of the Boiler
     Makers’ classification of work in this agreement) and
     the wrecking of all of the above work shall be done by
     Iron Workers.
       SEC . 2. The erection and construction of all sectional
     and other steel or iron stacks, erected in office buildings
     and hotels; and all stacks erected in small power plants
     in connection with hotels and office buildings, and the
     extension and repair to such stacks shall be the work of
     the Iron Workers.
        SEC . 3. The erection and construction of structural
     iron work and balconies in connection with water tow-
     ers shall be the work of the Iron Workers.
        SEC . 4. The erection and construction of all steel and
     iron work around rolling mills and blast furnaces (ex-
     cept that specified in Section 4 of the Boiler Makers’
     classification of work) shall be done by Iron Workers.
        SEC . 5. The unloading, hoisting or lowering and plac-
     ing of complete boilers, steam drums, and assembled
     sections of water tube boilers to their approximate posi-
     tions shall be done by Iron Workers.

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       SEC . 6. The burning and welding on work awarded to
      the Boiler Makers shall be done by Boiler Makers, and
      the burning and welding on work awarded to the Iron
      Workers shall be done by Iron Workers.
        SEC . 7. Any further disputes that may arise between
      the parties of this agreement shall be first considered by
      the respective General Presidents. Upon their failure to
      agree, the question shall be submitted to arbitration.
      None of the work definitely decided upon in this agree-
      ment shall be subject to further arbitration.

      For the International Brotherhood of Boiler Makers,
        Iron Ship Builders and Helpers of America:
                          (Signed) J.A. FRANKLIN.
                                   WM. ATKINSON.
                                   JOS. P. RYAN.
                                   MARTIN DALEY.

      For the International Association of Bridge, Structural
        and Ornamental Iron Workers:
                          (Signed) P. J. MORRIN.
                                   W. J. MCCAIN.
                                   DAN J. O’SHEA.
                                   MICHAEL C. ARTERY.

            Sheet Metal Workers and Boiler Makers
      Mr. John J. Hynes, General President
      642 Transportation Building
      Washington, D.C.
      Dear Sir and Brother:
        The International Brotherhood of Boiler Makers, Iron
      Ship Builders and Helpers of America, through the un-

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     dersigned duly authorized officers, hereby officially rec-
      ognize and acknowledge the established jurisdictional
      rights of the members of the Sheet Metal Workers’ Inter-
      national Association to manufacture, assemble, erect
      and install all sheet metal work of No. 10 gauge or lighter
      when used in connection with the construction, equip-
      ment, alteration and repair of buildings.
        In witness thereof we hereby affix our hand and seal
      this 16th day of October, 1930.

      For the International Brotherhood of Boiler Makers,
        Iron Ship Builders and Helpers of America:
                          (Signed) J. A. FRANKLIN,
                                   International President.

      For the Sheet Metal Workers’ International Association:
                          (Signed) JOHN J. HYNES,
                                   General President.


            Iron Workers and Elevator Constructors
                                                June 9, 1931.
        The undersigned representatives of the International
      Association of Bridge, Structural and Ornamental Iron
      Workers, and the International Union of Elevator Con-
      structors, Operators and Starters mutually agree that
      both organizations shall co-operate with and support
      each other to maintain Union conditions and their mem-
      bers upon the work of their respective trades, and that
      for the purpose of establishing complete harmony be-
      tween both organizations, this agreement is hereby en-
      tered into, effective on and from this date.

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       All semi or full automatic elevator doors or gates, and
      all operating devices shall be the work of the Elevator
      Constructors.
        All elevator doors or gates manually operated, includ-
      ing all elevator enclosures, front, facias, sills, frames and
      bucks, shall be the work of the Iron Workers.
       Steel trusses, girders and supports for escalators,
      where riveted or welded, shall be the work of the Iron
      Workers.
        All other escalator work shall be the work of the Ele-
      vator Constructors.
        All theater curtains, back-stage lifts, and equipment in
      connection therewith, shall be assembled and erected by
      the Iron Workers, excepting the operating machinery.
        Orchestra and Console lifts shall be assembled and
      erected by the Elevator Constructors, including the ma-
      chinery in connection therewith, and all machinery in
      connection with theater curtains and back-stage lifts.
        (The above two paragraphs shall also apply to audito-
      riums, schools, convention halls, and other buildings
      similarly equipped.)
        All of the above is hereby agreed to and accepted by
      the signatories to this agreement for their respective or-
      ganizations.

      For the International Association of Bridge, Structural
        and Ornamental Iron Workers:
                           (Signed) P. J. MORRIN,
                                    General President.

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                       WM. H. POPE,
                                  5th Gen. Vice-Pres.
                                 JOHN M. SCHILLING,
                                 7th Gen. Vice-Pres.
                                 W. J. MCCAIN,
                                 General Secretary

    For the International Union of Elevator Constructors,
      Operators and Starters:
                        (Signed) FRANK FEENEY,
                                 International President
                                 J. C. MACDONALD,
                                 1st Int. Vice-Pres.
                                 WALTER SNOW,
                                 2nd Int. Vice-Pres.
                                 JOSEPH F. MURPHY,
                                 Int. Sec.-Treas.


     International Union of Operating Engineers and
           United Association of Journeymen
               Plumbers and Steam Fitters

                         AGREEMENT
       In the controversy between the United Association of
    Plumbers and Steam Fitters and the International Union
    of Steam and Operating Engineers in Cleveland, Ohio,
    over an air compressor that was used by the Plumbers
    for boring holes in a concrete floor, and which was re-
    ferred by the local unions of Cleveland and the Interna-
    tional representatives of both organizations to the Inter-
    national Presidents of the United Association of
    Plumbers and Steam Fitters and the International Union

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      of Steam and Operating Engineers for adjustment, we
      find that at the A. F. of L. Convention held in Norfolk, Va.,
      in 1907, Resolution No. 124, which was presented by the
      International Union of Steam and Operating Engineers
      and adopted by the Convention, gives jurisdiction over
      this work to the International Union of Steam and Oper-
      ating Engineers.
         We also find in the jurisdiction claims filed by the In-
      ternational Union of Steam and Operating Engineers
      with the Building Trades Department upon their en-
      trance into the Department, that this work is covered in
      their jurisdiction by the following paragraph:


                    “HOISTING AND PORTABLE”
        “All hoisting and portable engines on building and
      construction work, where operated by steam, electricity,
      gasoline, hydraulic or compressed air, including pumps,
      siphons, pulsometers, concrete mixers, air compressors
      and elevators, where used for hoisting building material,
      street rollers, steam shovels, dinky locomotives, cable-
      way, clam shells and pile drivers.”
         Both International Presidents met in Washington on
      January 5, 1925, at the headquarters of the Building
      Trades Department, and upon finding the action of the A.
      F. of L. Convention upon Resolution No. 124 and the ju-
      risdiction filed with the Building Trades Department that
      this work of operating air compressors belongs to the
      Hoisting and Portable Engineers, it is agreed that the
      local unions will be notified to that effect.
                          (Signed) JOHN COEFIELD,
                          (Signed) ARTHUR M. HUDDELL.

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      Sheet Metal Workers’ International Association
           and United Association of Journeymen
                Plumbers and Steam Fitters

                          AGREEMENT
                                         INDIANAPOLIS, IND.
                                         January 28, 1928.
        Report of the Committees appointed by the United As-
     sociation of Journeymen Plumbers and Steam Fitters
     and the Sheet Metal Workers’ International Association,
     to take up the matter of sheet lead in building construc-
     tion.
        This Committee met at Hotel Severin, Indianapolis,
     Ind., Friday, January 27, 1928, with the following repre-
     sentatives in attendance: Wm. Lynn, George Masterton
     and Bert Stephenson, representing the United Associa-
     tion of Plumbers and Steam Fitters, and James Lennon,
     Richard Pattison and James T. Moriarity, representing
     the Sheet Metal Workers International Association.
       The Committee organized with Wm. Lynn, Chairman;
     James T. Moriarty, Secretary. The Committee was visited
     by Robert Fox, Local Agent of the Plumbers, and Charles
     Wilson, Local Agent of the Sheet Metal Workers. After
     hearing both agents, the Committee went into executive
     session and after holding several meetings, reached the
     following agreement:
           “Sheet lead work used in roofing, gutters, valleys,
       flashings in connection with roofing and ducts in di-
       rect connection with ventilation systems shall be the
       work of the Sheet Metal Workers, members of the
       Sheet Metal Workers’ International Association. All
       other sheet lead work including roof flashings in con-

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       nection with plumbing, shall be the work of the
       Plumbers, members of the United Association of Jour-
       neymen Plumbers and Steam Fitters.”
        We, the undersigned committee, recommend that this
     agreement shall go into effect when approved and
     signed by the International Presidents of the above or-
     ganizations.
                  (Signed) WM. LYNN,
                  (Signed) GEORGE MASTERTON,
                  (Signed) BERT STEPHENSON,
         Representing United Association of Journeymen
                 Plumbers and Steam Fitters,
                  (Signed) JOHN COEFIELD,
                           General President,
                  (Signed) JAMES LENNON,
                  (Signed) R. PATTISON,
                  (Signed) JAMES T. MORIARTY,
         Representing Sheet Metal Workers’ International
                         Association,
                  (Signed) JOHN J. HYNES,
                           General President.


      Bricklayers, Masons and Plasterers’ International
         Union and Operative Plasterers and Cement
             Finishers’ International Association
       Agreement entered into between the B.M. & P.I.U. of
     America and the O.P.&C.F.I.A. at the Headquarters of
     First-Named Organization, Odd Fellows Bldg., Indi-
     anapolis, Ind.
                                       FEBRUARY 17, 1911.

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       First. The O.P.&C.F.I.A. agrees to a mutual interchange
      of cards with the B.M.&P.I.U., same to cover all cities
      where the O.P.&C.F.I.A. have locals and the B.M.&P.I.U.
      has mixed locals, and that the following stipulations be
      recognized.
        Second. The support to be given in the interest of ei-
      ther organization in the localities where the B.M.&P.I.U.
      controls shall be determined by the Executive Boards of
      both organizations in conference when the necessity for
      such support arises. No work to be performed until the
      conference board comes to a decision.
        Third. The B.M.&P.I.U. recognizes and concedes the
      sole right of the O.P.&C.F.I.A. to organize and charter
      unions composed of exclusive plasterers in all localities
      where a sufficient number of bona fide resident plaster-
      ers can be secured, and guarantees that no interference
      on their part shall take place, except under conditions
      hereafter stated, and that no exclusive plasterers’ union
      shall be chartered by the B.M.&P.I.U. under any circum-
      stance.
         Fourth. The conditions existing under which an exclu-
      sive union of plasterers is permitted to be organized in
      territory already controlled by the B.M.&P.I.U. having
      been a matter of complaint at the conference, the repre-
      sentatives of the B.M.&P.I.U. have determined that the
      grounds upon which the complaint is based are justified
      and that same demand a concession upon their part—i.e.,
      that of permitting the bricklayers and stonemasons of a
      mixed union the right to cast a vote upon the question of
      the plasterer members being allowed to form a separate
      union. Said representatives agree to eliminate the brick-
      layer and stonemason when such votes are being taken in
      the future, and that only the recognized plasterer mem-
      bers of the union shall be allowed to cast a vote upon

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      such propositions. That in all cases where two-thirds of
      such plasterer members vote in favor of separation, the
      General Secretaries of the O.P.&C.F.I.A. and the
      B.M.&P.I.U. shall be notified of same by the secretary of
      the union, and a charter shall be immediately granted.
         Fifth. The B.M.&P.I.U. agrees that the subcontracting
      of the plastering contract of a bona fide employer or gen-
      eral contracting firm shall not be objected to by any of
      its subordinate unions upon all general contracts ex-
      ceeding $50,000, pending the convening of the next bien-
      nial convention of the B.M.&P.I.U. at which convention
      legislation will be asked for that will make permanent
      the relief ordered at this time.
         Sixth. That the O.P.&C.F.I.A. charters be withdrawn
      from Springfield, Newark, and Rochester, and the mem-
      bers of each respective union be admitted to member-
      ship in the B.M.&P.I.U. local free of any penalty or initia-
      tion fee. All fines placed upon O.P.&C.F.I.A. members
      covering their actions in the above-named three cities
      are also hereby removed.
        Seventh. In any city under a mixed charter of the
      B.M.&P.I.U. where there are but three or less plasterers
      affiliated, and there are five or more plasterers who are
      bona fide residents who are not members, the
      O.P.&C.F.I.A. is conceded the right to organize a union,
      and all B.M.&P.I.U. members following plastering shall
      become members of the newly chartered exclusive
      (O.P.&C.F.I.A.) Plasterers’ Union free of initiation fee.

                 “OFFENSIVE AND DEFENSIVE ALLIANCE”
         Eighth. That in all movements, “offensive or defen-
      sive,” no subordinate local of either International Union
      shall be permitted to take any action whatsoever until

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     the question requiring joint action shall have first been
      acted upon and determined by the Presidents of the
      O.P.&C.F.I.A. and the B.M.&P.I.U.
        Ninth. No movement of an “offensive” or “defensive”
      character shall be countenanced in cases where such
      would be in violation of any existing agreements.

               RULES GOVERNING INTERCHANGEABLE CARDS
         The rules governing the issuing of the Interchangeable
      traveling card and the clearance card shall be subject to
      the rules agreed upon at the conference of October 30,
      1906, and as revised at the conference of February 13,
      1909.
        In Witness Whereof, We, the undersigned, hereby set
      our hand and seal this eighteenth day of February, 1911.
                  For the O.P.&C.F.I.A:
                        JOHN DONLIN, President.
                        EDW. J. MCGIVERN, 1st Vice-Pres.
      (Seal)
                        PETER G. COOK, 3rd Vice-Pres.
                        W. A. O’KEEFE, Organizer.
                  For the B.M.&P.I.U. of America:
                        WM. J. BOWEN, President.
                        THOS. R. PREECE, 1st Vice-Pres.
                        WM. DOBSON, Secretary.

                             ACOUSTONE
        At a meeting of the Joint Conference between the Ex-
      ecutive Boards of the Bricklayers, Masons and Plaster-
      ers’ International Union of America and the Operative
      Plasterers and Cement Finishers’ International Associa-

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      tion of the United States and Canada held in Atlantic City,
       February 27, 1930, it was agreed, that the above-named
       material and those of a similar character shall be in-
       stalled on a fifty-fifty basis equally divided between the
       membership of the Operative Plasterers and Cement Fin-
       ishers’ International Association of the United States and
       Canada and the Bricklayers, Masons and Plasterers’ In-
       ternational Union of America irrespective of thickness.

                           ARTIFICIAL STONE
          In order to reach an amicable understanding between
       the B.M.&P.I.U. and the O.P.&C.F.I.A. regarding the in-
       stallation of the artificial stone or marble, the
       O.P.&C.F.I.A. concedes to the membership of the
       B.M.&P.I.U. the installation of artificial stone or marble
       when same are precast and of 3/4 of an inch or more in
       thickness. And the B.M.&P.I.U. concedes to the
       O.P.&C.F.I.A. that installation of said imitation stone or
       marble when same are less than 3/4 of an inch in thick-
       ness, also said artificial stone when same are applied to
       channel iron furring. It is also understood that each
       party hereto will confine their method of erection or ap-
       plication to the Craft method of erection or application
       employed heretofore and that the 3/4 inch thickness re-
       ferred to heretofore is 3/4 inch in the body of piece not
       inclusive of any relief members or enrichments appear-
       ing on the surface.

                              Tilelayers
         Owing to the fact that the Tilelayers organization has
       ignored agreements held between themselves and the
       O.P.&C.F.I.A.; also the B.M.&P.I.U., the agreements were
       reported abrogated. The B.M.&P.I.U. assuming control of
       the tilelaying business.

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                 AGREEMENT
               (PREPARATION OF WALLS AND CEILINGS
                        TO RECEIVE TILE)

      Agreement entered into this 22nd day of August, 1917,
    between the B.M.&P.I.U. and the O.P.&C.F.I.A. pertaining
    to the preparing or plastering of walls and ceilings which
    are to receive tile;
       First. It is agreed that the Plasterers of the
    O.P.&C.F.I.A. and the B.M.&P.I.U. shall prepare or plaster
    all walls which are to receive tile. They shall plumb, rod
    and square all walls and scratch the same so as to guar-
    antee adhesion of the final coat which shall be put on by
    the Tilelayer to act as a bed for his tile.
      Second. It is further agreed that the Plasterers of ei-
    ther the O.P.&C.F.I.A. of the B.M.&P.I.U. shall prepare or
    plaster all ceilings which are to receive tile. All ceilings
    must be leveled and rodded and properly scratched so as
    to guarantee adhesiveness of the final coat which shall
    be applied by the Tile Setter and act as a bed for his tile.
       Third. It is further agreed that the Plasterers shall use
    only sand and cement in the preparation of work above
    stipulated unless otherwise specified by the architect.
       Fourth. Any member of either organization that vio-
    lates the above rules shall, upon conviction, be fined the
    sum of $25.00.
      “Resolved, to qualify the agreement entered into be-
    tween the Interstate Mantel and Tile Contractors’ Asso-
    ciation, Operative Plasterers and Cement Finishers’ In-
    ternational Union and the Bricklayers, Masons and Plas-
    terers’ International Union of America to read:
      “That three bathrooms, vestibules and small halls in
    private residents shall be plastered by the tile setter.”

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                 AGREEMENT
       Agreement entered into this      day of              ,
     1918, by and between the Interstate Mantel and Tile Con-
     tractors’ Association, the Operative Plasterers and Ce-
     ment Finishers’ Association of the United States and
     Canada, and the Bricklayers, Masons and Plasterers’ In-
     ternational Union of America.
       “The purpose of this agreement is to prevent hereafter
     jurisdictional disputes that have existed for the past
     twenty years between the tile and plastering interests,
     and which have resulted in many strikes among the
     workmen involved to the detriment of employer and em-
     ployee and the building public.
        “First. It is agreed that all materials for plastering
     work entering into the preparation of all walls, ceilings,
     etc., to receive tile and other work, and conceded as
     coming under the jurisdiction of the Mantel and Tile
     Contractors’ Association, shall be included in the esti-
     mate and contract and the work shall come under the ju-
     risdiction of the Mantel and Tile Contractors.
        “Second. It is agreed that the plasterers of the
     O.P.&C.F.I.A. and the B.M.&P.I.U. shall prepare or plaster
     all walls and ceilings which are to receive tile, except the
     final setting bed, which shall be applied by the tilelayer.
       “Third. All preparation work shall be done in a thor-
     ough and workmanlike manner, and it is understood and
     agreed that all walls and ceilings shall be plumbed, lev-
     eled and rodded under the direct supervision of the tile
     layers.
                  (Signed) ED. J. MCGIVERN,
                           President O.P.& C. F. I.A.

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                 PETER G. COOK,
                          Vice-President O.P.& C. F. I.A.
                          T. A. SCULLY,
                          Secretary O.P.& C. F. I.A.
                          W. A. O’KEEFE,
                          General Organizer O.P.& C. F. I.A.
                          WM. J. BOWEN,
                          President B.M.&P.I.U.
                          THOS R. PREECE,
                          Vice-President B.M.&P.I.U.
                          WM. DOBSON,
                          Secretary B.M.&P.I.U.

           Carpenters and Sheet Metal Workers

                         AGREEMENT
      For the purpose of bringing about conditions of har-
    mony and co-operation the following agreement is this
    day entered into and agreed to by and between the Sheet
    Metal Workers’ International Association and the United
    Brotherhood of Carpenters and Joiners of America:
       It is agreed that members of the United Brotherhood
    of Carpenters and Joiners of America shall erect and in-
    stall all interior metal trim such as bucks, jambs, doors,
    casings, base, chair-rail, picture mouldings, partitions,
    and all other material generally referred to as trim ex-
    cept toilet partitions, which shall be done by Sheet Metal
    Workers. Also, when a sheet metal contractor who is en-
    gaged in manufacturing and erecting sheet metal prod-
    ucts for buildings, such as cornices, sky-lights, metal
    roofing, ventilating work, etc., manufactures the mate-
    rial referred to as trim, with members of the Sheet Metal
    Workers’ International Association they shall do the

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      erecting of same in a manner that will comply with the
      working agreement now in force between the Sheet
      Metal Workers and said firms.
        It is further agreed that in the setting of metal window
      frames that when frames are set, stayed, plumbed or
      braced such work shall be done by Carpenters, but if set
      or placed in an opening in walls left when a building is
      erected the work shall be done by Sheet Metal Workers.
      The hanging and adjusting of metal sash shall be done by
      Sheet Metal Workers. It is further agreed that any metal
      work in connection with store fronts shall be done by
      Sheet Metal Workers.
        It is further understood and agreed that in the erection
      of metal column forms the erection shall be done by
      Sheet Metal Workers. Any framing in connection there-
      with shall be done by Carpenters.
        It is further agreed that the installation of metal lock-
      ers, also the erection of ordinary plain metal shelving
      shall be done by Sheet Metal Workers.
        It is further understood and agreed that the members
      of neither organization shall work on any building where
      non-union men of the other craft are employed.
        If any misunderstanding arises as to the meaning or
      carrying out of any of the provisions contained herein
      the matter will be taken up with the General Presidents
      of the two organizations.
        Dated March 21, 1928.
        For United Brotherhood of Carpenters and Joiners:
            WM. L. HUTCHESON,              FRANK DUFFY,
                             T. M. GUERIN.

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       For Sheet Metal Workers’ International Assn.:
           JOHN J. HYNES,                R. PATTISON,
           ROBT. BYRON,                  W. J. ROONEY,
           JAMES T. MORIARTY,            THOMAS FAY.
       In the last part of paragraph Two of the Agreement en-
     tered into this 21st day of March, 1928, by and between
     the Sheet Metal Workers’ International Association and
     the United Brotherhood of Carpenters and Joiners of
     America, beginning with “Also,” it is understood and
     agreed that this refers only to the firms now manufactur-
     ing hollow metal doors and trim in their own shops in
     the City of Chicago, and the erecting of same in accor-
     dance with the working agreement between the Sheet
     Metal Workers and said firms, now in force.
            WM. L. HUTCHESON                JOHN J. HYNES


           Sheet Metal Workers-Asbestos Workers
                        Agreement
        Agreement entered into this 13th day of April, 1939, by
     and between the Sheet Metal Worker’s International As-
     sociation and the International Association of Heat and
     Frost Insulators and Asbestos Workers covering the ap-
     plication of insulation and acoustical materials on inside
     and outside of sheet metal ducts and fittings in connec-
     tion with ventilation and air-conditioning systems.
       1. All insulating material applied on outside of sheet
     metal ducts and fittings is recognized as coming within
     the jurisdiction of the International Association of Heat
     and Frost Insulators and Asbestos Workers.
        2. All acoustical materials applied inside of sheet
     metal ducts and fittings, in shop or on job prior to erec-
     tion of said ducts and fittings by Sheet Metal Workers, is

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      recognized as coming within the jurisdiction of the Sheet
      Metal Workers’ International Association.
         3. All acoustical materials applied inside of sheet
      metal ducts and fittings on job after said ducts and fit-
      tings have been erected by Sheet Metal Workers is recog-
      nized as coming within the jurisdiction of the Interna-
      tional Association of Heat and Frost Insulators and As-
      bestos Workers.
        4. Any dispute or controversy arising out of the appli-
      cation or interpretation of this agreement shall be re-
      ferred to and settled immediately by the General Presi-
      dents of the two International Unions involved, in accor-
      dance with the purpose and intent of this agreement.
        (Signed)
        FOR SHEET METAL WORKERS’ INTERNATIONAL ASSOCIATION,
        ROBT. BYRON, General President.
        JAMES T. MORIARTY.
        WM. O’BRIEN, General Secretary-Treasurer.
          INTERNATIONAL ASSOCIATION OF HEAT AND FROST INSULA-
            TORS AND ASBESTOS WORKERS.
        JOSEPH A. MULLANEY, General President.
        C. W. SICKLES, General Secretary-Treasurer.
      Between the United Association of Journeymen
       Plumbers and Steamfitters and the United
       Brotherhood of Carpenters and Joiners of
       America


               BATH AND TOILET ROOM ACCESSORIES AND
                        MEDICINE CABINETS*
        It is agreed that the installation of all bath and toilet
      room accessories, such as paper holders, towel rails or

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     bars, glass holders, glass shelves, etc., however installed,
      shall be the work of the members of the United Associa-
      tion of Journeymen Plumbers and Steamfitters.
        Further, that the installation of bath and toilet room
      medicine cabinets shall be the work of the members of
      the United Brotherhood of Carpenters and Joiners of
      America.
                UNITED ASSOCIATION OF JOURNEYMEN
                   PLUMBERS AND STEAMFITTERS.
                        GEORGE MASTERTON.
                          JOHN COEFIELD.

                UNITED BROTHERHOOD OF CARPENTERS
                     AND JOINERS OF AMERICA.

                        M.A. HUTCHESON.
                        WM. L. HUTCHESON.
           Dated at Cincinnati, Ohio, September 29, 1939
         * Agreement abrogated by the United
           Brotherhood of Carpenters and Joiners
           of America on November 18, 2003.




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                 AGREEMENT
     Agreement between the United Brotherhood of
      Carpenters and Joiners of America and the
      Operative Plasterers’ and Cement Finishers’
      International Association of the United States
      and Canada, at the headquarters of the First
      Named Organization, Carpenters’ Building,
      Indianapolis, Ind., June 13, 1944.
       This Agreement entered into by and between the
     United Brotherhood of Carpenters and Joiners of
     America, the Operative Plasterers’ and Cement
     Finishers’ International Association of the United States
     and Canada, in the matter of jurisdiction to govern the
     fabrication and setting of screeds and forms used in
     connection with the placing and finishing of cement or
     concrete, shall be as follows:
       1. The setting of screeds of lumber, metal or other
     materials to determine the proper grade of concrete
     when used to serve as forms, such as 2" by 4"s, or other
     plain pieces of material, when held in place by stakes
     and/or spreaders shall be done by Cement Finishers,
     members of the O.P.&C.F.I.A. and B.M.&P.I.U.
       A screed is a strip of wood or metal used as a guide for
     leveling or grading a concrete floor, slab or sidewalk.
        2. The fabricating of all screeds and stakes, for any
     purpose, and the construction and setting of all forms
     shall be done by Carpenters, members of the U.B. of C. &
     J. of A.
       A form is a built-up section of wood, metal or
     composition board used for the purpose of moulding
     concrete to a given line or shape.

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       3. Any bulkhead that is one single board in height, and
      that has no key attached or which is not notched or
      fitted shall be set and braced or staked by Cement
      Finishers, providing same is used as a screed. The term
      bulkhead shall mean a form or screed erected for the
      purpose of separating pours of concrete. Any bulkhead
      that must be notched or fitted, or which has a key
      attached or which is over one board high, or any
      bulkhead that is not used as a screed, shall be fabricated
      and set by Carpenters.
        For the U.B. of C. & J. of A.:
          M. A. HUTCHESON, First General Vice President.
          JOHN R. STEVENSON, Second General Vice President.
        For the O.P. & C. F. I. A.:
          JOHN E. ROONEY, General President.
          JOHN J. HAUCK, First Vice President.




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          MEMORANDUM OF UNDERSTANDING
                           By and Between
         The International Brotherhood of Electrical
                          Workers
                                   and
        The International Hod Carriers’, Building and
           Common Laborers’ Union of America*
        1. The International Brotherhood of Electrical Work-
     ers recognizes the jurisdiction of the International Hod
     Carriers’, Building and Common Laborers’ Union of
     America over such work as all digging, excavating, grad-
     ing, backfilling, cutting and replacing of all pavements
     and the handling of all material in connection therewith,
     performed for Gas Utility Companies, affiliated or non-
     affiliated with the Electric Utilities, in all cases except
     where the International Brotherhood of Electrical Work-
     ers has agreements now in effect as of this date. Such
     agreement shall continue until the next termination pe-
     riod effective in said agreements and the International
     Brotherhood of Electrical Workers agrees to exercise all
     options to change said agreements to conform with the
     description of jurisdiction as above outlined by serving
     such notice as may be required to effect such change. If,
     however, the International Brotherhood of Electrical
     Workers, at such period or periods of termination is con-
     vinced that the termination of any such agreements
     would impair the prestige of the Electrical Workers in
     the Electric Public Utility field, the matter of termination
     of said agreements will be taken up and discussed by

       *For full report see page 133 of the Proceedings of the 34th An-
     nual Convention, New Orleans, 1940.

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     both parties to this memorandum of understanding with
     the protection of the mutual welfare and interest of both
     parties to this memorandum of understanding being the
     paramount and deciding factor. When such termination
     or changes are effected, the work shall revert to and be
     considered the work of the Laborers, parties hereto.
       2. It is recognized by both parties hereto that all provi-
     sions with respect to the work herein defined will apply
     in the instances of work in connection with water and
     steam, in the same manner and to the same effect as ap-
     plies to gas. Likewise, the provisions relative to agree-
     ments now in effect apply on steam and water equally
     with gas.
       3. The International Brotherhood of Electrical Work-
     ers reserves its established jurisdiction over right of way
     clearance performed be members of the International
     Brotherhood of Electrical Workers employed directly by
     Electric Utilities.
       4. The International Brotherhood of Electrical Work-
     ers recognizes that the work of right of way clearance,
     with the exception of the digging of post holes and an-
     chors and the back-filling of same, performed on or in
     connection with transmission line construction, through
     contracts, or on R. E. A. projects, is the jurisdiction of
     the International Hod Carriers’, Building and Common
     Laborers’ Union of America.
        5. The International Hod Carriers’, Building and Com-
     mon Laborers’ Union of America recognizes the jurisdic-
     tion of the International Brotherhood of Electrical Work-
     ers over handling of all electrical material, beginning
     with the unloading at the first point of delivery on the
     job, and continuing through its ultimate use or disposal.

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       6. Both parties to this understanding and agreement
      agree that there shall be no compacts entered between
      either party and any third parties in a jurisdictional issue
      affecting or involving either party hereto.
         7. Both parties hereto agree that in the instance of any
      issues arising on work not herein covered or outlined,
      the settlement and disposal of such issues shall be only
      through procedures before proper tribunals, established
      within the American Federation of Labor, or through
      methods agreed upon by the International Presidents of
      the organizations parties hereto.
        The International Brotherhood of Electrical Workers
      and the International Hod Carriers’ Building and Com-
      mon Laborers’ Union of America hereby affix the signa-
      tures of the respective International Presidents in ac-
      knowledgement of an agreement to terms of understand-
      ing herein described, this third day of February, 1940, at
      Miami, Fla.
              (Signed) D. W. Tracy,
           General President, International Brotherhood
                      of Electrical Workers.
              (Signed) Jos. V. Moreschi,
         General President, International Hod Carriers’,
       Building and Common Laborers’ Union of America.


                  ARTICLES OF AGREEMENT
      Between the United Association of Journeymen
       Plumbers and Steamfitters of the United States
       and Canada, Hereinafter Referred to as the
       United Association, and the International

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       Brotherhood of Boiler Makers, Iron Ship
      Builders, Welders and Helpers of America,
      Hereinafter Referred to as Boiler Makers.
       For the purposes of eliminating jurisdictional disputes
    between the membership of these two International
    Unions, and for the further purpose of laying the ground-
    work for extensive cooperation and fraternal good will
    between the two memberships, and for the additional
    purpose of cooperating together in the unionization of
    those industries and firms in which we are jointly inter-
    ested, the representatives of the two International
    Unions hereby undertake to dispose of the questions ex-
    isting between them which have provoked jurisdictional
    disputes. In so doing it should be understood by all con-
    cerned that we are attempting only to settle controver-
    sies between ourselves and are not undertaking to settle
    disputes which either of the organizations herein in-
    volved may have with other International Unions, or to
    dispose of work which properly belongs to any other In-
    ternational Union.


                     Refinery Installation
       1. On the equipment that has caused considerable mis-
    understanding in the industry, the United Association of
    Journeymen Plumbers and Steamfitters and the Interna-
    tional Brotherhood of Boiler Makers, Iron Ship Builders,
    Welders and Helpers of America have agreed on the fol-
    lowing division of work, viz.:
      2. The installation of tubes in pipe stills or furnaces,
    commonly called oil heaters, will be handled, installed
    and finished by a composite crew equal in number of
    Boiler Makers and members of the United Association.

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       3. The erection of furnace frame, casing, doors and
      support will be performed by Boiler Makers.
        4. All circulating piping, pipe hangers and oil burners
      will be installed by the United Association.
        5. The installing or removing of cooler, condenser and
      heat exchanger tube, or tubes of the shell and tube type
      of equipment, by any mode or method, shall be the work
      of the Boiler Maker.
        6. The building of cooler, condenser and heat ex-
      changer pipe coils, by any mode or method, shall be the
      work of the United Association.
        7. The handling and setting of all work in connection
      with bubble or fractionating towers, reaction chambers
      or evaporators, trays, cups, baffles, tube sheets, tubes or
      other interior equipment shall be the work of the Boiler
      Maker.
        The United Association shall perform all internal and
      external piping, valves, strainers and floats.
        8. The application or installation of braces and sup-
      ports, riveted to pressure vessel, is the work of the
      Boiler Maker.
        9. The handling and placing of washers and agitators,
      including baffles, is the work of the Boiler Maker.
         10. Cooling tower pans, frames and condenser boxes
      is the work of the Boiler Maker.
       Coils and all pipe work in connection with same is the
      work of the United Association.
         11. All work in connection with coke stills and asphalt
      stills is the work of the Boiler Maker.

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       All pipe work in connection with the same is the work
     of the United Association.
       12. The handling and settling of completed heat ex-
     changers is the work of the United Association.


                            Pipelines
       13. It is hereby recognized that all transportation oil
     and gas lines is the work of the United Association.
       14. Plate fabricated aqueducts or water lines to the
     point where it enters city or town distributing system,
     whether riveted or welded, is the work of the Boiler
     Maker.
      Where flange or other patent joints are used it is the
     work of the United Association.
       15. Plate fabricated intake and discharge lines in
     power plants, where riveted or welded joints are used, is
     work of the Boiler Maker.
      Where flange or other patent joints are used it is the
     work of the United Association.
       16. All other classes of manufactured pipe—regardless
     of material—used in the pipefitting industry, is the work
     of the United Association.


                              Tanks
       17. Completed tanks which are an integral part of a
     piping job shall be installed by members of the United
     Association.
       Knockdown or completed tanks which are not an inte-
     gral part of a United Association installation, for exam-

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      ple, brewery vats, distillery vats, etc., in or on buildings,
       shall be the work of the Boiler Maker.
         18. All tankage for the storage of petroleum products
       in the petroleum industry, including bulk storage plants
       and all water towers, standpipes or water storage reser-
       voirs, shall be the work of the Boiler Maker.
         All pipe work in connection with same is recognized
       as the work of the United Association.
         19. The erection and repair of gas holders is recog-
       nized as the work of the Boiler Maker.
         All pipe work in connection with same is recognized
       as the work of the United Association.


                                Boilers
         20. Hot and cold air and gas ducts in connection with
       boilers, furnaces or other duct work incidental to Boiler
       Makers’ installation is the work of the Boiler Maker.
          21. It is hereby recognized that the building of boilers,
       including economizers, superheaters, air heaters, cas-
       ings, burner boxes, down comers, sludge boxes and
       sluice troughs, completed marine bent tube boilers,
       breechings, stacks and all air and gas ducts in connec-
       tion with same is the work of the Boiler Maker.
         Soot blowers, fuel piping, valves, boiler trimmings, the
       setting of completed boilers and knockdown cast iron-
       boilers and all pipe work in connection with same is the
       work of the United Association.
          22. The burning and welding on work in the jurisdic-
       tion of the United Association will be performed by the
       members of the United Association.

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       Burning and welding on work in the jurisdiction of the
      Boiler Maker shall be performed by the Boiler Maker.
        23. The handling and rigging of all materials and equip-
      ment coming under the jurisdiction of these two trades
      will be performed by each respective trade.
        24. It is understood that each class of work listed
      above, under the several sub-heads, stands alone by it-
      self and no combination of sub-sections can be used to
      produce a result not contemplated by this agreement, as
      this agreement is fairly and honestly entered into and
      must be so applied.
        25. Questions may arise which are not specifically cov-
      ered by the articles of this agreement and it is understood
      that our respective officers and representatives will
      make a sincere effort to reach an amicable understanding
      based upon the broad principles herein laid down.
        26. All new questions which may arise and which are
      not clearly covered by the terms of this agreement and
      that have failed of settlement locally between represen-
      tatives of the two Organizations shall be jointly submit-
      ted to the two International Presidents or the officer act-
      ing in his place, with all supporting data and argument.
        If the International Presidents fail to agree, they may
      submit same to a neutral umpire, jointly selected by them.
        The work disposed of by this agreement shall not be sub-
      ject to further arbitration or interpretation by any tribunal.
         27. This agreement supersedes and voids all previous
      agreements between the United Association and the Inter-
      national Brotherhood, and likewise voids all decisions on
      controversies which occurred between the two Interna-
      tional Organizations or between their affiliated local
      unions, affecting the United Association and the Interna-

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      tional Brotherhood, or by the American Federation of
      Labor, or the Building and Construction Trades Depart-
      ment of the American Federation of Labor, or by any other
      tribunal prior to the effective date of this agreement.
                     United Association of Journeymen
                      Plumbers and Steamfitters of the
                      United States and Canada:
                                  CHARLES N. RAU
                                  LEO A. GREEN
                                  MICHAEL F. GARRETT
                     International Brotherhood of Boiler
                       Makers, Iron Ship Builders, Welders
                       and Helpers of America:
                                   CHAS. J. MACGOWAN
                                   HARRY NICHOLAS
        Signed at Chicago, Ill., this 1st day of August, 1941.
        Approved:
                                GEORGE MASTERTON,
                                     General President.
                                WM. E. WALTER.
                                J. A. FRANKLIN,
                                     International President.
        By the action of the 35th Annual Convention of the Build-
      ing and Construction Trades Department the agreement
      made by and between the United Association of Plumbers
      and Steam Fitters and the International Brotherhood of
      Boiler Makers, Iron Ship Builders, Welders and Helpers of
      America was accepted, with the understanding that this
      agreement incorporated in the permanent record of the De-
      partment would not interfere with or alter the jurisdiction
      of any other National or International Union affiliated with
      the Building and Construction Trades Department.

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             Addendum to Agreement
      Re: Clarification—Rule 21—Agreement—Interna-
          tional Brotherhood of Boiler Makers, Iron Ship
          Builders, Welders and Helpers of America and
          United Association of Journeymen Plumbers and
          Steamfitters of the United States and Canada.
       Subsequent to the writing of the terms of the agree-
    ment there has been a question raised regarding the ju-
    risdiction or work in connection with attemporators
    which was not included in Rule 21 of the above agree-
    ment. Hence, it is agreed by the above contracting par-
    ties that the word “attemporator” shall be included in
    Rule 21, paragraph 1, after the word “superheaters.”
      It is further discovered that a further clarification of
    Rule 21, paragraph 2, should be made by inserting Rule
    21, paragraph 2, in the second line after the word “trim-
    mings” the following language: “All circulating piping for
    appurtenances and component parts of boiler.”
      The amended Rule 21 would then read as follows:
      “It is hereby recognized that the building of boilers, in-
    cluding economizers, superheaters, attemporators, air
    heaters, casings, burner boxes, downcomers, sludge boxes
    and sluice troughs, completed marine bent tube boilers,
    breechings, stacks, and all air and gas ducts in connection
    with the same is the work of the Boiler Maker.”
       “Soot blowers, fuel piping, valves, boiler trimmings, all
    circulating piping for appurtenances and component
    parts of the boiler, the setting of completed boilers and
    knockdown cast iron boilers and all pipe work in connec-
    tion with same is the work of the United Association.”
      The agreement of August 1, 1941, between the two In-
    ternational Organizations has reduced jurisdictional dis-

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      putes between these two Organizations to a very mini-
      mum and this clarification is made in the hope that it
      may entirely eliminate any further jurisdictional misun-
      derstandings.
                         (Signed) JOHN J. MCCARTIN,
                                    Special Representative.
                                   United Association of
                                    Journeymen Plumbers and
                                    Steamfitters.
                         (Signed) J. A. FRANKLIN,
                                     International President.
                                   International Brotherhood of
                                     Boiler Makers.
        March 20, 1942.


                             AGREEMENT
      Between the International Brotherhood of
       Teamsters, Chauffeurs, Warehousemen and
       Helpers, and the International Brotherhood of
       Electrical Workers*
        It is hereby agreed that the operators of vehicles deliv-
      ering electrical material come under the jurisdiction of
      the International Brotherhood of Teamsters, Chauffeurs,
      Warehousemen and Helpers.
        It is further agreed that the operators of vehicles used
      for electrical construction work, maintenance work or
      electrical repair work—that is, when such vehicles are


        *For full report see Case 41 of Executive Council’s Annual Re-
      port, 1942.

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     used for transporting man or men and/or material to and
     from job, and said vehicle remains at job site with man
     or men in the performance of electrical work, and the
     operation of the vehicle is an integral part of the work—
     such operator comes under the jurisdiction of the Inter-
     national Brotherhood of Electrical Workers.
        It is understood and agreed that the equipment oper-
     ated by electrical workers shall only be the truck carry-
     ing the line and maintenance crews, tools, etc., to and
     from the job, or the emergency car from electrical con-
     tracting shops carrying only tools and repair equipment
     for emergency work. Operation of all delivery equipment
     for the delivery of materials of all character, such as
     poles, pipes, transformers, cables and electrical appli-
     ances, such as refrigerators, radios, etc., shall be the ju-
     risdiction of the International Brotherhood of Team-
     sters, Chauffeurs, Warehousemen and Helpers.
       Signed this 11th day of February, 1942.
                 International Brotherhood of Teamsters,
                   Chauffeurs, Warehousemen and Helpers:
                      JOHN M. GILLESPIE,
                        General Secretary-Treasurer.
                      DAVE BECK,
                        Vice President.
                 International Brotherhood of Electrical
                   Workers:
                      G. M. BUGNIAZET,
                        International Secretary.
                      CHARLES M. PAULSEN,
                        Chairman, Executive Council.
                      EDWARD J. BROWN,
                        International President.

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         Agreement (Pointing or Caulking Around
                        Steel Window Sash)
       Agreement entered into April 12, 1919, at Indianapolis,
     Ind., between the Executive Officers of the B.M.&P.I.U
     and O.P.&C.F.I.A. as follows:
       “It was agreed that the pointing around steel sash on
     exclusive concrete shall be done by the members of the
     O.P.&C.F.I.A. The pointing of all steel sash where whole
     or part is masonry shall be done by the members of the
     B.M.&P.I.U.”
                       For the O.P.&C.F.I.A.
                 EDWARD J. MCGIVERN, President.
                 PETER G. COOK, First Vice-President.
                 THOMAS A. SCULLY, Secretary-Treasurer.
                 W. A. O’KEEFE, Organizer.
                        For the B.M.&P.I.U.
                 WILLIAM J. BOWEN, President.
                 THOMAS R. PREECE, First Vice-President.
                 WILLIAM M. DOBSON, Secretary.

       Agreement for Avoidance of Dispute Between
            United Slate, Tile and Composition
      Roofers and Sheet Metal Workers’ International
                       Association
              (Endorsed by Seattle Convention, Building Trades
                       Department, November, 1913)

                 DECISION RENDERED, JULY 12, 1922
       In the matter of the subject referred to in the forego-
     ing title, it is the decision of the Board that the following
     agreement be concurred in:

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       Upon that portion of the report of the Executive Coun-
      cil under the above caption the committee reported as
      follows:
        “The representatives of the Sheet Metal Workers and
      the Slate, Tile and Composition Roofers appeared before
      your committee and requested that they be given an op-
      portunity to reach an agreement. The request was
      granted and the following represents the agreement
      reached by the trades in interest:
         “This agreement made and entered into at Atlantic
      City, N.J., July 25, 1913, by and between the Sheet Metal
      Workers, party of the first part and the Slate, Tile and
      Composition Roofers, party of the second part, in pur-
      suance of correspondence and action thereon as found
      on page 76 of the Report of the Proceedings of the Sixth
      Annual Convention of the Building Trades Department,
      whereby the party of the first part agrees to cause its af-
      filiated local unions and their members to respect and
      observe the trade jurisdiction of the party of the second
      part as approved by the Building Trades Department of
      the American Federation of Labor, and refrain from
      doing any work granted to said party of the second part
      in the aforesaid jurisdiction in all towns and localities,
      where the party of the second part has a duly chartered
      local union.
         The party of the second part agrees to cause all its
      local unions and their members to observe and respect
      the jurisdiction of the party of the first part as estab-
      lished and approved by the Building Trades Department
      of the American Federation of Labor.”



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          MEMORANDUM OF UNDERSTANDING
                            Between
      The Operative Plasterers’ and Cement Finishers’
                International Association
           The Bricklayers, Masons and Plasterers’
                    International Union
                               and
        The International Hod Carriers’ Building and
                 Common Laborers’ Union
       1. This memorandum of understanding shall only
     cover the performance of work coming under the juris-
     diction of either the Cement Finishers or Laborers in
     connection with the preparation, pouring, placing,
     spreading, rodding and finishing of cement or concrete
     on highways, roads, streets and airport runways.
        2. The mixing, handling, pouring, puddling, blocking,
     vibrating and spreading of all concrete shall be the work
     of the Laborers. The setting, leveling and lining of all
     slab steel forms on roads, highways and streets shall be
     the work of the Laborers.
       3. All labor on center expansion machine, all expan-
     sion and contraction joints, center stripes and center
     steel shall be the work of the Laborers.
       4. The handling of bull floats where bull float is used
     for strike off shall be the work of the Laborers.
       5. The tending to Cement Finishers, the handling and
     distributing of all material on sidewalks, curbs and gut-
     ters is the work of the Laborers.
       6. The setting of all forms for sidewalks, curbs and
     gutters shall be the work of the Cement Finishers.

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       7. Straight edging, floating, trowelling, edging, rubbing
      and brushing shall be the work of the Cement Finishers.
         8. It is understood that this memorandum is entered
      into for the purpose of clarifying jurisdiction as outlined
      above and in the event of any dispute arising in connec-
      tion with the work as outlined above, the said dispute
      shall be referred to the General Presidents of the Interna-
      tional Unions parties hereto. In the event of any dispute
      arising on any work not covered by this agreement such
      as bridge, viaducts and underpasses, the said dispute
      shall be immediately referred to the General Presidents
      of the International Unions involved, or to whomever the
      said General President may assign, for the purpose of at-
      tempting to adjust the said dispute amicably. During the
      period of time that these attempts are being made for ad-
      justment there shall be no stoppage of work on the job.
      Operative Plasterers’ and Cement Finishers’ Interna-
       tional Association:
      JOHN E. ROONEY,                   JOHN J. HAUCK.
           President                    First Vice President
      Bricklayers, Masons and Plasterers’ International Union:
      HARRY C. BATES,                   A. J. CLELAND.
           President.
      International Hod Carriers’ Building and Common La-
        borers’ Union of America:
        Jos. V. Moreschi,      John W. Garvey.
            General President.
      July 19, 1948
      Attested: RICHARD J. GRAY,
                President, Building and Construction
                Trades Department, AFL.

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      AGREEMENT UNDER NATIONAL JOINT BOARD
       FOR SETTLEMENT OF JURISDICTIONAL
       DISPUTES, BUILDING AND CONSTRUCTION
       INDUSTRY
        We the undersigned request that Joint Board No. 1 be
     discharged. “The issue in dispute is the laying of wood
     fibre conduit underground for the carrying of electrical
     wires and cables.”
        It is agreed that this work is the work of the Interna-
     tional Brotherhood of Electrical Workers.
       Signed this 13th day of July, 1948.
                 International Hod Carriers’ Building
                 and Common Laborers’ Union of
                 America: JOS. V. MORESCHI,
                                General President.
                 International Brotherhood of Electrical
                 Workers: D. W. TRACY,
                                International President.
     Attested: RICHARD J. GRAY,
               President of the Building and Construction
               Trades Dept., A.F. of L.


            Iron Workers—Elevator Constructors
                   Directional Elevators
                          AGREEMENT
                                              May 26, 1953
       For the purpose of establishing complete harmony
     and cooperation on the erection of two directional eleva-
     tors for the Bowser Engineering Company in various
     parts of the country, the International Association of

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     Bridge, Structural and Ornamental Iron Workers, and the
     International Union of Elevator Constructors, hereby
     enter into the following agreement, effective on and
     from June 1, 1953.
       One team of elevator constructors to not less than two
     iron workers while installing the following: 1—crane
     rails, 2—crane bridges, 3—hoisting of all elevator equip-
     ment necessary to be in place before penthouse roof is
     poured, 4—optional hoisting of crane drives, 5—all
     hatchway steel that replaces normal elevator hatchways,
     6—catwalks, platforms, stairways and ladders.
       The Bowser Engineering Company agrees to pay iron
     workers the regular wage scale in the jurisdiction of the
     Local Union in which the project is located plus 25 cents
     per hour to one iron worker who acts as foreman under
     the supervision of the elevator mechanic on the job.
       Signed for International Association of Bridge, Struc-
     tural & Ornamental Iron Workers:
              JOHN J. MCCARTHY, Gen. Vice President.
       Signed for International Union of Elevator Construc-
     tors:
           J. A. ALTMAN, Reg. Business Representative.
     Attested July 10, 1953
                          JOHN T. DUNLOP
                Chairman National Joint Board.


                  Boilermakers-Ironworkers
                                   September 23, 1953
       The undersigned representatives of the International
     Association of Bridge, Structural and Ornamental Iron

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      Workers and the International Brotherhood of Boiler-
      makers, Iron Shipbuilders, Blacksmiths, Forgers and
      Helpers recommend to the respective General Presi-
      dents the attached agreement for the settlement of juris-
      dictional disputes between the two organizations.
      (Signed) J. R. DOWNES,
               International Association of Bridge,
               Structural and Ornamental Iron Workers
      (Signed) J. P. MCCOLLUM,
               International Brotherhood of Boilermakers,
               Iron Shipbuilders, Blacksmiths, Forgers and
               Helpers.
                                            September 23, 1953


                   Memorandum of Agreement
         This memorandum of agreement between the Interna-
      tional Association of Bridge, Structural and Ornamental
      Iron Workers and the International Brotherhood of Boil-
      ermakers, Iron Shipbuilders, Blacksmiths, Forgers and
      Helpers supplements and interprets the agreement of
      October 15, 1928 between the two organizations and the
      decision of record of May 19, 1947.
        It is the purpose of this agreement to improve relations
      between the two trades, to eliminate work stoppages
      which are costly to the membership of both organization
      and to the industry, to settle jurisdictional disputes di-
      rectly between the two trades, and mutually to assist
      each union to secure work coming within its recognized
      jurisdiction. In order to achieve these objectives, it is
      mandatory upon the membership of local unions affili-
      ated with both International Unions to comply with the
      provisions of this memorandum of agreement.

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       It is expressly understood and agreed that this agree-
      ment shall not relate to or have any bearing on jurisdic-
      tional disputes that may exist or in the future occur, be-
      tween either of the parties hereto with any other Interna-
      tional Union or subordinate body thereof.
        1. WIRE MESH. Wire Mesh when attached or welded
      directly to the breeching, stacks or vessels shall be in-
      stalled by Boilermakers, and wire mesh when attached
      or fastened to lugs, clips, bolts, nuts or any other attach-
      ments (which have already been attached or welded to
      the breeching, stacks or vessels by Boilermakers) shall
      be installed by Iron Workers.
        2. DERRICKS. Where a derrick is used by both crafts,
      one craft shall erect and the other craft shall dismantle
      same. Where such derrick is used only by one of the
      crafts, then that craft shall erect and dismantle same.
        3. PRECIPITATORS. Plate work and buckstays and in-
      ternals shall be the work of the members of the Boiler-
      makers; structural supports shall be the work of the Iron
      Workers including the house roof. Roof supports or lugs
      attaching directly to the preciptator shell shall be the
      work of the Boilermakers. When roof supports attach to
      lugs, the Boilermakers shall weld the lug to the precipi-
      tator shell and the Iron Workers shall erect the roof sup-
      ports thereto.
       4. OVERHEAD SUPPORTING STEEL FOR STEAM
      GENERATORS.
        (a) The erection of structural members, which may be
      channels, beams or angles, and which are directly at-
      tached to and suspended from the building roof steel for
      the purpose of supporting the steam generating unit
      shall be the work of the Iron Workers.

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       (b) The erection of all rods or other steel members at-
      tached to the members described in paragraph (a), and
      used for the purpose of supporting tubes and other Boil-
      ermakers’ work, shall be performed by the Boilermakers.
       5. THE ERECTION AND REPAIR OF BLAST FUR-
      NANCES
        The following work items shall be erected and in-
      stalled by the Iron Workers:
         Foundation rod and bands
         Column bases and columns
         Main, top furnace platform (except supports which
            weld, or rivet to shell)
         Top super-structure
         Bell trolley
         Bell beams
         Bell cables
         Jib-crane and mast
         All top mechanism such as large bell, small bell, bell
            rods, large bell hopper, gas seal hood, distributor, re-
            volving hopper, receiving hopper and small bell seat
         Skip bridge
         Skip cars and cables
         Skip operating mechanism such as skip hoist, large
            and small bell cylinders
         Cast house structural steel and roof
         Skip house
         Skip bridge A-frame
         Iron and cinder runners and cast house auxiliaries
         Trestle and stock house parts such as coke, stone and
            ore bins
         Coke and ore chutes
         Scale car and larry cars
         Pug mill machinery
         Elevator shafts

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       The following work items shall be erected and in-
         stalled by the Boilermakers:
       Hearth jacket
       Hearth coolers
       Tuyere jacket
       Blast furnace shell
       Bustle pipe
       Furnace top ring and dome
       Offtakes—Uptakes
       Downcomers and attached wearing plates
       Bleeder pipe, valves and stack
       Bosh band
       Dust catcher
       Hot blast stoves
       Hot blast valves and castings
       Gas washer
       Gas mains
       Gas precipitators
       Cold blast main and mixer line
       Stove stacks
       Dust legs
       Hot ladle cars
       Support for main top furnace platform which weld or
         rivet to shell
       Stock line brackets and abrasion or wearing plates
       Tuyere stocks
       6. CATWALKS, PLATFORMS, STAIRWAYS AND LADDERS
        (a) Catwalks, platforms, stairways and ladders erected on
     storage tanks for liquid or gas, and processing tanks erected
     by the Boilermakers, and installations commonly referred
     to as tank farms shall be performed by Boilermakers.
       (b) Catwalks, platforms, stairways and ladders sup-
     ported exclusively by a pressure vessel, shall be erected
     by Boilermakers.

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       (c) Catwalks, platforms, stairways, and ladders sup-
      ported by structural steel supports shall be erected by
      Ironworkers. When supported by both the pressure ves-
      sel and structural steel supports, the erection of the cat-
      walks, platforms, stairways and ladders shall be per-
      formed by Iron Workers, except that the welding or at-
      taching of the lug or support directly to the pressure ves-
      sel shall be performed by Boilermakers.
        (d) Catwalks, platforms, stairways, and ladders in con-
      nection with blast furnace construction shall be per-
      formed as follows:
          (i) The Boilermakers shall attach the lugs or sup-
        ports directly to the shell of the blast furnace and the
        Iron Workers shall then erect the catwalks, platforms,
        stairways, and ladders.
          (ii) The erection of catwalks, ladders and stairways
        on hot stoves and precipitators in connection with the
        blast furnace construction, in accordance with para-
        graph (b) of this section, shall be erected by Boiler-
        makers. The erection of the platforms and bridgeways
        across the top of hot stoves, however, shall be erected
        by iron workers, except that the welding or attaching
        of the lugs or support directly to the hot stove shall be
        performed by Boilermakers.
        7. FORCED AND INDUCED DRAFT FANS.
         The erection of forced and induced draft fans in connec-
      tion with the construction of steam generating installa-
      tions, which come in completed units, shall be performed
      by Iron Workers. Attachments to the ducts and breeching
      shall be performed by Boilermakers. On forced and in-
      duced draft fans, which come knocked down, the Iron
      Worker shall erect and install the pedestal and rotor and
      the Boilermakers shall erect and install the fan housing.

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       8. PROCEDURES.
      (a) The General President of each organization will
    designate a representative to be assigned to adjust di-
    rectly all disputes between the two trades which cannot
    be adjusted at the local level.
      (b) Committees designated by the respective General
    Presidents shall meet periodically to review work cov-
    ered by this agreement and to consider new problems
    which arise in order to adjust same.
      (c) Installations in process on the date of this agree-
    ment shall be completed in accordance with the existing
    assignments or ruling of the National Joint Board.
    International Association of Bridge, Structural and Orna-
      mental Iron Workers.
                                       St. Louis, Missouri.
                      (Signed) J. H. LYONS,
                               General President
                      (Signed) J. R. DOWNES,
                               General Secretary
    Approved Nov. 2, 1953,
    General Executive Council.
    International Brotherhood of Boilermakers, Iron Ship-
      builders, Blacksmiths, Forgers and Helpers
                                    Kansas City, Kansas.
                      (Signed) CHAS. J. MACGOWAN,
                               International President
                      (Signed) WM. J. BUCKLEY,
                               International Sec.-Treas.
    Approved Nov. 5, 1953,
    International Executive Council.

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                Straight Telegram
                         St. Louis, Mo., November 2, 1953.
     Charles J. MacGowan, International President
     International Brotherhood of Boiler Makers, Iron Ship
       Builders and Helpers of America
     New Brotherhood Building
     Kansas City, Kansas
       This is to notify you that the Executive Council of the
     International Association of Bridge, Structural and Orna-
     mental Iron Workers at its meeting today unanimously
     ratified and adopted the memorandum of agreement
     dated September 23, 1953, which supplements and inter-
     prets the agreement of October 15, 1928, between our
     two respective organizations as well as decision of
     record of May 19, 1947.
                          JOHN H. LYONS, General President.
     International Brotherhood of Boilermakers, Iron
     Ship Builders, Blacksmiths, Forgers and Helpers
                                            November 10, 1953.
                                                File: 12(i)-1(c)
     Mr. J. H. Lyons, President
     Intl. Bridge & Structural Iron Workers
     Ste. 300, Continental Building
     3615 OliveStreet
     St. Louis, Missouri
     Dear Sir and Brother:
       Under date of November 6, 1953, I wired you as fol-
     lows:
         “This is to officially notify you that our International
       Executive Council after devoting a full day to the dis-
       cussion of the proposed memorandum of agreement

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       dated September 23, 1953, which implements and in-
       terprets the agreement of October 15, 1928, finally ap-
       proved same by a unanimous vote of the Executive
       Council. However, in the discussion it developed that
       one or two minor clarifications may be necessary in
       order to avoid future misunderstandings by our re-
       spective memberships. These clarifications will in no
       sense alter the purpose of the memorandum of Sep-
       tember 23, but will in truth and in fact be clarifications
       only. I shall write you the details of the same next
       week. I am furnishing John Dunlop with a copy of this
       telegram.”
       Now, Brother Lyons, it is needless for me to say that
     the discussions in our International Executive Council
     were long and earnest over the question of approving the
     proposed supplementary agreement. While it was finally
     adopted by a unanimous vote, it was the feeling of the
     International Executive Council that there was one prin-
     ciple involved which should be protected, from our
     standpoint, and there were at least two additional clarifi-
     cations which should be incorporated in order to make
     the understanding as effective as possible.
       The principle to which I refer was the question of our
     craft deviating from our historic position that all vessels
     requiring tight joints must be the work of the Boilermak-
     ers and the allotment of the bells in blast furnaces to any
     other trade was a departure from our traditional policy. I
     assure you it was not the amount of work involved
     which caused us our difficulty, but rather the principle of
     a “tight joint.” However, in our earnest desire to reach a
     peaceful understanding between the two International
     Unions, we accepted the assignment of bells, but with
     the hope that the two Internationals could agree to an in-
     terpretation to be added as a footnote to the first portion

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      of section 5 captioned, “The Erection and Repair of Blast
      Furnaces,” this footnote to read substantially as follows:
          “It is mutually agreed between the two International
        Unions that the awarding of the blast furnace bells to
        the Structural Iron Workers is without prejudice to the
        Boilermakers’ historic claims over all vessels requir-
        ing tight joints.”
         In the second portion of section 5, which is the Boiler-
      makers’ list of work, it occurred to us that the negotia-
      tors unintentionally overlooked the word “mantle” and if
      it is agreeable to all parties, we would request that the
      word “mantle” be inserted in the proper place in the list
      of work awarded to the Boilermakers.
         Returning to section 4, captioned, “Overhead Supporting
      Steel for Steam Generators,” it was the opinion of our Inter-
      national Executive Council that while the intent of the two
      organizations is covered in this section, it was our feeling
      that in order to avoid future disputes, the language needs
      clarifying, particularly where in sub-section (a) (Iron Work-
      ers’ section), the words “for the purpose of supporting the
      steam generating unit” and in subsection (b) (Boilermak-
      ers’ section), the words “...used for the purpose of support-
      ing tubes and other Boilermakers’ work...” might be inter-
      preted in such a manner as to cause confusion because,
      after all, the complete boiler is still a steam generating unit
      from the standpoint of the Boilermaker and tubes are but a
      part of the steam generating unit. It is our suggestion that
      after the words “Boilermakers’ work” in the third line of
      section 4(b), the words “which are a part of the steam gen-
      erating unit” be added so that the whole section will read:
          “The erection of all rods or other steel members, at-
        tached to the members described in paragraph (a),
        and used for the purpose of supporting tubes and

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      other Boilermakers’ work, which are a part of the
      steam generating unit, shall be performed by the Boil-
      ermakers.”
      If it is agreeable with you, I would suggest that Secre-
    tary Downes and Vice President McCollum have a fur-
    ther meeting and see it if is not possible to work out
    these suggestions, which, I repeat again, are not in-
    tended to change the intent of the agreement in any man-
    ner other than to clarify it to avoid confusion.
      With best wishes, I am
                               Fraternally yours,
                               CHARLES J. MACGOWAN,
                               International President.
    CJM:CW
    cc: John Dunlop
    cc: J. R. Downes
    cc: J. P. McCollum
    OEIU No. 4-AFL

      International Association of Bridge, Structural
              and Ornamental Iron Workers
                                      January 9, 1954
    Mr. J. P. McCollum, Vice President
    International Brotherhood of Boilermakers, Iron Ship
      Builders, Blacksmiths, Forgers and Helpers
    New Brotherhood Building
    Kansas City 11, Kansas
    Dear Sir and Brother:
      The correspondence dated November 10, 1953, di-
    rected by Charles J. MacGowan, International President
    of the Brotherhood of Boilermakers, to J. H. Lyons, Gen-
    eral President of this International Association, as well

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     as the correspondence dated November 13, 1953, from
     General President Lyons to International President
     Charles J. MacGowan, has been reviewed by the writer.
       It is the opinion of the officials of this International As-
     sociation that the suggestions outlined by President Mac-
     Gowan warrant consideration and that, for the purpose of
     clarification, further understandings should be developed.
        Inasmuch as the “Memorandum of Agreement” dated
     September 23, 1953—and signed by yourself and the
     writer—has been ratified by the International Executive
     council of the Brotherhood of Boilermakers, and the Gen-
     eral Executive Council of this International Association, it
     is our opinion that no change should be made in this doc-
     ument as such action would require further ratification
     from the Executive Councils of both organizations.
       It is agreeable to the officials of this International Asso-
     ciation that the following clarifications will be stipulated:
       “It is mutually agreed between the two International
     Unions that the awarding of the blast furnace bells to the
     Structural Iron Workers is without prejudice to the Boiler-
     makers’ historic claims over all vessels requiring tight joints.”
        It is also understood that the work item “mantle”
     should be included in the Boilermakers’ division of Sec-
     tion 5 of the “Memorandum of Agreement.”
       It shall be understood that the meaning of Section 4,
     paragraph (b) of the “Memorandum of Agreement”—
     captioned OVERHEAD SUPPORTING STEEL FOR
     STEAM GENERATORS—shall be as follows:—
         “The erection of all rods and other steel members,
       attached to the members described in Paragraph (a)
       and used for the purpose of supporting tubes and
       other Boilermaker’s work, which are a part of the

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      steam generating unit, shall be performed by the Boil-
       ermakers.”
       I believe that confirmation of these clarifications by
     International President Charles J. MacGowan and Gen-
     eral President J. H. Lyons, as well as yourself and the
     writer, would be sufficient and thereby eliminate any
     need to reopen the present “Memorandum of Agree-
     ment” as ratified by both International Unions.
       I am, with best wishes
                            Fraternally yours,
                            J. R. DOWNES
     JRD:HB                 General Secretary.
                            January 18, 1954
     R. J. Gray, President
     Building & Construction Trades Department
     American Federation of Labor
     Washington, D.C.
     Dear Mr. Gray:
        I am advised that you have received the agreement
     signed by President J. H. Lyons and President Charles J.
     MacGowan, dated January 12, 1954 and identical com-
     munication which was sent to the National Joint Board.
       In accordance with Article III, Section 2 of the Agree-
     ment creating the Joint Board, I hereby attest to this
     agreement.
       It is my understanding that the two organizations in-
     tend to print the agreement in convenient form in the
     near future.
             Very truly yours,
                    (Signed) JOHN T. DUNLOP
                             Chairman
     JTD: thw                National Joint board

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                          September 13, 1954
    Wm. J. McSorley, General President
    Wood, Wire and Metal Lathers International Union
    Ambassador Hotel
    Los Angeles, Calif.
    Dear Sir and Brother:
       At your request and in order to avoid any misunder-
    standings with the Wood, Wire and Metal Lathers Inter-
    national Union, the undersigned wish to advise that Sec-
    tion 1, captioned “Wire Mesh” of the Memorandum of
    Agreement dated September 23, 1953, entered into be-
    tween the International Association of Bridge, Structural
    and Ornamental Iron Workers and the International
    Brotherhood of Boilermakers, Iron Ship Builders, Black-
    smiths, Forgers and Helpers is not intended and does
    not apply to the erection of light iron furring or metal
    lath used to receive plaster.
               Fraternally yours,
                  (Signed) WM. A. CALVIN,
                           International President,
                           International Brotherhood of
                           Boilermakers, Iron Ship
                           Builders, Blacksmiths,
                           Forgers and Helpers
                  (Signed) J. H. Lyons,
                           General President,
                           International Association of
                           Bridge, Structural and
                           Ornamental Iron Workers




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                    Workers — Bricklayers
                   Boiler Wall Construction
                                           January 28, 1954
    AGREEMENT BETWEEN THE INTERNATIONAL
     ASSOCIATION OF HEAT AND FROST INSU-
     LATORS AND ASBESTOS WORKERS AND THE
     BRICKLAYERS, MASONS AND PLASTERERS’
     INTERNATIONAL UNION OF AMERICA.
       (1) This agreement covers the installation and applica-
    tion of all insulating materials on boiler wall construc-
    tion.
       (2) In the application of insulating materials over the
    boiler walls after same is completed, when said insula-
    tion is applied in one continuous operation and not in
    conjunction with the refractory material, this is the work
    of members of the International Association of Heat and
    Frost Insulators and Asbestos Workers.
      (3) In cases where the insulation on the outside of the
    boiler walls is applied in conjunction with refractory ma-
    terials as it progresses (scaffold high), said insulation is
    the work of members of the Bricklayers, Masons and
    Plasterers’ International Union of America.
      (4) In the event that a dispute over the application of
    this agreement cannot be settled locally, there shall be no
    stoppage of work, and the dispute shall be referred to the
    headquarters of both International Unions for settlement.
                   International Association of Heat and
                     Frost Insulators and Asbestos Workers:
                   (Signed) JOSEPH A. MULLANEY,
                            HUGH E. MULLIGAN,
                            C. W. SICKLES.

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             Bricklayers, Masons and Plasterers’ Inter-
                     national Union of America:
                   (Signed) HARRY C. BATES,
                            JOHN J. MURPHY,
                            THOMAS F. MURPHY,
                            A. J. CLELAND.
     Attested:
       John T. Dunlop, Chairman,
       National Joint Board for Settlement
         of Jurisdictional Disputes.
     February 2, 1954.




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            DECISIONS OF A. F. OF L.
    DECISION OF AMERICAN FEDERAL OF LABOR
     IN RE ISSUANCE OF CHARTER TO ELEVATOR
     CONSTRUCTORS’ INTERNATIONAL UNION.
                            WASHINGTON, D.C. May 9, 1904.
    MR. HENRY SNOW, Gen. Sec-Treas.
    International Union of Elevator Constructors
    40 Park Avenue, Chicago, Ill.
    Dear Sir and Brother:
      Today, Brothers Feeney and Havenstrite, of your or-
    ganization, called at this office and requested a definite
    statement regarding matters of jurisdiction of your Inter-
    national Union.
      Of course, you are aware that the same subject was
    under discussion at the Denver meeting of the Executive
    Council of the American Federation of Labor held last
    month.
      Desirous of rendering the very best possible service I
    can to your organization, consistent with the rights to
    which all other organizations are entitled I therefore beg
    to say that at the time when your organization applied
    for charter, from the American Federation of Labor, the
    following claims to work were embodied in your appli-
    cation:
      “The assembling of all elevator machinery, to wit: Hy-
    draulic steam, electric, belt and compressed air; also as-
    sembling and building escalators, or traveling stairways;
    the assembling of all cars complete; putting up all
    guides, either of wood or iron; the setting of all tanks,
    whether pressure, open or pit tanks; the setting of all
    pumps (where pumps arrive on job in parts, they are to

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     be assembled by members of this union). All electric
     work connected with car machinery and hoisting, in-
     cluding bells, annunicators and lights; all overhead
     work, either of wood or iron, and supports for the same
     when required; the setting of all templets, all indicators;
     all foundations, either of wood or iron, that would take
     the place of masonry; the assembling of all hydraulic
     parts in connection with elevators; all locking devices in
     connection with elevators; the boring, drilling and sink-
     ing of all plunger elevators; all link belt carriers, and all
     work in general pertaining to the erection and equip-
     ment of an elevator complete.”
        Prior to issuance of the charter to your organization,
     claims to jurisdiction were made by several organiza-
     tions of some classes of work which were not allowed.
     Then an agreement was reached between the represen-
     tatives of the International Union of Elevator Construc-
     tors and the International Brotherhood of Electrical
     Workers, by which your organization yielded to the elec-
     trical workers the following classes of work: “The elec-
     trical work on flashlights, electrical annunciators and
     lamps, and feed wires to the controller.” With that reser-
     vation, and with those claims made by your organization
     to jurisdiction, the charter was issued by the American
     Federation of Labor.
                   Fraternally yours,
                     (Signed) Samuel Gompers,
             President American Federation of Labor




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     DECISION OF THE AMERICAN FEDERATION OF
      LABOR IN RE JURISDICTION OF ENGINEERS.
    (Decision Norfolk, Va., Convention, American Federation of
          Labor, November 11-23, 1907, Resolution No. 124.)
      Resolved, That hoisting and portable local unions of
    the International Union of Steam Engineers have juris-
    diction over the motive power of all derricks, cement-
    mixers, hod-hoists, pumps, and other machines used on
    construction work and be it further
      Resolved, That the Building Trades organizations be
    requested to give all the assistance possible to the Hoist-
    ing and Portable Locals of the I. U. S. E. in maintaining
    the scale of wages now paid on this work.
      This shall not, however, be construed as preventing
    the International Brotherhood of Electrical Workers
    from using a hand or electric winch for the purpose of
    pulling wire or cable through conduits, nor the wiring
    and repairing of all electrical appliances.
    DECISION OF AMERICAN FEDERATION OF
     LABOR ELECTRICAL WORKERS—ENGINEERS.
    (Decision Cincinnati, Ohio, Convention, American Federation
          of Labor, June 1922.)
       That the electrical installation, electrical repairs, over-
    hauling of general electrical apparatus in generating sta-
    tions, substations and the operating of exclusively elec-
    trical-driven machines in the aforementioned plants or
    stations also that the operation of traveling or other elec-
    tric cranes for shop or factory purposes shall be Electri-
    cal Workers work.
      “This decision is not to interfere with the jurisdiction
    of the Steam and Operating Engineers over operating

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     steam-generating plants, electric hoists in building con-
      struction or electric shovels.
         These conclusions are not intended to disturb any
      other conditions obtained that are mutually satisfactory
      at this time, or that have been provided for by past ac-
      tion of the American Federation of Labor which are not
      in conflict with this decision.”
      DECISION OF AMERICAN FEDERATION OF
       LABOR IN RE DISPUTE BETWEEN TEAM-
       STERS AND IRON WORKERS.
         The following is a decision of jurisdiction dispute ex-
      isting between the International Brotherhood of Team-
      sters, Chauffeurs, Stablemen and Helpers of America,
      and the Bridge and Structural Iron Workers’ Interna-
      tional Union, rendered by an Arbitration Committee ap-
      pointed by the Executive Council and adopted by the
      Convention of the American Federation of Labor held in
      Portland, Oreg., October, 1923:
         “It is clearly evident that the Bridge and Structural
      Iron Workers’ International Union has gradually and per-
      sistently encroached upon the jurisdiction of the Inter-
      national Brotherhood of Teamsters, Chauffeurs, Stable-
      men and Helpers of America. It has constantly endeav-
      ored to broaden the jurisdiction by claiming, and in
      some instances practicing the rights to load and unload
      materials off and on wagons, trucks, and automobiles. In
      the opinion of the Committee, this work clearly belongs
      to the International Brotherhood of Teamsters, Chauf-
      feurs, Stablemen and Helpers of America. This work was
      conceded to this organization through its charter of affil-
      iation with the A. F. of L. All loading, hauling and unload-
      ing of materials on and off wagons, trucks and automo-
      biles belong to the International Brotherhood of Team-

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     sters, Chauffeurs, Stablemen and Helpers of America.
     However, where building material is hauled to buildings
     under construction and the foreman, contractor, or per-
     son in charge of the erection of the building, directs that
     it be hoisted from the wagon, truck or automobile, such
     hoisting shall be done by the members of the Bridge and
     Structural Iron Workers’ International organization.
     Where it is loaded from the wagon, truck or automobile
     on the ground, street or sidewalk, such work shall be
     done by the members of the Brotherhood of Teamsters,
     Chauffeurs, Stablemen and Helpers of America.”
     DECISION OF AMERICAN FEDERATION OF
      LABOR IN RE ERECTION OF ECONOMIZERS.
     (Decision El Paso, Tex., Convention, American Federation of
           Labor, November 17-25, 1924.)
        In the controversy existing between the Brotherhood
     of Boiler Makers and the United Association of
     Plumbers and Steam Fitters over the erection of econo-
     mizers, the decision is that in the opinion of the Execu-
     tive Council the work belongs to the United Association
     of Plumbers and Steam Fitters.
      United Association of Journeymen Plumbers and
                       Steamfitters
        By the decision of the American Federation of Labor,
     rendered at both the Atlanta and Rochester conventions,
     the substance of this action of these conventions of the
     American Federation of Labor was that there was only
     room for one organization in the pipefitting industry.
     And, that the United Association of Journeymen
     Plumbers and Steamfitters is recognized as the only or-
     ganization having complete control of the pipefitting
     trade and industry in its entirety throughout the United
     States and Canada.

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       Following are the official decisions of the American
     Federation of Labor:
                        Atlanta Decision
       The Atlanta Convention of the American Federation
     of Labor, held in Atlanta, Ga., November 13 to 25, inclu-
     sive, 1911, declared “that both for harmony and practi-
     cability the pipefitting trade should be represented in
     the American Federation of Labor, also in the Building
     Trades Department, by one general association of the
     pipefitting industry, namely the United Association of
     Plumbers, Gas Fitters, Steamfitters and Steamfitters’
     Helpers of the United States and Canada, and further,
     that the Executive Council of the Building Trades De-
     partment be requested to carry that declaration into ef-
     fect.” (See page 339 of the 1912 Rochester Convention
     proceedings.)
                       Rochester Decision
       The Adjustment Committee’s report to the delegates
     assembled at the Rochester Convention of the American
     Federation of Labor, held at Rochester, N.Y., November
     11 to 23, inclusive, 1912, is as follows:
        Your committee reports that it has considered care-
     fully the efforts made by the Executive Council of the
     American Federation of Labor to carry out and make ef-
     fective the instructions of the Atlanta Convention, which
     declared that both for harmony and practicability the
     pipefitting trade should be represented in the American
     Federation of Labor, also in the Building Trades Depart-
     ment, by one general association of the pipefitting indus-
     try, namely, the United Association of Plumbers, Gas Fit-
     ters, Steamfitters and Steamfitters’ Helpers of the United
     States and Canada.

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     DECISIONS RENDERED BY THE NATIONAL
      BOARD FOR JURISDICTIONAL AWARDS IN
      THE BUILDING INDUSTRY.

    Air Coolers, Air Washers and Blowers, Consisting
            of the Assembling of Sheet Metal
                     and Pipe Fitting
               DECISION RENDERED MARCH 11, 1920
    (Subject of dispute between the Amalgamated Sheet Metal
          Workers’ International Alliance and the United Associa-
          tion of Plumbers and Steamfitters.)
      The following agreement, between the Amalgamated
    Sheet Metal Workers’ International Alliance and the
    United Association of Plumbers and Steamfitters was
    confirmed:
                                      September 9, 1918.
      The undersigned committee, appointed by the General
    Presidents of their respective International Organiza-
    tions namely, the United Association of Plumbers,
    Steamfitters and Steamfitters’ Helpers and the Amalga-
    mated Sheet Metal Workers’ International Alliance, held
    joint conferences in the City of New York, beginning
    September 5, 1918 in an endeavor to arrive at an agree-
    ment concerning air washers, fans, blowers, the housing
    of same, and the pipe fitting on same.
      After lengthy meetings participated in by all of the un-
    dersigned, representing the Joint Conference Committee
    of both International Unions, the following has been
    agreed to:
       SECTION 1. That all sheet metal work of No. 10 gauge or
    lighter, when used in air washers, fans, blowers, or on

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     the housing of same, shall be recognized as being the
     work of the members of the Amalgamated Sheet Metal
     Workers’ International Alliance.
       Sec. 2. That all pipe fitting in connection with the
     above first section shall be recognized as being the work
     of the Steamfitters, members of the United Association
     of Journeymen Plumbers, Steamfitters and Steamfitters’
     Helpers.
        Sec. 3. It being thoroughly understood by all of the un-
     dersigned that all the assembling and erecting of the
     work as defined in Section One, shall be the work of the
     members of the Sheet Metal Workers’ International Al-
     liance, excepting pipe fitting of all kinds, which shall be
     the work of the Steamfitters and Steamfitters’ Helpers of
     the United Association.
       Sec. 4. This agreement shall become effective and in
     full operation for all parties concerned beginning No-
     vember 1, 1918.
       Signed for Sheet Metal Workers this 9th day of Sep-
     tember, 1918:
                                      JAMES LENNON, Gen. Org.
                                      R. PATTISON, Chairman,
                                      W. M. O’BRIAN, Secretary,
                                      WM. H. LYONS
                                      THOS. WALSH,
                                      EDW. P. O’NEIL.
     Signed for United Association:
                                      E. W. LEONARD, Gen. Org.
                                      CHARLES M. RAU,
                                      RICHARD P. WALSH,
                                      A. P. JOHNSON,
                                      LEO A. MURPHY.

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               Low Pressure Heat
    (Subject of dispute between the United Association of
         Plumbers and Steamfitters and the International Union
         of Steam Engineers in the Matter of maintaining tempo-
         rary heat while structure is in course of construction.)
               DECISION RENDERED MARCH 11, 1920
      In the matter of the controversy between the engineer
    and steamfitter on the question of low pressure heat dur-
    ing completion of the heating system jurisdiction shall
    rest with the steamfitters until the initial test is com-
    pleted, immediately after which time, whenever neces-
    sary to maintain heat, a stationary engineer shall be em-
    ployed either by the contractor or the owner.
               Low Pressure Heat (Rehearing)
    (Subject of dispute between the International Union of Steam
          Engineers and United Association of Journeymen
          Plumbers and Steamfitters.)
                DECISION RENDERED AUGUST 2, 1923
      In the matter of the controversy between the engi-
    neers and steamfitters on the question of low pressure
    heat during completion of the heating system while the
    building is under construction, jurisdiction shall rest
    with the steamfitters until the general test has been
    made and the work accepted by the owner or his agent.
    Pipe Railing or Guards for Enclosures, Stairways,
                      Hatches, etc.
    (Subject of dispute between the Bridge and Structural Iron
          Workers’ International Association and the United Asso-
          ciation of Plumbers and Steamfitters. Claimed by the
          Iron Workers entirely except when not used as a conduit
          for fluids or vapors claimed by Plumbers and Steamfit-
          ters when of standard-sized cut and threaded pipe.)

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           DECISION RENDERED MARCH 11, 1920
      Pipe railing consisting of standard-size cut and
    threaded pipe, not used in connection with structural or
    ornamental iron work, is awarded to Plumbers and
    Steamfitters.
          INTERPRETATION RENDERED SEPTEMBER 15, 1920
       “Iron pipe railing consisting of a preponderance of
    slip-joints made rigid with or without set-screws, pinions
    or rivets, supported by a threaded joint and flange at
    base or walls, is the work of the Iron Workers. Where,
    however, the preponderance of joints is of standard-
    sized cut and threaded iron pipe, it belongs to the
    Plumbers and Steamfitters.”
         Re-enforced Concrete, Cement and Floor
                      Construction
    (Subject of dispute between the Bridge and Structural Iron
          Workers’ International Association and the Wood, Wire
          and Metal Lathers’ International Union.)

               DECISION RENDERED MARCH 11, 1920
       In the matter of the controversy between the Iron
    Workers and Lathers over re-enforced concrete con-
    struction, it is decided that all iron and steel used for re-
    enforcement in re-enforced concrete, cement and floor
    construction be awarded to the Iron Workers.
      In such cities and localities as are covered by exist-
    ing agreements with employers awarding Lathers con-
    trol over re-enforced concrete construction, these
    agreements are to be maintained inviolate until the
    date of their expiration, after which this decision shall
    prevail.

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         INTERPRETATION RENDERED DECEMBER 4, 1920
       In the interpretation of this Board’s decision of March
    11, 1920, in the matter of the controversy between the
    Iron Workers and Lathers over re-enforced concrete con-
    struction, it is not be understood as abrogating, setting
    aside or in any way altering the decision of the Rochester
    Convention of the Building Trades Department, Novem-
    ber 29, 1912, awarding jurisdiction over Hy-rib Lath to the
    Lathers, and it is to be understood that the placing of Hy-
    rib Lath or any ribbed metal lath, however it may be used,
    comes within the jurisdiction of the Lathers.
             Vitrolite and Similar Opaque Glass
    (Subject of dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and the Brotherhood of
          Painters, Decorators and Paperhangers.)

               DECISION RENDERED MARCH 11, 1920
      That in the matter of the controversy between the
    Painters and Bricklayers on the subject herewith re-
    ferred to, jurisdiction over the setting of vitrolite and
    similar opaque glass is awarded to the Bricklayers.
      Vitrolite and Similar Opaque Glass (Rehearing)
    (Subject of dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and the Brotherhood of
          Painters, Decorators and Paperhangers.)

                 DECISION RENDERED MAY 26, 1924
       It is the opinion of the Board that the foregoing deci-
    sion of March 11, 1920, is intended to convey to the
    Bricklayers all counters and lavatories constructed of
    vitrolite or carrara glass and such glass when used in
    mural decorations on buildings in place of marble or

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     other stone or used in conjunction with marble or other
     stone as panels on counters.
       It is the further opinion of the Board that the foregoing
     decision is intended to convey all vitrolite, opalite, white
     opal and other opaque glass installed on false work, fur-
     ring strips, walls, ceilings, partitions or columns, se-
     cured with screw rosettes, molding, putty, expansion,
     toggle bolts or screws, to the Painters.
        The agreement of December 5, 1910, which was con-
     curred in by the Board of Awards on July 12, 1922, re-
     mains in effect, and any disputes that may arise in connec-
     tion with the subject of the agreement with the Board’s
     decisions shall be adjusted in accordance with the provi-
     sions contained in Sections 3 and 4 of the agreement.
            Asbestos Plaster for Boiler Rooms, etc.
     (Subject of dispute between the Operative Plasterers and Ce-
           ment Finishers’ International Association and the Inter-
           national Association of Heat and Frost Insulators and
           Asbestos Workers.)

                 DECISION RENDERED APRIL 28, 1920
        In the dispute between the Asbestos Workers and
     Plasterers on the matter of plastering boiler rooms, etc.,
     it is decided that the insulation and finishing coat on ceil-
     ings with asbestos and other insulating material, where
     the groundwork has been prepared and installed by the
     Asbestos Workers, shall, including the application of in-
     sulating material on boilers, tanks, vats, etc., be awarded
     to the Asbestos Worker.
      Light Iron Furring, Brackets, Clips, Hangers, Cor-
             ner Guards, Beads and Metallic Lath
     (Subject of dispute between the International Union of Wood,

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        Wire and Metal Lathers and the International Association
          of Bridge and Structural Iron Workers.)
     (Award of the Denver Convention, Building Trades Department,
          A. F. of L. adopted November, 1908. See printed proceed-
          ings, Pages 69 to 71, inclusive.)

                  DECISION RENDERED APRIL 28, 1920
        In the matter of dispute between the International
     Union of Wood, Wire and Metal Lathers and the Interna-
     tional Association of Bridge and Structural Iron Workers
     referred to in the foregoing title, the following award is
     concurred in:
        “After going into an extended hearing of the jurisdic-
     tion claims of both organizations, your committee rec-
     ommends that the erection and installation of all light
     iron work, such as light iron furring, brackets, clips,
     hangers, steel corner guards or beads.* and metallic lath-
     ing of all descriptions belong solely to the Lathers.
        “This does not give the right, however, to the Lathers
     to install or erect any other iron work that as herein
     specified and outlined.
        “This decision is based on conformity with the agree-
     ment entered into by the national officers of both organ-
     izations and endorsed by the Kansas City Convention of
     Structural Iron Workers and concurred in by the Ameri-
     can Federation of Labor.”
                            Hy-Rib Lath
        In supplement of the foregoing decision the Rochester
     Convention of the Building Trades Department, Novem-
     ber 29, 1912, awarded jurisdiction over Hy-rib Lath to the
     Lathers.
     (Note interpretation rendered December 4, 1920, re-enforced
           Concrete, Cement and Floor Construction.)
       *Note the following decision.

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        Metallic Corner Beads When Set in Plastic
                             Material
    (Subject of dispute between the Operative Plasterers and Ce-
          ment Finishers’ International Association and the Wood,
          Wire and Metal Lathers’ International Union.)

               DECISION RENDERED MARCH 11, 1920
      In the matter of the controversy between the Plaster-
    ers and Lathers on the question of the adherence of cor-
    ner beads by plastic material, it is the opinion of the
    Board that deserved consideration was not given the
    subject when the previous decision was reached. It is
    therefore agreed that the Plasterers are awarded juris-
    diction over sticking with plastic material metallic cor-
    ner beads.
               Acetylene and Electric Welding
    (Subject of dispute between the trades named in the following
          memorandum.)

                DECISION RENDERED APRIL 28, 1920
      In the matter of the dispute referred to in the forego-
    ing title, as approved by the Philadelphia Convention of
    the Building Trades Department, A. F. of L. November,
    1914 (see printed proceedings, Page 99), the following
    agreement is concurred in:
      “Representatives of the Electrical Workers, Sheet
    Metal Workers, Iron Workers, Plumbers and Steamfitter,
    and Machinists mutually agreed to the following deci-
    sion:
      “Each trade to have jurisdiction over all acetylene and
    electric welding when such process is used to perform
    the work of their respective trades.”

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       Bronzing and Painting of Radiators and Pipe
                           Connections
    (Subject of dispute between the Brotherhood of Painters, Deco-
          rators and Paperhangers and the United Association of
          Plumbers and Steamfitters.)
    (Award of Rochester Convention, Building Trades Depart-
          ment, A. F. of L. adopted November 29, 1912. See page
          141, printed proceedings.)

                DECISION RENDERED APRIL 28, 1920
      In the matter of the subject referred to in the forego-
    ing title, the following award is concurred in:
      Resolved, that the United Association of Plumbers and
    Steamfitters be and is instructed to require that its affili-
    ated unions desist from further trespass upon the juris-
    diction of the Brotherhood of Painters, Decorators and
    Paperhangers of America, and when and where neces-
    sary to notify their employers that neither journeymen
    nor helpers will be permitted to do this work.
     Application of Damp-Resisting Preparations and
                     Waterproofing
    (Subject of dispute between United Slate, Tile and Composition
          Roofers, Damp and Waterproof Workers’ Association
          and the Brotherhood of Painters, Decorators and Paper-
          hangers.)

                DECISION RENDERED APRIL 28, 1920
       In the matter of dispute referred to in the foregoing
    title, the following agreement is concurred in:
      Agreement entered into by and between the Brother-
    hood of Painters, Decorators and Paperhangers of Amer-
    ica and the United Slate Tile and Composition Roofers,
    Damp and Waterproof Workers’ Association.

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       First. That the Painters do not claim the right to apply
      any of the material claimed by the Slate, Tile and Com-
      position Roofers, Damp and Waterproof Workers, except
      such material as is applied by a brush that is ordinarily
      used by the Painters in applying the materials covered in
      their jurisdiction.
        Second. That the Slate, Tile and Composition Roofers,
      Damp and Waterproof Workers do not claim the right to
      apply any of the material in dispute except when applied
      by or with a three-knot, long-handled brush, mop, or
      swab, and spray system employed therein.
          Erection of Scaffolds as Applied to Building
                         Construction
      (Subject of dispute between the International Hod Carriers’,
            Building and Common Laborers’ Union, United Brother-
            hood of Carpenters and Joiners, Operative Plasterers and
            Cement Finishers’ International Association and Brick-
            layers, Masons and Plasterers’ International Union.)

                  DECISION RENDERED APRIL 28, 1920
        In the matter of the dispute between the Laborers,
      Bricklayers, Plasterers and Carpenters over the erection
      of scaffolds as applied to building construction, it is
      agreed that the erection and removal of all scaffolds, in-
      cluding trestles and horses used primarily by Lathers,
      Plasterers, Bricklayers and Masons, shall be done by the
      mechanics and laborers in these trades as directed by
      the employer.
        Self-supporting scaffolds over fourteen feet in height
      or any special designed scaffolds or those built for spe-
      cial purposes shall be built by the Carpenters.
        The making of horses and trestles other than tempo-
      rary is the work of the Carpenter.

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       Marble and Slate Partitions, Backs and Floor
             Slabs for Urinal Stalls, Closets and
                     Showers, Setting of
    (Subject of dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and the United Association of
          Plumbers and Steamfitters.)
    (Award of Rochester Convention, Building Trades Department,
          A. F. of L. adopted November 28, 1912. See page 132,
          printed proceedings. Award of Buffalo Convention, No-
          vember 9, 1917. See page 92, printed proceedings.)

                DECISION RENDERED APRIL 28, 1920
      In the matter of the subject referred to in the forego-
    ing title, the following award is concurred in:
       Resolved, That the setting of floor slabs, backs, parti-
    tions of urinal stalls, closets and shower baths properly
    belong to the Bricklayers.
       The foregoing decision does not concede to the Brick-
    layers the right to install marble work that is connected
    with the water supply or sewer or water-tight work regu-
    larly catalogued as plumbing fixtures.
        Muslin and Canvas for Decorative Purposes,
                       Tacking of
    (Subject of dispute between the Brotherhood of Painters, Deco-
          rators and Paperhangers and the I. A. Heat and Frost In-
          sulators and Asbestos Workers.)
    (Award of Buffalo Convention, Building Trades Department, A.
          F. of L. adopted November 10, 1917. See page 108,
          printed proceedings.)

                DECISION RENDERED APRIL 28, 1920
      In the matter of the subject referred to in the forego-
    ing title, the following award is concurred in:

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       Resolved, That this convention notify and instruct the
      officers of the Asbestos Workers’ International Union
      that the tacking of all muslin and canvas for decorative
      purposes is the jurisdiction of the Painters and that they
      instruct their members to refrain from doing any of this
      work.
      Pile Driving Machinery and Engines, Operation of
      (Award of Buffalo Convention, Building Trades Department, A.
           F. of L. adopted November, 1917. See pages 59 and 105,
           printed proceedings.)

                  DECISION RENDERED APRIL 28, 1920
        In the matter of the subject referred to in the forego-
      ing title, the following award is concurred in:
        Such workmen as are employed in the operation of en-
      gines or machinery in connection with a pile driver come
      under the jurisdiction of the Engineers.
         Sheet Metal Glazing for Sash, Frames, Doors,
                        Skylights, etc.
      (Subject of dispute between the Brotherhood of Painters, Deco-
            rators and Paperhangers and Sheet Metal Workers’ Inter-
            national Association.)

                  DECISION RENDERED APRIL 28, 1920
        In the matter of the dispute referred to in the forego-
      ing title, the following agreement is concurred in:
        Agreement entered into by and between the General
      Executive Board of the Brotherhood of Painters, Deco-
      rators and Paperhangers of America, and the Sheet
      Metal Workers’ International Association shall take ef-
      fect December 1, 1910, and remain in force until
      amended, revised or changed at a meeting between the

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     representatives of both organizations called for this pur-
     pose.
       SECTION 1. It is agreed by both parties to this agree-
     ment that all glass set in sheet metal sash, frames, doors
     or skylights, shall be set by Painters, according to their
     claim of jurisdiction granted by the convention of the
     Building Trades Department, A. F. of L. at St. Louis, De-
     cember, 1910; and that all sheet metal work on sheet
     metal sash, frames, doors or skylights shall be done by
     Sheet Metal Workers.
       SEC. 2. In localities where differences now exist or may
     arise in the future, such differences shall be adjusted by a
     committee appointed by and representing the district
     councils or local unions of both organizations in that lo-
     cality. Should this committee be unable to agree, a repre-
     sentative of the General Executive Board of each organi-
     zation shall be called in to assist in the adjustment.
       SEC. 3. It is also agreed that the national officers of both
     organizations where local unions fail to agree shall insist
     that this agreement be carried out by affiliated unions.
          Slate Treads When Set on Iron Stair Case
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union and the International Associ-
           ation of Bridge and Structural Iron Workers.)
       In the matter of the subject referred to in the forego-
     ing title, the following award is concurred in:
                 DECISION RENDERED APRIL 28, 1920
       Slate treads on iron stairs having provoked a dispute
     in jurisdiction between the organizations above named,
     was submitted to the Executive Council, November 20,
     1909. The action taken follows:

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       The Executive Council of the Building Trades Depart-
     ment, on being called upon for a decision, awarded the
     work in question (slate treads) to the Bricklayers.
       Unskilled Labor, with Special Reference to the
       Loading and Unloading of Material as Applied
          to Re-enforced Concrete Construction
     (Subject of dispute between the International Hod Carriers,
           Building and Common Laborers’ Union and International
           Association of Bridge and Structural Iron Workers.)

                 DECISION RENDERED AUGUST 2, 1920
                   AMENDED DECEMBER 11, 1924
        It is the decision of the Board that the loading and un-
     loading, carrying and handling of all rods and materials
     for use in re-enforcing concrete construction shall be
     done by laborers under the supervision of such persons
     as the employer may designate. The hoisting of rods
     shall be done by laborers, except when a derrick or out-
     rigger operated by other than hand-power is used. This
     decision applies only to the character of work stipulated
     herein. In such localities where existing agreements pro-
     vide otherwise, this decision is to become effective at
     the expiration thereof.
      Defects in Concrete Caused by Leakage, Bulging,
     Sagging, etc., Through Defective or Shifting Forms
     (Subject of dispute between the Operative Plasterers and Ce-
           ment Finishers’ International Association and the Inter-
           national Hod Carriers, Building and Common Laborers’
           Union.)

                 DECISION RENDERED AUGUST 2, 1920
      When finishing tools are not used or required, the
     work shall be done by the laborer.

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      The filling of voids and other work requiring patching,
     where finishing tools are used and required, shall be
     done by the cement finisher.
         Setting and Alignment of Tile and Porcelain
                   Bathroom Accessories
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union and the United Association of
           Plumbers and Steamfitters.)

               DECISION RENDERED DECEMBER 4, 1920
       In the matter of controversy between the Tile Layers
     and Plumbers over setting and Alignment of Tile and
     Porcelain Bathroom Accessories, it is decided that all
     bath and toilet room accessories made of clay products,
     built-in tile-faced walls, shall be the work of the tile set-
     ter.
               Anchors for Bathroom Accessories
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union and the United Association of
           Plumbers and Steamfitters.)

               DECISION RENDERED NOVEMBER 14, 1923
       All bathroom accessories, except those covered by
     decision rendered December 4, 1920, placed after fin-
     ished tile wall surfaces are completed, shall be set by
     Plumbers and Steamfitters. When anchors for bath-
     room accessories are built into finished tile wall con-
     struction, the setting of same shall be done by Brick-
     layers and Masons and when any such anchors are
     placed after finished tile wall surfaces are com-
     pleted, the work shall be done by Plumbers and
     Steamfitters.

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      Jurisdiction Over Foremen on Interior Concrete
             Columns, Foundations for Engine and
                       Machinery Beds
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union, International Hod Carriers,
           Building and Common Laborers’ Union and the Opera-
           tive Plasterers and Cement Finishers’ International Asso-
           ciation.)

               DECISION RENDERED DECEMBER 4, 1920
        In the matter of the jurisdiction over Foremen on Inte-
     rior Concrete Columns, Foundations for Engine and Ma-
     chinery Beds as contested by the Bricklayers, Hod Car-
     rier and Plasterers, it is the decision of the Board that
     the work shall be done by the Laborers under the super-
     vision of such skilled workmen as the employer may
     designate.
          Electrical Work on Elevators (Rehearing)
     (Subject of dispute between the International Brotherhood of
           Electrical Workers and the International Union of Eleva-
           tor Constructors.)

               DECISION RENDERED DECEMBER 4, 1920
              REVISED AND AMENDED FEBRUARY 2, 1927
        In the matter of dispute between the Elevator con-
     structors and the Electrical Workers on the question of
     all electrical work on elevators, it is agreed that the elec-
     trical work involved in the installation of signal systems,
     fans, telephones, electric light fixtures, illuminate
     thresholds and feed wires to the controller on all eleva-
     tors is the work of the Electrical Workers; also the elec-
     trical work in connection with interlocking devices on
     other than automatic elevators is awarded to the Electri-
     cal Workers.

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      The term “automatic elevator,” as used in this award,
     includes the full automatic, double push-button single
     control and department store control elevators.
       Bishopric Board, When Applied as a Substitute
                  for Lath and Sheathing
     (Subject of dispute between the United Brotherhood of Carpen-
           ters and Joiners and the International Union of Wood,
           Wire and Metal Lathers.)

               DECISION RENDERED DECEMBER 4, 1920
        In the matter of the dispute over the installation of
     Bishopric Board when applied as a substitute for lath, it
     is the decision of the Board that the work shall be done
     by the Lathers; where the same is used for sheathing it
     shall be the work of the Carpenters.
                Flaxlinum Keyboard Insulation
     (Subject of dispute between the United Brotherhood of Carpen-
           ters and Joiners and the International Union of Wood,
           Wire and Metal Lathers.)

               DECISION RENDERED DECEMBER 4, 1920
        In the matter of the dispute over the installation of
     Flaxlinum Keyboard and Insulation, it is the decision of
     the Board that when the same is used as a substitute for
     lath or when any plastic material is to be applied, the
     work shall be done by the Lathers; when Flaxlinum is
     used as insulation or sheathing it shall be the work of the
     Carpenters.
                 Installation of Metal Windows
     (Subject of dispute between the Sheet Metal Workers’ Interna-
           tional Association and the International Association of
           Bridge and Structural Iron Workers.)

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            DECISION RENDERED MAY 5, 1926
       The installation of metal windows having cast-iron
    sills and cast-iron blocks or in which three or more of
    the structural parts—that is, the sills, head, jambs and
    mullions—are heavier than ten-gauge, shall be the work
    of the Iron Workers; otherwise it shall be the work of the
    Sheet Metal Workers.
        Hoisting, Lowering and Placing of Elevator
                        Machinery
    (Subject of dispute between the Elevator Constructors’ Interna-
          tional Union and the International Association of Bridge
          and Structural Iron Workers.)

               DECISION RENDERED FEBRUARY 7, 1922
      In the matter of the dispute between the Elevator Con-
    structors and Bridge and Structural Iron Workers re-
    ferred to in the foregoing title, it is decided that the Ele-
    vator Constructors be awarded the hoisting, lowering
    and placing of elevator machinery.
              Glazing as Hereinafter Described
    (Agreement for avoidance of dispute between Brotherhood of
          Painters, Decorators and Paperhangers and Bricklayers,
          Masons and Plasterers’ International Union as endorsed
          by Building Trades Department, A. F. of L.)

                 DECISION RENDERED JULY 12, 1922
      In the matter of the subject referred to in the forego-
    ing title, it is the decision of the Board that the following
    agreement be concurred in:
      Agreement entered into by and between the General
    Executive Board of the Brotherhood of Painters, Deco-
    rators and Paperhangers of America, and the General

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     Executive Board of Bricklayers, Masons and Plasterers’
     International Union shall take effect December 5, 1910
     and remain in force until amended, revised or changed
     at a meeting between the representatives of both organi-
     zations called for this purpose.
       SECTIOn 1. It is agreed by both parties to this agree-
     ment that all plate and window glass, mirrors, beveled
     plate, rough, ribbed, wire, figured, colored, or art glass
     set in sash, frames, doors or skylights constructed of
     wood, sheet metal, iron, stone or other material and set
     with putty or moulding, shall be set by Painters, and
     that where glass is used as a substitute for ceramic, mo-
     saic, or encaustic tile, and set on floors, walls and ceil-
     ings in mortar, cement or other plastic material used to
     secure such tile in position, shall be set by Bricklayers
     when cut to size and shape for setting. It is further
     agreed by the Bricklayers that all glass delivered on jobs
     in stock sheets shall be cut to the required size by the
     painters.
        SEC. 2. It is agreed by both parties to this agreement
     that all plate and window glass, mirrors, beveled plate,
     rough, ribbed, wire, figured, colored, or art glass set in
     sash, frames, doors or skylights constructed of wood,
     sheet metal, iron, stone or other material and set with
     putty or moulding, shall be set by the Painters, and that
     where glass is used as a substitute for marble in interior
     finish or decoration, and is carved, cut, polished or
     rubbed, shall be set by the Bricklayers.
       S EC . 3. Should any differences arise regarding the
     work as covered by this agreement, a committee ap-
     pointed by and representing the district council or local
     union of each organization in that locality, shall meet
     and adjust such differences. Should the committees of
     the local unions fail to agree, an executive officer of

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     each international union shall be requested to attend and
      assist in the adjustment.
        SEC. 4. It is further agreed that the national officers of
      both organizations shall insist that all agreements en-
      tered into shall be carried out by affiliated unions.
         Operation of Elevators for Hoisting Materials
      (Decision of St. Louis Convention, Building Trades Department,
            A. F. of L. adopted December, 1910. See printed proceed-
            ings, Page 128.)

                   DECISION RENDERED JULY 12, 1922
        In the matter of the subject referred to in the forego-
      ing title, the following decision is concurred in:
        The operation of elevators of all kinds when used for
      hoisting any material used in the construction of build-
      ings is hereby conceded to the Hoisting Engineers affili-
      ated with the International Union of Steam Engineers.
                        Corrugated Sheeting
      (Subject of dispute between International Association of Bridge
            and Structural Iron Workers and Sheet Metal Workers’
            International Association.)

                   DECISION RENDERED MAY 26, 1923
         The erection of corrugated metal sheeting on steel
      frames construction when the sheets are simply end and
      side lapped is the work of the Iron Workers; the erection
      of all other corrugated metal sheeting of No. 10 gauge or
      lighter is the work of the Sheet Metal Workers.
      Derricks, Erection and Handling for Setting Stone
      (Subject of dispute between the Bricklayers, Masons and Plas-
            terers’ International Union and International Association
            of Bridge and Structural Iron Workers.)

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            DECISION RENDERED MAY 26, 1923
      The stonesetter shall have sole jurisdiction over hand
    derricks in connection with the setting of stone.
       The erection and operation of power derricks for set-
    ting stone shall be done by the Iron Workers, under the
    direct supervision of the stone setter, who shall deter-
    mine the number of men to be employed.
     Artificial Stone—Granite (Dressing, Altering and
                       Finishing)
    (Subject of dispute between Granite Cutters’ International As-
          sociation and Journeymen Stone Cutters Association.)

                 DECISION RENDERED MAY 26, 1923
       In the matter of dispute between the Granite Cutters’
    International Association and the Journeymen Stone
    Cutters’ Association relative to artificial stone, the dress-
    ing, altering and finishing of artificial stone, cast in imita-
    tion of natural stone, is the work of Stone Cutters, ex-
    cept that when any such artificial stone, by reason of
    hardness of texture requires the use of granite cutters’
    tools for the proper dressing, altering or finishing, it is
    the work of the Granite Cutters.
                           Flat-face Tile
    (Subject of dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and Union Slate, Tile and
          Composition Roofer, Damp and Waterproof Workers’ As-
          sociation.)

                 DECISION RENDERED MAY 26, 1923
       In the matter of dispute referred to in the foregoing
    title, the following agreement is concurred in:

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     Bricklayers, Masons and Plasterers’ International Union
                                  vs.
      United Slate, Tile and Composition Roofers, Damp and
                 Waterproof Workers Association
       Agreement entered into this 21st day of February,
     1911, amended May 26, 1923, by and between duly ac-
     credited representatives of the organizations above
     named, to wit:
       Jurisdiction is hereby conceded by the Bricklayers
     over the laying or setting of flat-faced tile of every de-
     scription when laid in mortar on all flat roofs or prome-
     nade roofs.
        Jurisdiction is hereby conceded the Slate, Tile and
     Composition Roofers, Damp and Waterproof Workers
     over flat-faced tile of every description, and corrugated
     tile, when laid in any preparation of asphalt on roofs, flat
     or otherwise.
          Foremanship Over Concrete Construction
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union, International Hod Carriers’
           Building and Common Laborers’ Union and Operative
           Plasterers and Cement Finishers’ International Associa-
           tion.)

                  DECISION RENDERED MAY 26, 1923
                    AMENDED FEBRUARY 21, 1924
                    REVISED DECEMBER 11, 1924
        In the matter of dispute over concrete construction, it
     is decided the work shall be done by laborers under the
     supervision of such skilled mechanic as the employer
     may designate.

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            Conduo Base, Installation of
    (Subject to dispute between International Brotherhood of Elec-
          trical Workers and Sheet Metal Workers’ International
          Association.)

                 DECISION RENDERED AUGUST 2, 1923
       In the matter of the controversy between the Electri-
    cal Workers and the Sheet Metal Workers as to the instal-
    lation of conduo base, it is decided that the installation
    of conduo base is the work of the Sheet Metal Workers.
      Setting of Alberene Stone Slabs, Used as Drain
        Boards or Backs in Connection with Sinks
    (Subject to dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and the United Association of
          Plumbers and Steamfitters.)

              DECISION RENDERED NOVEMBER 14, 1923
      In the matter of the controversy between the Bricklay-
    ers and Masons and the Plumbers and Steam Fitters over
    the Setting of Alberene Stone Slabs used as Drain
    Boards or Backs in Connection with sinks, it was de-
    cided that the setting of Alberene stone slabs used as
    drain boards or backs in connection with sinks is the
    work of Plumbers and Steamfitters.
         Gunnite Work of Handling of Cement Gun
    (Subject to dispute between the International Hod Carriers, Build-
          ing and Common Laborers’ Union, Operative Plasterers
          and Cement Finishers’ International Association and
          Bricklayers, Masons and Plasterers’ International Union.)

               DECISION RENDERED FEBRUARY 21, 1924
      In the matter of the dispute referred to in the forego-
    ing title, the following decision was reached:

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       When work to be performed is to be of the thickness
     of one and one-half inches or greater, the handling of the
     cement gun shall be done by the Laborers. When the
     work is less than one and one-half inches in thickness,
     the handling and control of the nozzle shall be the work
     of the Plasterers and Cement Finishers.
       It is understood that this decision does not allow the
     Laborers the right to finish where any finishing tools are
     required.
       The application of a coat of cement mixture by means
     of the cement gun on steel, as a protection against corro-
     sion is not included in this decision.
        Plastering Work for Preparation of Walls and
                     Ceilings for Tiling
     (Subject to dispute between the Bricklayers, Masons and Plas-
           terers’ International Union and the Operative Plasterers
           and Cement Finishers’ International Association.)

               DECISION RENDERED FEBRUARY 21, 1924
       After reviewing the controversy in its various phases,
     the determination is reached that the agreement previ-
     ously existing between the two organizations affords the
     most practical plan of adjustment, and the following
     award is therefore made as the decision of the Board:
       Plasterers shall prepare or plaster all walls and ceil-
     ings which are to receive tile, except the final setting
     bed, which shall be applied by the Tile Layers; the bath-
     rooms, vestibule and small halls in single private resi-
     dences shall be plastered by the Tile Setters.
          Concrete Slab Re-enforced (Pre-Cast) for
                        Roof Tiling
     (Subject of dispute between the Bricklayers, Masons and Plas-

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        terers’ International Union and the United Slate, Tile and
           Composition Roofers, Damp and Waterproof Workers’
           Association.)
               DECISION RENDERED DECEMBER 11, 1924
       Jurisdiction is awarded Slate, Tile and Composition
     Roofers, over pre-cast re-enforced concrete slabs for
     roof tiling when pointed up with or laid upon any prepa-
     ration of asphalt, roofing cements or other mastics, on
     roofs, flat or otherwise.
      When laid in cement, lime or gypsum mortars, the
     work is awarded to Bricklayers.
         Installation of Air Piping in Connection with
                     Elevator Door Locks
     (Subject to dispute between the United Association of
          Plumbers and Steamfitters and the International Union
          of Elevator Constructors.)
               DECISION RENDERED NOVEMBER 11, 1925
       When the compressor is used only for elevator work,
     the work from the water main to the compressor and re-
     turn shall be the work of the plumbers and steamfitters.
     The elevator constructor shall set the compressor and
     do all the work between the compressor and the locking
     device, but when the compressor is used for other pur-
     poses than elevator work, then the compressor shall be
     set by the plumbers and steamfitters, and the elevator
     constructor shall do the necessary piping from the com-
     pressor to his work only, all other work to be done by
     the plumbers and steamfitters.
       Setting, Installing or Sticking of Artificial Stone
     (Subject of dispute between the Bricklayers, Masons and Plas-
           terers’ International Union and Operative Plasterers and
           Cement Finishers’ International Association.)

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            DECISION RENDERED MAY 5, 1926
      It is decided that the setting, installing or sticking of
    artificial stone, the material base of which is gypsum,
    plaster of Paris or Keene cement, resembling plaster in
    character and density, wherever used on the interior of
    building, whether or note reinforced with burlap or
    other fibrous material, regardless of color, or whether or
    not faced with any special cement, whether pre-cast or
    run in place, is the work of the Plasterers.
      Wherever artificial stone, the material base of which is
    of other cements, which comes pre-cast and resembles
    the natural stone in character and density, regardless of
    color, whether or not faced with any special cement, the
    work is that of the Bricklayers.
     Cutting of Chases and Channels in Brick, Tile and
                      other Masonry
    (Matter referred to National Board for Jurisdictional Awards by
          Executive Council, Building Trades Department.)

                  DECISION RENDERED MAY 5, 1926
       Inasmuch as no other trades except the Bricklayers,
    Plumbers and Steamfitters and Electricians have
    claimed this work, it is decided that the cutting of chases
    and channels in brick, tile and other masonry is the work
    of the Bricklayers, except that the Plumbers and Steam-
    fitters and Electricians shall have jurisdiction to do cut-
    ting where required for the installation of their respec-
    tive work.
     Placing of Trap Rock Floors by Terrazzo Methods
    (Subject to dispute between the Bricklayers, Masons and Plas-
          terers’ International Union and Operative Plasterers and
          Cement Finishers’ International Association.)

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            DECISION RENDERED MAY 5, 1926
      The finishing of cement floors where additional aggre-
    gate of stone is added by spreading or sprinkling on top
    of the finished base and troweled or rolled into the finish
    and then the surface ground by grinding machines, shall
    be under the jurisdiction of the Terrazzo Workers. When
    no additional stone or aggregate is added to the finished
    mixture, even though the surface may be ground, the
    work shall be under the jurisdiction of the Cement Fin-
    ishers.
       Jurisdiction Over Operation of Electric and
    Traveling Cranes During Construction of Building
    (Subject of dispute between the International Union of Steam
          and Operating Engineers and International Brotherhood
          of Electrical Workers.)
    (Decision Executive Council, American Federation of Labor,
          March, 1926.)

                     ADOPTED AUGUST 4, 1926
      “The Executive Council has been asked for an inter-
    pretation of decision rendered by the 1922 Cincinnati
    Convention of the American Federation of Labor, as it
    relates to the jurisdiction of overhead or traveling cranes
    installed as a permanent fixture in building while build-
    ing is under construction and cranes are being used to
    handle building material for the construction of building
    and also for the setting of motors, generators and other
    electrical equipment.
      The decision provides that the Engineers have juris-
    diction over the hoists for building material on building
    under construction, and that the Electrical Workers have
    jurisdiction over the overhead or traveling cranes for
    shop or factory purposes. Therefore if the overhead or

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     traveling cranes are used exclusively to handle building
      material for the building, cranes shall be operated during
      such construction by members of the Steam and Operat-
      ing Engineers.
         If motors and other electrical equipment are being set
      in place while building is under construction and a crane
      or cranes are used for such setting, the Engineers shall
      operate the crane, handling both building material and
      electrical equipment until 50 per cent of the motors or
      electrical equipment are set, and then the Engineers
      shall cease to operate crane and shall turn same over to
      be operated by Electricians, who will operate the crane
      for all purposes thereafter.
        In the event of two overhead cranes being used to han-
      dle building material and electrical equipment, then one
      crane shall be operated by Engineer and one be operated
      by Electrician for all the work required of that crane, in
      which case each operator shall be employed until the
      plant is completed, when Engineer shall turn crane over
      to Electricians to operate.”




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     DECISIONS RENDERED AND HELD TO BE OPER-
      ATIVE BY THE BUILDING AND CONSTRUC-
      TION TRADES DEPARTMENT.
               Jurisdiction Over Spot Grounds
              DECISION BALTIMORE CONVENTION, 1916
      All ground work, continuous or of spot character, for
    the purpose of receiving trim, shall be done by the Car-
    penter; all spot ground work, when applied solely for the
    guidance of plastering work, shall be done by the Plas-
    terer.
     Plaster Boards or Substitute Materials Therefor
                          JULY 25, 1919
      The erection or construction of plaster board ceilings
    or partitions which are to receive plaster is the work of
    the Lather. This form of construction is fundamentally
    and primarily a lathing feature, as is wire lath attached
    to light iron furring. The studs or runners used in this
    form of construction are in principle similar to light iron
    furring as conceded to the Lather.
      Setting of Screeds in Cement Construction and
                        Form Work
                         MARCH 17, 1920
      The decision is that setting screeds in connection with
    the finishing of cement floors is conceded as Cement
    Finishers work.
                  Setting Electrical Motors
                         AUGUST 14, 1920
      Handling, setting and adjusting of motors and con-

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     necting of power thereto is work of Electrical Workers.
     Fastening of motors direct to motor-driven machinery is
     work of Millwrights.
            Boilers, Moving, Handling and Placing
                         OCTOBER 3, 1923
       Work in question being vital part of Steam Fitters
     equipment is therefore the work of the Steam Fitter.
                     Holorib Deck Roofing
                         JANUARY 26, 1928
       Have received the sample of Holorib deck roofing.
     This material being less than ten gauge, therefore, under
     the rulings of this Department, the Sheet Metal Workers
     have jurisdiction.
                   Steeltex Re-enforcement
                          AUGUST 9, 1929
       Welded wire mesh steeltex used primarily for re-en-
     forcing is the work of the iron workers. Paper back
     steeltex which performs the same function and is used
     for the same purpose as hy-rib is the work of the Lather.
       Bush Hammering of Concrete Base Foundation
                       SEPTEMBER 23, 1930
        The bush hammering of concrete comes within the ju-
     risdiction of the Cement Finishers.
                 Teamster-Engineer Decision
                        OCTOBER 27, 1939
       (Decision rendered by subcommittee of the Executive

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     Council of the Building and Construction Trades Depart-
     ment, A. F. of L., and approved by the 34th Annual Con-
     vention of the Department, New Orleans, La., November,
     1940.)
       For a complete report of subcommittee see pages 138
     to 143, inclusive, of the Proceedings of the 34th Annual
     Convention.
                            DECISION
        All power-driven equipment that is used exclusively as
     a vehicle to transport any material or other matter for
     building or other construction work comes within the ju-
     risdiction of the Teamsters and Chauffeurs.
       All power-driven equipment used on any and all types
     of building and other construction work, including any
     and all power-driven equipment that has been in dispute
     between the Teamsters and Engineers, comes within the
     jurisdiction of the International Union of Operating En-
     gineers.
                       WM L. HUTCHESON, Chairman.
                       R. J. GRAY, Secretary,
                       D. W. TRACY.
                                              January 29, 1940.
     The Executive Council,
     Building and Construction Trades Department, Ameri-
     can Federation of Labor.
     Your committee appointed to handle the matter of the
     dispute between the International Brotherhood of Team-
     sters, Chauffeurs, Stablemen and Helpers and the Inter-
     national Union of Operating Engineers received a re-
     quest from President Tobin of the Teamsters for a clarifi-
     cation of the decision.

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       President Hutcheson, President Tracy and Mr. Gray
     met with Messrs. Tobin, Gillespie and Farrell on Sunday
     evening, January 28, and the Teamsters requested infor-
     mation on the following:
       1. On agreements on the Pacific coast, west of the
     Rocky Mountains, which he claimed it would be impos-
     sible for him to immediately abrogate without consider-
     able difficulty.
       2. The matter of operation of what is known as trac-
     trucks which are used exclusively for the transportation
     of materials.
       3. The questions of the members of Teamster Unions
     who had been employed as Chauffeurs on what is
     known as a crane mounted on a truck chassis which is
     used exclusively in the New York metropolitan area.
       The conference adjourned after it was agreed that
     your committee would confer with the representatives
     of the Engineers on Monday, January 29.
       At the conference with the Engineers the following
     were present: John Possehl, Brothers Fay, Maloney and
     Stuhr. President Possehl agreed that he would not call
     for immediate operation of the decision that would af-
     fect any existing agreements on the Pacific coast, west
     of the Rocky Mountains. However, he expressly stated
     that this would not apply to any agreements that may
     have been made after the decision of the committee had
     been rendered.
       On question number two—on the operation of trac-
     trucks used exclusively to transport materials—the En-
     gineers agreed that the operation of such trucks is the
     work of the Teamster.
       The operation of trucks, which have a crane mounted

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     on the truck chassis was next discussed. The Engineers
     agreed that they would accept any Teamster members
     who had been employed for any length of time in the
     driving of these trucks to membership in their organiza-
     tion. Brothers Possehl, Fay and Delaney agreed to sit
     down with representatives of the Teamsters as far as the
     metropolitan area of New York was concerned and ad-
     just the matter in a peaceful manner locally.
                                  WM. L. HUTCHESON,
                                  D.W. TRACY,
                                  R. J. GRAY.




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     DECISIONS RENDERED BY DR. JOHN A. LAPP,
      NATIONAL REFEREE FOR THE BUILDING AND
      CONSTRUCTION TRADES DEPARTMENT, A. F.
      OF L.
           Setting Wall Bearing Steel Bar Joists
               DECISION RENDERED APRIL 23, 1937
      “The work of setting wall bearing steel bar joists
    comes under the jurisdiction of the International Associ-
    ation of Bridge Structural and Ornamental Iron Work-
    ers.”
                  Erection of Economizers
             DECISION RENDERED SEPTEMBER 20, 1937
      “The decision of the Joint Conference Board of
    Chicago is affirmed and the decision of the Executive
    Council of the American Federation of Labor is held to
    be in force. That decision reads as follows:
       “In the controversy existing between the Brotherhood
    of Boiler Makers and the United Association of
    Plumbers and Steam Fitters over the erection of econo-
    mizers, the decision is that in the opinion of the Execu-
    tive Council the work belongs to the United Association
    of Plumbers and Steam Fitters.”
      Jurisdiction Over Lock Gates and Flood Gates
              DECISION RENDERED OCTOBER 21, 1937
      “The decision of President Williams is affirmed. The
    subject-matter of lock gates and flood gates is not cov-
    ered by the agreement between the Boiler Makers and
    Iron Workers and the dispute in question is subject to ar-
    bitration section of the agreement as follows:

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      “Section 7. Any further disputes that may arise be-
     tween the parties of this agreement shall be first consid-
     ered by the respective General Presidents. Upon their
     failure to agree, the question shall be submitted to arbi-
     tration. None of the work definitely decided upon in this
     agreement shall be subject to further arbitration.”
      Jurisdiction Over Operating of Electric Genera-
                 tors for Welding Purposes
               DECISION RENDERED OCTOBER 25, 1937
        The Decision of the Referee is that the binding na-
     tional decisions of the American Federation of Labor,
     the Building and Construction Trades Department of the
     American Federation of Labor and the National Board of
     Jurisdictional Awards cover the operation of electrical
     welding apparatus and that such operation is incident to
     the trade doing the welding. The decision of the Newark
     Committee on Jurisdictional Disputes is overruled and
     the jurisdictional right to operate electric welding sets is
     held to be, by existing decisions, within the jurisdiction
     of the trade doing the welding.
       Pointing and Caulking of Steel Window Frames
                When Incased in Brick Walls
              DECISION RENDERED NOVEMBER 18, 1937
       The decision of the St. Joseph, Mo., Joint Arbitration
     Board awarding jurisdiction over the pointing and caulk-
     ing of steel window frames, when encased in brick walls,
     to the International Association of Bridge and Structural
     Iron Workers is reversed and such work, when done
     with mortar or plastic materials of any kind is held to be
     within the jurisdiction of the Bricklayers, Masons and
     Plasterers’ International Union of America.

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     Decision of the Referee on the Interpretation of
       the Agreements Between the Bricklayers, Ma-
       sons and Plasterers’ International Union of
       America and the Operative Plasters and Cement
       Finishers’ International Union of America Relat-
       ing to Artificial Stone and Marble and Acoustical
       Tile.
                        DECEMBER 20, 1937
        The Referee decides that the installation of the mate-
     rial in question on the Library of Congress Annex comes
     under the 1929 agreement and is, therefore, under the
     terms of the agreement, within the jurisdiction of the
     Bricklayers, Masons and Plasterers’ International Union
     of America. The material is in no real sense, except in its
     acoustical properties, similar to the acoustical tile which
     was the subject of the 1930 agreement. There may be
     border line cases between the two types of material cov-
     ered in the agreements of 1929 and 1930 but this material
     is not one of them. It is clearly on the side of artificial
     stone, rather than on the side of materials similar to
     acoustical tile or, particularly, the U. S. Gypsum product
     known as Acoustone. Moreover, its installation follows
     the craft method used by the Bricklayers, Masons and
     Plasterers’ International Union.
       This decision applies only to the interpretation of the
     agreement between the Bricklayers and Operative Plas-
     terers’ Unions.
                       (Signed) JOHN A. LAPP, Referee




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     Jurisdiction Over the Unloading of Ready Mixed
      Concrete from Certain Types of Trucks to the
      Ground on Building and Construction Jobs.
              DECISION RENDERED JANUARY 17, 1938
      The referee decides that the unloading of ready mixed
    concrete from trucks to a building or construction job,
    by means of machinery, attached to the truck, that re-
    moves the concrete from the bin of the truck, and the
    operation of the motor or piece of machinery used in un-
    loading, is the work of the International Brotherhood of
    Teamsters, Chauffeurs, Stablemen and Helpers of Amer-
    ica.
    Decision of the Referee on the Question of Drying
     and Handling Sludge at the Southwest Sewage
     Treatment Works in Chicago.
                                              MAY 2, 1938
                        THE DECISION
      The erection of the process, piping, ducts and equip-
    ment for the drying and handling of sludge at the
    Southwest Sewage Treatment Works at Chicago is
    within the jurisdiction of the International Brother-
    hood of Boiler Makers and Iron Ship Builders and
    Helpers of America.
    Memorandum to the Decision on the Drying and
     Handling of Sludge at the Southwest Sewage
     Treatment Works in Chicago.
                                             MAY 25, 1938
      This decision is limited to the fabricated steel ducts,
    through which sludge passes in the drying process, as
    explained in the opinion accompanying the decision. It

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     does not apply to the piping of coal, which was specifi-
      cally withdrawn from the complaint, nor does it apply to
      the equipment between the furnace and the pre-heater
      or between the pre-heater and the roof. It does not apply
      to any other portion of the equipment which is regularly
      in the jurisdiction of any other International Building
      and Construction Trades Union.
                            (Signed) JOHN A. LAPP, Referee,
                   Building and Construction Trades Dept.,
                             American Federation of Labor.
       Decision in the Matter of Setting of Vitrolite and
              Similar Forms of Structural Glass
                                                JUNE 14, 1938
                           THE DECISION
         The Referee finds and decides that the setting of vitro-
      lite and similar structural glass on inside work belongs
      within the jurisdiction of the Bricklayers, Masons and
      Plasterers’ International Union of America, except when
      such structural glass is set in panels, sash, frames or
      mouldings or with toggle bolts, screws, rosettes or simi-
      lar fastenings, or secured in some other manner com-
      mon to the work of the Glaziers. The Referee finds and
      decides that vitrolite and similar structural glass, when
      set on outside walls of buildings or structures, in mortar,
      cement or plastic material or when anchored to the wall
      in the manner common to the trade of the Marble Setter,
      belongs within the jurisdiction of the Bricklayers, Ma-
      sons and Plasterers’ International Union of America.
        The Referee finds and decides that all outside work
      around windows and entrances in store and office fronts
      opening on streets, arcades, corridors or other public

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     places, including columns at such entrances, belongs to
     the Brotherhood of Painters, Decorators and Paperhang-
     ers of America. The above shall include substantial bor-
     ders not exceeding three feet around such windows and
     entrances. Other outside installation of structural glass
     on exterior walls belongs to the Brotherhood of
     Painters, Decorators and Paperhangers of America, if set
     on one or more sides in panels, frames or mouldings or
     with metal or other strips used to support it or if secured
     with toggle bolts, screws or similar fastenings, despite
     the additional use of any form of plastic or mastic com-
     position.
       The installation of structural glass, when used as
     background for store and office signs and advertising, is
     within the jurisdiction of the Brotherhood of Painters,
     Decorators and Paperhangers of America.
       When glass is used of a thickness of more than one-
     half inch, its installation belongs within the jurisdiction
     of the Bricklayers, Masons and Plasterers’ International
     Union of America, unless it is set in sash frames, doors
     or skylights in a manner similar to that used by
     Glaziers.
        Wherever at this time any local agreement exists
     which is affected in any way by this decision, the effec-
     tive date of this decision shall be in such cases three
     months from this date or September 14, 1938, otherwise
     the decision is effective as of this date.
        The Referee is aware of the fact that there are many
     variations in the installation of structural glass and that
     some specific cases may not be covered by this decision.
     He believes that the International Officers of the two
     Unions involved can readily find a solution for any spe-
     cific application on the basis of the broad principles laid

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     down in this decision and he suggests that on the basis
     of this decision, provision be made that any dispute over
     its application be referred for interpretation to the Ref-
     eree or some other impartial agency.
      Jurisdiction Over the Assembling and Erection of
      Certain Meal Bins, Grit Bins and Grain Bins in the
               Eichler Brewery, New York City.
                                          October 31, 1938
                         THE DECISION
        The decision of the Building Trades Employers’ Asso-
     ciation of the City of New York, granting jurisdiction
     over the erection of grain storage bins in the Eichler
     Brewery to the International Association of Bridge,
     Structural and Ornamental Iron Workers is overruled
     and the dispute is declared to be one which must be sub-
     mitted to arbitration according to the provisions of Sec-
     tion 7 of the agreement between the International Broth-
     erhood of Boiler Makers, Iron Ship Builders and Helpers
     and the International Association of Bridge, Structural
     and Ornamental Iron Workers.
                            (Signed) JOHN A. LAPP, Referee.
     DECISION RENDERED BY PETER ELLER, NA-
      TIONAL REFEREE IN DISPUTE OVER ASPHALT
      AND RUBBER TILE, ROLL AND SHEET
      LINOLEUM.
                                               July 6, 1942.
      United Brotherhood of Carpenters and Joiners of
     America.
       Brotherhood of Painters, Decorators and Paper Hang-
     ers.

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      United Slate, Tile, and Composition Roofers, Damp
    and Waterproof Workers’ Association.
     Bricklayers, Masons and Plasterers’ International
    Union.
       Operative Plasterers and Cement Finishers’ Interna-
    tional Union.
      In addition, briefs setting forth the claims of the re-
    spective organizations were also sent to the Referee.
       After due and careful consideration, it is the decision
    of the Referee that the jurisdiction of the work in ques-
    tion be divided between the United Brotherhood of Car-
    penters and Joiners, and the Brotherhood of Painters on
    the following basis:
      To the Brotherhood of Painters, Kansas City, Missouri
    and all territory to the Westward.
       To the United Brotherhood of Carpenters and Joiners,
    all territory East of Kansas City.
      In connection with the decision above stated, the fol-
    lowing recommendations are made:
      1. That members of the Tile Setters affiliated with the
         B. M. P. I. U., and the Cement Finishers affiliated
         with the O. P. C. F. I. A. capable of doing this work
         be taken into either or both the organizations above
         mentioned without payment of initiation fee and
         without losing their membership in their own organ-
         izations, somewhat on the basis of the agreement
         now existing between O. P. C. F. I. A. and B. M. P. I.
         U. relative to the exchange of cards in connection
         with plastering.
      2. On account of the prolonged controversy over the
         work in question, it is suggested that this decision

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        be not made effective for three (3) months so as to
         permit of any necessary adjustments on existing
         contracts.
       3. This decision deals solely with the material men-
          tioned above when used on floors and characterized
          as “resilient floors” or “resilient floor coverings.” It
          does not cover roofing nor the application of these
          materials to walls.
                                           P. W. ELLER,
                                           National Referee.




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     DECISIONS RENDERED BY NATIONAL REFEREE
      WILLIAM L. HUTCHESON.
    Decision by the National Referee of the Building
     and Construction Trades Department, William L.
     Hutcheson, in the jurisdictional dispute between
     International Hod Carriers, Building and Com-
     mon Laborers Union of America and United Asso-
     ciation of Journeymen Plumbers and Steamfit-
     ters of the United States and Canada in the mat-
     ter of installation of non-metallic piping for sew-
     ers.
       The following is a resume, conclusions and findings by
    the National Referee for the Building and Construction
    Trades Department, in the case of the jurisdictional dis-
    pute between the International Hod Carriers, Building
    and Common Laborers’ Union of America and the
    United Association of Journeymen Plumbers and Steam-
    fitters of the United States and Canada, in the matter of:
    installation of non-metallic pipe for sewers.
      The hearing was called to order, by the Referee, on
    Monday, October 8, 1945, at 10 a. m., in the Netherland
    Plaza Hotel, Cincinnati, Ohio.
      Present at the hearing were representatives of the Hod
    Carriers and Common Laborers’ Union; Plumbers and
    Steamfitters; Bricklayers International Union and the
    Brotherhood of Teamsters.
      Representatives of the Hod Carriers and Common La-
    borers’ submitted preliminary objections to the Referee
    having jurisdiction in the dispute.
      Their objections were primarily based on the con-
    tention that there was in existence an agreement be-
    tween the Hod Carriers, Building and Common Labor-

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     ers’ Union and the United Association of Journeymen
     Plumbers and Steamfitters, and in substantiation of their
     contention they submitted an agreement as of the date,
     January 23, 1941, between the two organizations.
       In their remarks in reference to their preliminary ob-
     jections the statement was made by representatives of
     the Hod Carriers and Common Laborers’ that they were
     ready to meet any of the trades that have any claim to
     work covered in the agreement.
       Representatives of the United Association of
     Plumbers and Steamfitters replied to the objection
     raised by representatives of the Hod Carriers and Com-
     mon Laborers’ but state that they recognized the agree-
     ment as of January 23, 1941.
        After hearing both parties present their views in refer-
     ence to the agreement, and listening to considerable dis-
     cussion, the Referee stated that he was placed in the po-
     sition of having to make a ruling on the agreement as of
     January 23, 1941, and ruled that said agreement was a
     bona fide agreement, without any interpretation of the
     meaning thereof, and should stand as an agreement be-
     tween the two organizations; with the understanding
     that there should be no infringement upon the jurisdic-
     tion of other organizations.
       After the above ruling was made the two contesting
     parties were asked to arrange to meet and see if some
     mutual understanding could be arrived at, after which
     the hearing was adjourned at 11:30 a. m. (October 8)
     until the next morning at 10 a. m .
       The hearing was reconvened on Tuesday, October 9, at
     10 a. m.
       A report was asked for by the Referee as to what, if

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     any, progress was made in reference to reaching an un-
     derstanding, and it was stated that no understanding
     was reached.
       The Referee then stated that while it was permissible
     for the two organizations to enter into an agreement,
     such as was reached January 23, 1941, inasmuch as no
     understanding was reached yesterday afternoon in the
     conference that was held by representatives of the two
     organizations, he would rule that the case which was re-
     ferred to him by the Acting President of the Building and
     Construction Trades Department in May, 1944, would be
     heard as per that arrangement.
       A representative of the Hod Carriers then asked if the
     dispute before the Referee was covered by the agreement.
       The Referee, in reply to that question, stated that until
     he heard the evidence he would not be able to determine
     whether it came under the agreement, or whether it did
     not, and that he would reach that conclusion after he
     had heard the evidence.
        A representative of the Hod Carriers and Common La-
     borers’ then stated, if a hearing was going to be held on
     the merits of the case they were in the unfortunate posi-
     tion of being unable to participate, for the reasons: that
     the agreement itself is self-explanatory to some degree,
     and in order to clarify it more, the respective Interna-
     tional Presidents of the disputant parties appointed com-
     mittees for the purpose of clarification, and when they
     reached an interpretation they sent a letter to the respec-
     tive International Presidents, which letter they stated
     they wished to read.
       Objections were raised by representatives of the
     Plumbers which brought forth a discussion as between
     they and representatives of the Hod Carriers and Common

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     Laborers’ after which the Referee stated that he would
     allow the letter to be read and then determine whether it
     would go into the record, or whether it would not.
       After the letter was read the Referee asked what the
     purpose for reading it was, and was answered by a rep-
     resentative of the Hod Carriers and Common Laborers’
     that the purpose in reading the communication was to
     show that the interpretation arrived at by the committee
     was in good faith.
       The Referee then ruled that in the original agreement
     no reference was made in regards to appointing a com-
     mittee to interpret the meaning thereof, and further
     ruled that the letter would not appear in the record.
        After some discussion and statements by representatives
     of the two organizations, during which reference was made
     to a decision rendered by Acting President of the Building
     and Construction Trades Department, representatives of
     the Hod Carriers and Common Laborers’ asked to be ex-
     cused on the grounds that participation by them in the
     hearing on the merits of the case would constitute a waiver
     of their rights, with leave to appeal the matter further.
       In the discussion they were asked if they wished to ap-
     peal. They stated: With leave to appeal the matter fur-
     ther. They were informed that it was up to them to fol-
     low the laws of the Department and the Federation inas-
     much as the Referee had no authority to say whether
     they had a right to appeal or whether they did not.
       Representatives of the Hod Carriers and Common La-
     borers’ further contended if they anticipated that they
     would waive their rights as the work in contention was
     covered by the agreement which had been recognized, and
     inasmuch as they had other tribunals to go to they inter-
     jected the last request that they be given leave to appeal.

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      A discussion (off the record) was had at this point,
     when it was again asked by one of the representatives of
     the Hod Carriers that his point be made a part of the
     record. Asked to repeat his statement, he stated, they
     were unable to participate in the case on its merits. He
     was asked if he wanted to use the word “unable” or “un-
     willing.” He replied, we are placed in the position of
     being unable to participate in the hearing by reason of
     the fact that it would constitute a waiver of our rights, in
     the absence of a ruling by the Referee as to whether the
     dispute was covered by the agreement.
        They were informed by the Referee that it would be a part
     of the record as to why they were not going to participate.
       The Plumbers then proceeded to present evidence to
     substantiate their claim for work, as per the decision of
     Acting President Gray.
        They presented extensive briefs and evidence to sub-
     stantiate their claim, consisting of numerous exhibits and
     illustrations of installations of the work in contention.
       After they completed presentations of their evidence
     the matter was reported to the Executive Council of the
     Building and Construction Trades Department for con-
     sideration, and action, for the benefit and information of
     the Referee as to what the desires of the Council were in
     reference to making a finding and decision, because of
     the Hod Carriers and Common Laborers’ withdrawing
     from the hearing; after which the Executive Council
     took the following action:
       “Action of Council: Referee should proceed and ren-
     der decision in accordance with Section 7, Page 26 of
     Constitution of Department.
       “Vote: Unanimous. V. P. Hutcheson not voting.”

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       Pursuant to the foregoing action of the Executive
     Council, and after reviewing the evidence, I have
     reached the following conclusion:
        That the agreement as referred to between the Interna-
     tional Hod Carriers, Building and Common Laborers’
     Union of America and the United Association of Journey-
     men Plumbers and Steamfitters of the United States and
     Canada, covers work on subways, tunnels, highways,
     viaducts, streets and roadways in connection with sewers
     and water mains, and therefore, does not apply to the ques-
     tion at issue, which is, the decision rendered by the Acting
     President of the Building and Construction Trades Depart-
     ment, Richard J. Gray, which was rendered under date of
     March 13, 1944, in the dispute between Laborers and
     Plumbers over the laying of sewer pipe from main sewer
     into dwelling, or from inside property line to dwelling, and
     is not in any way referred to by the agreement of January
     23, 1941, entered into between the two organizations.
        Records show that the request for a decision came to the
     Acting President in the regular manner, and that he ren-
     dered his finding on the date of March 13, 1944, and in re-
     ferring to the matter stated it was a jurisdictional dispute
     between Laborers’ and members of the Journeymen
     Plumbers and Steamfitters over the laying of lateral sewer
     pipe from main sewer into dwelling or from inside property
     line to dwelling, and the following decision was rendered:
                            “DECISION”
       The work in dispute shall be done by members of the
     United Association of Journeymen Plumbers and Steam
     Fitters.
       In the opinion of the undersigned, acting as Referee,
     the decision rendered by Acting President Gray, was in

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     conformity with the evidence submitted to me as Ref-
     eree, and in no way comes under the agreement entered
     into between the two contending organizations as of
     January 23, 1941.
       Therefore my decision is as follows:
                                           October 13, 1945.
        1. That the agreement, dated January 23, 1941, be-
     tween the International Hod Carriers, Building and Com-
     mon Laborers’ Union of America and the United Associ-
     ation of Journeymen Plumbers and Steamfitters of the
     United States and Canada is a bona fide agreement be-
     tween the two organizations, but should not be accepted
     by the Department until clarifying language is inserted
     therein giving to the Bricklayers’ International organiza-
     tion jurisdiction over work on sewers which they have
     heretofore performed.
        Also that there should be a clarification in reference to
     the unloading and distributing of pipe so that there
     would be no infringement upon the recognized jurisdic-
     tion of the Teamsters International organization.
       There should also be a further clarification if any other
     organization presents evidence to show that the agree-
     ment infringes upon their jurisdiction.
       2. That the laying of lateral sewer pipe from main
     sewer into dwelling, or from inside property line to
     dwelling is work that should be done by, or under the su-
     pervision of, members of the United Association of
     Journeymen Plumbers and Steamfitters of the United
     States and Canada.
                             WM. L. HUTCHESON (Signed)
                                   National Referee,
          Building and Construction Trades Department

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       (NOTE—This in no way deletes or expunges from
     the records of this Department the letter of March 9,
     1946, addressed to the Morris County, New Jersey,
     Building and Construction Trades Council or the ad-
     vice contained in Vice President Hutcheson’s telegram
     of March 27, 1946.)
        Pointing, Taping and Filling of Joints on Wall
                           Board
                                                 May 19, 1947.
     Mr. Richard J. Gray, President
       Building and Construction Trades Department
     501 A.F. of L. Building,
     Washington 1, D.C.
     Dear Sir and Brother:
        In the matter of the jurisdictional controversy over the
     pointing, taping and filling of joints on wallboard in
     preparing it to receive paint and other wall coverings, in-
     volving the Brotherhood of Painters, Decorators and Pa-
     perhangers of America; Bricklayers, Masons and Plaster-
     ers International Union of America and the Operative
     Plasterers and Cement Finishers International Associa-
     tion of the United States and Canada, a hearing was held
     in the Executive Council room, American Federation of
     Labor building, May 6, 1947.
       Representing the organizations involved were: Harry C.
     Bates, President of the B. M. and P. I. U. of A.; John E.
     Rooney, President of the O. P. and C. F. I. A.; L. P. Lindelof,
     General President, B. of P. D. and P. of A.; Joseph P.
     Hillock, Painters, Washington, D. C.; J. C. Moenick, Secre-
     tary-Treasurer, Painters District Council, Chicago, Ill.; Mil-
     ton R. Stephens, Plasterers, Washington, D. C., and Walter
     Redmond, International Secretary of the O. P. and C. F. I. A.

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      After giving the statements made, and evidence sub-
     mitted, careful consideration I have reached a conclu-
     sion and render the following decision; to wit:
        When plaster material is used to do pointing and filling
     it shall be the work of members of the Operative Plaster-
     ers and Cement Finishers International Association of
     the United States and Canada—and/or—members of the
     Bricklayers, Masons and Plasterers International Union
     of America.
       When adhesive materials are used it shall be the work
     of members of the Brotherhood of Painters, Decorators
     and Paperhangers of America.
                      Respectfully submitted,
                            WM. L. HUTCHESON (Signed)
                                     Referee,
         Building and Construction Trades Department.
     Sitting with Referee at hearing were: Vice Presidents
       Wm. J. McSorley and Robert Byron of the Building and
       Construction Traders Department.




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                    of Catwalks and Stairways
                                              May 19, 1947.
     Mr. Richard J. Gray, President
     Building and Construction Trades Department
     501 A. F. L. Building
     Washington 1, D. C.
     Dear Sir and Brother:
        In the matter of the jurisdictional controversy over the
     erection of catwalks and stairways involving the Interna-
     tional Association of Bridge, Structural and Ornamental
     Iron Workers and the International Brotherhood of Boil-
     ermakers, Iron Ship Builders and Helpers of America, a
     hearing was held in the Executive Council room, Ameri-
     can Federation of Labor building, May 8, 1947.
        Representing the organizations involved were: P. J.
     Morrin, General President; J. H. Lyons, General Secre-
     tary; J. J. Dempsey, General Treasurer, International As-
     sociation of Bridge, Structural and Ornamental Iron
     Workers; also Clyde F. Strickland, Vice President and
     Leslie L. Myers, Washington, for the Iron Workers and J.
     V. Kearney, International Vice President and T. L. Wants,
     Special Representative, International Brotherhood of
     Boilermakers, Iron Ship Builders and Helpers of Amer-
     ica.
        Representatives of the two Internationals appeared
     before the undersigned, as Referee, and submitted briefs
     and evidence to substantiate their claims, and among
     other things presented an agreement entered into be-
     tween the two organizations in 1928. Their attention was
     called to the provisions of Sections 37 and 38 of the Con-
     stitution of the Building and Construction Trades De-
     partment which set forth:

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      “Nothing in Sections 37 and 38 is to be construed as
     giving any organization the right to re-open any case
     listed by the Building and Construction Trades Depart-
     ment and published in the records of the Department.”
        After their briefs were presented a full discussion was
     held in reference to the matter and it is the opinion and
     conclusion of the undersigned that the decision ren-
     dered by the President of the Department under date of
     January 27, 1947, would seem to be as clear a clarifica-
     tion of their agreement in reference to the erection of
     catwalks and stairways as could be arrived at under the
     wording of the agreement, and I herewith quote the deci-
     sion of the President of the Building and Construction
     Trades Department as of January 27, 1947.
       “Where catwalks, ladders and stairways are erected
     in connection with bubble towers and tanks and are at-
     tached to the structural steel supports this work shall
     be the work of the members of the International Associ-
     ation of Bridge, Structural and Ornamental Iron Work-
     ers.
       “Where such catwalks, ladders and stairways are riv-
     eted or welded to the watertight sections of the bubble
     towers or tanks this work shall be done by the members
     of the International Brotherhood of Boilermakers, Iron
     Ship Builders and Helpers.”
                    Respectfully submitted
                             WM. L. HUTCHESON (Signed)
                                      Referee,
         Building and Construction Trades Department.
     Sitting with Referee at the hearing were: Vice Presidents
       Wm. J. McSorley and Martin P. Durkin of the Building
       and Construction Trades Department.

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                                                May 19, 1947.
    Mr. Richard J. Gray, President
    Building and Construction Trades Department
    501 A. F. of L. Building,
    Washington 1, D. C.
    Dear Sir and Brother:
      In the matter of the jurisdictional controversy over the
    erection of aluminum Q-panels involving the Sheet Metal
    Workers International Association and the International
    Association of Bridge, Structural and Ornamental Iron
    Workers, a hearing was held in the Executive Council
    room, American Federation of Labor building, May 7,
    1947.
      Representing the organizations involved were P. J.
    Morrin, General President; J. H. Lyons, General Secre-
    tary and J. J. Dempsey, General Treasurer, International
    Association of Bridge, Structural and Ornamental Iron
    Workers; Glenn Hurley, Superintendent, H. H. Robertson
    Company; George Bigelow, Manager of Erection, H. H.
    Robertson Company, and George L. Illig, Contract De-
    partment, H. H. Robertson Company, and Robert Byron,
    General President, Sheet Metal Workers International
    Association and Joseph Fredericks, Sheet Metal Work-
    ers International Association.
      At the hearing held, briefs were submitted and state-
    ments made by the contesting parties, as well as a dis-
    play of the material in question.
      In the statements made by representatives of the two
    Internationals, considerable emphasis was made in ref-
    erence to decisions rendered some years ago giving to
    the Sheet Metal Workers jurisdiction over the installa-

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     tion of metal of ten gauge or lighter, but the question be-
     fore the Referee in this case was the installation of Q-
     panels.
        After giving the evidence as submitted due considera-
     tion I am of the opinion that:
       The erection of Q-panels, which was the point at issue,
     when fastened to the steel structure of a building, should
     be the work of members of the International Association
     of Bridge, Structural and Ornamental Iron Workers.
        However, any flashing or ventilator work in connec-
     tion therewith should be the work of the members of the
     Sheet Metal Workers International Association.
                    Respectfully submitted,
                             WM. L. HUTCHESON (Signed)
                                      Referee,
          Building and Construction Trades Department
     Sitting with Referee at the hearing were: Vice Presidents
       Wm. J. McSorley and Martin P. Durkin of the Building
       and Construction Trades Department.
                  Robertson Protected Metal
                                              May 19, 1947
     Mr. Richard J. Gray, President
     Building and Construction Trades Department
     501 A. F. of L. Building,
     Washington 1, D. C.
     Dear Sir and Brother:
       In the matter of the jurisdictional controversy over the
     erection of Robertson Protected Metal involving the
     Sheet Metal Workers International Association and the
     International Association of Bridge, Structural and Orna-

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     mental Iron Workers, a hearing was held in the Execu-
     tive Council room, American Federation of Labor build-
     ing, May 7, 1947.
        Representing the organizations involved were P. J.
     Morrin, General President; J. H. Lyons, General Secre-
     tary and J. J. Dempsey, General Treasurer, International
     Association of Bridge, Structural and Ornamental Iron
     Workers; George Bigelow, Manager of Erection, H. H.
     Robertson Company, and Robert Byron, General Presi-
     dent, Sheet Metal Workers International Association,
     and Joseph Fredericks, Sheet Metal Workers Interna-
     tional Association.
        When this case came on for hearing on the question of
     erection of Robertson Protected Metal, in presenting
     their briefs and evidence, the two contestants both re-
     ferred to a ruling or decision rendered under date of May
     26, 1923, by the former Board of Jurisdictional Awards,
     and while it was admitted by representatives of both In-
     ternational organizations that the ruling made as above
     referred to; namely May 26, 1923, has been recognized
     and published in the records of the Building and Con-
     struction Trades Department, attention was also called
     to Paragraph 5, Section 38 of the Constitution of the
     Building and Construction Trades Department which
     sets forth:
        “Nothing in Sections 37 and 38 is to be construed as
     giving any organization the right to reopen any case
     listed by the Building and Construction Trades Depart-
     ment and published in the records of the Department.”
       Under that provision I can only reach the conclusion
     that as Referee I would have no right to render a definite
     decision in the case at issue.
       If the two contesting International organizations de-

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     sire a clarification of the action taken by the former
     Board of Jurisdictional Awards under date of May 26,
     1923, they could by joint request ask for such interpreta-
     tion or clarification.
                      Respectfully submitted
                               WM. L. HUTCHESON (Signed)
                                        Referee,
         Building and Construction Trades Department.
     Sitting with Referee at the hearing were: Vice Presidents
       Wm. J. McSorley and Martin P. Durkin of the Building
       and Construction Trades Department.




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     DECISIONS OF NATIONAL JOINT BOARD FOR
      SETTLEMENT OF JURISDICTIONAL DIS-
      PUTES, BUILDING AND CONSTRUCTION IN-
      DUSTRY & HEARINGS PANELS.
            DECISION OF JOINT BOARD NO. 3
          Beer Lines, Wort Lines, Yeast Lines, CO2
          Lines, and Refrigeration in Connection
                 With Attemperator Tanks
                         AUGUST 20, 1948
      Dispute between the United Association of Journey-
    men and Apprentices of the Plumbing and Pipe Fitting
    Industry of the United States and Canada and the Sheet
    Metal Workers’ International Association.
       The issue in dispute is the installation of copper piping
    in breweries for beer lines, wort lines, yeast lines, CO2
    lines, and refrigeration in connection with attemperator
    tanks.
      After carefully considering all of the evidence and ar-
    gument as presented by both sides, the Joint Board de-
    cides as follows:
       The installation of streamlined or other manufactured
    copper pipe or fittings for beer lines, wort lines, yeast
    lines, CO2 lines is the work of the United Association of
    Journeymen and Apprentices of the Plumbing and Pipe
    Fittings Industry of the United States and Canada. The
    installation of copper attemperator coils in the interior
    of tanks and vats in breweries is the work of the Copper-
    smiths, members of the Sheet Metal Workers’ Interna-
    tional Association.

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      The decision of the Joint Board is unanimous.
                      WM. J. MCSORLEY,
                      HARRY C. BATES,
                      ARTHUR H. WELLS,
                      A. HERRMANN WILSON,
                      JOHN T. DUNLOP,
                                                Chairman.
           DECISION OF JOINT BOARD NO. 15
      Steel Decking, Roofing, Flooring, Raceway for
                    Electrical Wiring
                         AUGUST 21, 1948
       Dispute between the Sheet Metal Workers Interna-
    tional Association and the International Association of
    Bridge, Structural and Ornamental Iron Workers.
      The issue in dispute is that involved in cases 15 and 22.
    The Joint Board may consider the whole issue of the in-
    stallation of steel decking in accordance with the agree-
    ment between the two unions.
      After carefully considering all of the evidence and ar-
    gument as presented by both sides, and two intervening
    organizations, the Joint Board decides as follows:
       The installation of steel decking for roofing, if 10
    gauge or lighter, is the work of the Sheet Metal Workers
    International Association. The installation of steel deck-
    ing for flooring is the work of the International Associa-
    tion of Bridge, Structural and Ornamental Iron Workers.
    This decision cannot alter previous decisions of record,
    such as January 26, 1928 (Holorib), May 19, 1947 (Q-
    Panel), June 3, 1948 (Metro-Deck). Whenever steel deck-
    ing for flooring or roofing is used as a raceway for elec-
    trical wiring the electrical work in connection with the

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     raceway is that of the International Brotherhood of Elec-
      trical Workers.
        The decision of the Joint Board is unanimous.
                       WM. E. MALONEY,
                       L. P. LINDELOF,
                       ARTHUR H. WELLS,
                       ALBERT BEEVER,
                       JOHN T. DUNLOP,
                                                Chairman.
                        JOINT BOARD NO. 2
           Pre-Heating and Stress Relieving of Welds
                         SEPTEMBER 22, 1948
        Dispute between the United Association of Journey-
      men and Apprentices of the Plumbing and Pipe Fitting
      Industry of the United States and Canada and the Inter-
      national Brotherhood of Electrical Workers.
         The issue in dispute is the pre-heating and stress re-
      lieving of welds.
        After carefully considering all of the evidence and ar-
      gument as presented by both sides the Joint Board de-
      cides as follows:
         The installation of induction pre-heating and stress re-
      lieving equipment, including the wrapping of coils, is the
      work of the International Brotherhood of Electrical
      Workers.
         The installation of manufactured resistance coils shall
      be the work of the United Association of Journeymen
      and Apprentices of the Plumbing and Pipe Fitting Indus-
      try.

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      The operation of the pre-heating and stress relieving
     equipment and instruments for pipe welding is the work
     of the United Association of Journeymen and Appren-
     tices of the Plumbing and Pipe Fitting Industry.
       The decision of the Joint Board is unanimous.
                      WM. J. MCSORLEY,
                      L. P. LINDELOF,
                      ARTHUR H. WELLS,
                      C. J. ESBENSHADE,
                      JOHN T. DUNLOP,
                                               Chairman.
         CLARIFICATION BY JOINT BOARD NO. 2
                        FEBRUARY 28, 1949
     Board of Trustees,
     National Joint Board for Settlement of
       Jurisdictional Disputes,
     901 Massachusetts Avenue, N. W.,
     Washington 1, D. C.
                    Re: JOINT BOARD NO. 2
     Dear Sirs:
       Joint Board No. 2 has carefully considered the issues
     raised by correspondence from the United Association
     of Journeymen and Apprentices of the Plumbing and
     Pipe Fitting Industry and the International Brotherhood
     of Electrical Workers concerning our decision of Sep-
     tember 22, 1948, as directed by the Board of Trustees of
     January 11, 1949.
        The Joint Board finds that the issues now referred to
     it concerns the unwrapping of induction coils, the han-
     dling and moving of the equipment including the sec-
     ondary cable leads, the installation of water cooled

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     coils and the wrapping of resistance coils—as distin-
     guished from the installation of manufactured resist-
     ance coils.
       The Joint Board has reviewed the full record of its
     proceedings, and the recent letters from the two organi-
     zations, and has unanimously concluded that these is-
     sues are covered by paragraph one of its decision.
                 Very truly yours,
                       (Signed) WM. J. MCSORLEY,
                                L. P. LINDELOF,
                                ARTHUR H. WELLS,
                                C. J. ESBENSHADE,
                                JOHN T. DUNLOP,
                                                Chairman.
            DECISION OF JOINT BOARD NO. 17
      Operation of Gasoline Driven Electric Generators
                        for Welding
                         OCTOBER 27, 1948
        In the dispute between the United Association of Jour-
     neymen and Apprentices of the Plumbing and Pipe Fit-
     ting Industry of the United States and Canada and the In-
     ternational Union of Operating Engineers.
       The issue in dispute is the operation of gasoline driven
     electric generators for welding.
        After consideration of the evidence and argument ad-
     vanced by all parties, the Joint Board decides that the
     work in dispute is covered by Resolution 124 (American
     Federation of Labor, Norfolk Convention) and is the ju-
     risdiction of the International Union of Operating Engi-
     neers.

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      The decision of the Joint Board is unanimous.
                      JOHN E. ROONEY,
                      L. P. LINDELOF,
                      FRANK W. BARNES,
                      CYRIL J. STATT,
                      JOHN T. DUNLOP,
                                                Chairman.
        ASH HOPPERS AND FURNACE BOTTOMS
                         OCTOBER 6, 1950
       The dispute referred to the Hearings Panel, which held
    its hearing in Washington, D.C., on August 29, 1950, is de-
    cided as follows:
       The installation of ash hoppers is within the jurisdic-
    tion of the Iron Worker; the installation of furnace bot-
    toms is within the jurisdiction of the Boilermakers.
      For the purposes of providing a line of demarcation
    between furnace bottoms and ash hoppers for the pur-
    pose of determining the jurisdiction of work between
    the two trades:
      (a) A furnace bottom shall be defined as that bottom
          part of the furnace or chamber subject to direct
          and continuous exposure to the fire in the furnace
          that is air and/or water tight.
      (b) An ash hopper is any container for ash which is
          not subject to direct and continuous exposure to
          the fire in the furnace whether or not air or water
          tight.
      As stated in the minutes of the hearing of August 29,
    1950, the above decision does not affect the recognized
    jurisdiction of the United Association of Journeymen
    and Apprentices of the Plumbing and Pipe Fitting Indus-

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     try of the United States and Canada, United Brotherhood
     of Carpenters and Joiners of America, Sheet Metal Work-
     ers International Association, International Union of Op-
     erating Engineers, and the Bricklayers, Masons and Plas-
     terers’ International Union of America as stipulated on
     the record by both the Iron Workers and Boilermakers
     during the hearing.
                                 (Signed) HARRY C. BATES,
                                          CHARLES AQUADRO,
                                          JOHN T. DUNLOP.
           INSTALLATION OF CEILING SYSTEMS
                          JANUARY 15, 1968
       This dispute, which was referred by the National Joint
     Board on November 23, 1965, was the subject of hear-
     ings before the Hearings Panel in Washington, D. C.,
     March 4, 1966, and May 16 and 17, 1966. The decision of
     the Hearings Panel was issued August 24, 1966, but was
     stayed because of court litigation until January 15, 1968.
     The decision of the Hearings Panel, which was upheld
     by decisions of the U. S. District Court for the District of
     Columbia, the U. S. Court of Appeals for the District of
     Columbia Circuit and the Supreme Court of the United
     States, is as follows:
       1. The decision of this Hearings Panel is limited to
     the jurisdictional disputes or work assignments in con-
     troversy between lathers and carpenters involved in
     the installation of ceiling systems. Nothing in this deci-
     sion shall affect the jurisdiction or work assignment of
     any other trade, such as, but not limited to, the sheet
     metal workers, electricians, iron workers, etc., with a
     claim or interest in the installation of ceiling systems.
     Contractors shall use this decision as a basis for mak-

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     ing work assignments only with regard to work in the
     installation of ceiling systems involving carpenters and
     lathers.

       2. The installation of gypsum wallboard and other
     types of panels fastened directly to ceiling joists shall
     be performed by carpenters. In the event that a carry-
     ing channel is used with gypsum wallboard or other
     types of panels attached thereto, notwithstanding
     paragraph 4(a) below, the contractor may use carpen-
     ters to install the carrying channel in areas not exceed-
     ing 300 square feet where there are no lathers on the
     job.

       3. The installation of light iron work in ceiling sys-
     tems with gypsum, Portland cement, acoustical or other
     plasters sprayed-on or trowel-applied over lath or di-
     rectly to structural members shall be performed by lath-
     ers.

        4. The following types of ceiling systems are included
     in this paragraph: Direct Hung Suspension Systems; At-
     tached Concealed System without Backing Board; Fur-
     ring Bar Attached System; Furring Bar Suspension Sys-
     tem; Indirect Hung Suspension System or similar sys-
     tems.

       (a) The installation of the 1¹⁄₂" channel or similar car-
     rying channel and hangers in any of the above types of
     systems shall be performed by lathers.

       (b) The installation of all other work, including the in-
     stallation of a ceiling system in its entirety if no 1¹⁄₂"
     channel or other carrying channel is used, shall be per-
     formed by carpenters.

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       5. This decision shall be effective on all work assign-
      ments made on construction contracts let after January
      15, 1968.
                    HEARINGS PANEL
                    PETER T. SCHOEMANN (Signed)
                    HUNTER P. WHARTON
                    WM. E. NAUMANN
                    ED. S. TORRENCE
                    JOHN T. DUNLOP
                       (Impartial Umpire)
                   DECISION ON THE
            POINTING AND TAPING OF DRYWALL
                       SURFACES
                          March 1, 1978
        The Hearings Panel is aware that a number of
      crafts, including the carpenters and the laborers, have
      a genuine interest in issues defined as broadly as
      those referred to the Hearings Panel by the July 15,
      1976 letter of the Joint Administrative Committee. So
      do their employers. However, in order to facilitate this
      proceeding, and in order to dispose of the matter pre-
      sented to us by the Joint Administrative Committee of
      the Plan and the Impartial Jurisdictional Disputes
      Board, the Hearings Panel will limit the issue to be de-
      cided to certain matters (set forth below) in contro-
      versy between the Painters and the Plasterers
      (whether represented by the Operative Plasterers and
      Cement Masons International Association or by the
      International Union of Bricklayers and Allied Crafts-
      men). No action or decision of the Hearings Panel will
      in any way affect the jurisdiction or work assignments
      involving any trade other than the International Broth-

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     erhood of Painters and Allied Trades, the Operative
    Plasterers and Cement Masons International Associa-
    tion, and the International Union of Bricklayers and
    Allied Craftsmen. No fourth trade union with a claim
    or interest in the assignments which have been con-
    sidered by this Hearings Panel shall be affected in any
    way by a decision of this Panel. Any action or decision
    of the Hearings Panel shall explicitly contain language
    stating that the interest of any other trade shall in no
    way be affected and that contractors shall use such
    decisions as a basis for making assignments only with
    regard to assignments involving the painters and the
    plasterers.
      The preponderance of the evidence before us sup-
    ports the resolution of the dispute submitted to us in the
    following manner:
      (1) All pointing and taping, regardless of material
          used, is painters’ work, provided the drywall sur-
          faces are not to receive plaster, acoustical or imita-
          tion acoustical finishes.
      (2) Pointing and taping, regardless of material used, of
          drywall surfaces which are to receive plaster,
          acoustical or imitation acoustical finishes shall be
          the work of plasterers.
      (3) The surface produced by the application of the
          same plaster pointing material as used in the point-
          ing and taping of the joints to the entire drywall
          surface for the purpose of producing a uniform
          surface compatible with the pointed and taped
          joints shall be considered a plaster finish, and the
          pointing and taping in connection therewith shall
          be the work of plasterers.

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       This decision shall be effective on all work assign-
     ments made on or after thirty days from this date.
                   HEARINGS PANEL
                   F. JOHN BARLOW (Signed)
                   HAROLD J. BUOY
                   EDWARD J. CARLOUGH
                   WILLIAM E. NAUMANN
                   DANIEL Q. MILLS
                       (Impartial Umpire)




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       Decision on Cement Finishing and Plastering Work
                            Tasks

             February 11, 2004 and March 11, 2004

        After an arduous review of the evidence entered into
      this arbitration, the Panel finds good and sufficient
      reason to render the following decision.

        Henceforth, all jurisdictional disputes between the
      BAC and the OPCM that are brought before the Plan
      shall be resolved in favor of the work assignment of the
      involved Employer. Jurisdictional disputes between the
      BAC or OPCM and LIUNA, or any other union(s)
      brought before the Plan shall be resolved under the
      procedures of Article V of the Plan.

         On March 2, 2004, the Joint Administrative
      Committee requested clarification regarding the scope
      of the work encompassed in all jurisdictional disputes
      solely between the BAC and the OPCM to be resolved in
      favor of the work assignment of the involved Employer.
      Such scope is limited to cement finishing and
      plastering work tasks.

                        NATIONAL ARBITRATION PANEL
                        Thomas G. Pagan, Chairman (Signed)
                        Andy Douglas (Signed)
                        John McMahon (Signed)




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